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10.

11.

12.

APPENDIX OF UNPUBISHED OPINIONS

Agrelo v. Meloni Law Firm, No. 14-21192-CIV, 2017 WL 10636451 (S.D.
Fla. Sept. 22, 2017)

Beach v. Guardian Life Ins. Co. of America, Case No. 1:23-cv-2190-MLB,
2024 WL 3551132 (N.D. Ga. Jan. 26, 2024)

Emcyte Corp. v. XLMedica, Inc., No. 2:19-cv-769-JES-NPM, 2022 WL
394392 (M.D. Fla. Feb. 9, 2022)

Fulton Fin. Advisors, Nat’l Ass’n v. NatCity Invs., Inc., No. 09-4855, 2013
WL 5635977 (E.D. Pa. Oct. 15, 2013)

Graham Eng’g Corp. v. Slusarz, No. 1:16-CV-2527, 2018 WL 1907124
(M.D. Pa. Apr. 23, 2018)

Lomma v. Ohio Nat’l Life Assurance Corp., No. 3:16-cv-2396, 2021 WL
772237 (M.D. Pa. Feb. 26, 2021)

Noramco LLC vy. Dishman USA, Inc., No. CV 21-1696-WCB, 2022 WL
2817876 (D. Del. July 19, 2022)

Savage v. Temple Univ., No. 19-6026-KSM, 2020 WL 5602651 (E.D. Pa.
Sept. 18, 2020)

Thomas v. Duvall, No. 3:16-CV-00451, 2019 WL 8013742 (M.D. Pa. Oct. 3,
2019), report and recommendation adopted by 2019 WL 6769324 (M.D. Pa.
Dec. 12, 2019)

Westport Ins. Corp. v. Stevens & Lee, P.C., No. 2:16-cv-937, 2016 WL
9775023 (E.D. Pa. June 30, 2016)

Wigley v. Powe, No. 2:23-CV-46-TBM-RPM, 2024 WL 5353375 (S.D. Miss.
Mar. 14, 2024)

Wincovitch v. Edwin A. Abrahamsen & Assocs., No. 3:12-CV-01846, 2013
WL 1909578 (M.D. Pa. May 8, 2013)
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Agrelo v. Meloni Law Firm, Not Reported in Fed. Supp. (2017)

2017 WL 10636451

2017 WL 10636451
Only the Westlaw citation is currently available.
United States District Court, $.D. Florida,
Miami Division.

Jorge A. AGRELO and Olga M.
Fernandez, individuals, Plaintiffs,
Vv.
The MELONI LAW FIRM, a/k/a
Edoardo Meloni, P.A., et al., Defendants.

Case Number: 14-21192-CIV-
MARTINEZ-GOODMAN
|
Signed 09/22/2017

Attorneys and Law Firms

Samuel Barclay Reiner, IT, David P. Reiner, I], Reiner
& Reiner PA, Miami, FL, for Plaintiffs.

Joseph Charles Proulx, Dale Thomas Golden, Golden
Scaz Gagain, PLLC, Tampa, FL, for Defendants the
Meloni Law Firm, Edoardo Meloni.

Craig S. Hudson, Jean Anne Hanrahan, Marshall,
Dennehey, Warner, Coleman and Goggin, Fort
Lauderdale, FL, for Defendant Affinity Management
Services, LLC.

Joseph Francisco Valdivia, Akerman LLP, Rachel
Kate Beige, Eric C. Sprechman, Cole, Scott and
Kissane, P.A., Ryan Andrew Fogg, David Halberg,
P.A., West Palm Beach, FL, for Defendant Marbella
Park Homeowners' Association, Inc.

ORDER

JOSE E. MARTINEZ, UNITED STATES DISTRICT
JUDGE

*1 THIS CAUSE came before the Court upon
Plaintiffs’ Motion to Strike Defendant Affinity
Management Services, LLC's (“Defendant Affinity”)
Answer and Affirmative Defenses [ECF No. 115] (the
“Motion”) [ECF No. 167]. The Motion seeks to strike
the following: (a) paragraphs 5-12, 26, 88, 91, and
94 of Defendant Affinity'’s Answer; and (b) all of
Defendant Affinity's Affirmative Defenses.

Plaintiffs note that paragraphs 5-12 of Defendant
Affinity's Answer initially deny Plaintiffs’ allegations
and then immediately assert lack of knowledge.
Plaintiffs request that these responses be deemed
simple denials by the Court for the remainder of the
litigation. In its response, Defendant Affinity agrees.
Thus, paragraphs 5-12 of Defendant Affinity's Answer
are deemed simple denials.

Next, Plaintiffs argue that paragraph 26 of Defendant
Affinity's Answer is improper, because it is ambiguous
and includes the following language: “the document
speaks for itself.” Plaintiffs request that such errors be
deemed admissions. Paragraph 26 states, “Admitted
that the ‘Abdel Letter 1° speaks for itself. The
remaining allegations of this paragraph are hereby
denied.” Defendant Affinity responds to the Motion as
follows:

In terms of paragraph 26 ...
Affinity agrees that its Answer
could have been more specific.
Affinity should have admitted
that on April 3, 2013, it
received by certified mail, the
letter from the law offices
of Abdel Jimenez, Esq., dated
April 1, 2013 that is attached
as Exhibit J to Plaintiffs'
Complaint. Affinity also admits
that Affinity did not send a
written response to the law
office of Abdel Jimenez, Esq.

Because Defendant Affinity included in paragraph 26
that it denies the remaining allegations, the Court will
not deem such paragraph an admission. See Gomez v.
United States, No. 09-22148-CIV, 2010 WL 3834211,
at *2 (S.D. Fla. Sept. 28, 2010). However, to clarify
the ambiguity of paragraph 26 raised by Plaintiffs,
Defendant Affinity shall file an amended paragraph
26 that includes the aforementioned admissions (the
“Abdel Admissions”).

With respect to paragraphs 88, 91, and 94 of Defendant
Affinity's Answer, Plaintiffs request that the Court

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strike all references to “strict proof demanded,”
because the concept of “strict proof,” is nowhere to
be found in the Federal Rules of Civil Procedure.
Defendant Affinity responds that Plaintiffs do not
provide a citation as to why this is improper. The Court
agrees with Plaintiffs and will strike all references to
“strict proof demanded” in paragraphs 88, 91, and 94
of Defendant Affinity’s Answer.

Regarding the Affirmative Defenses, Defendant
Affinity responds that the First, Second, Third,
Fourth and Fifth Affirmative Defenses are really
denials and are not true affirmative defenses. As
such, the Court strikes such defenses. See Wiemer
v. Felberbaum & Assocs., PA., No. 07-80934-CIV,
2008 WL 299016, at *2 (S.D. Fla. Feb. 1, 2008).
Additionally, Defendant Affinity withdraws the Sixth,
Eight, Ninth, Tenth, Eleventh, Twelfth and Fourteenth
Affirmative Defenses. The Court strikes such defenses.

*2 With regard to the Seventh Affirmative Defense

(statute of limitations), Plaintiffs argue that this
defense should be stricken, because, among other
things, Defendant Affinity fails to provide any
factual allegations to support such defense. Courts
in this district have developed two schools of
thought regarding the pleading standard required for
affirmative defenses, and the Eleventh Circuit does
not appear to have resolved the split of opinion.
See Jones v. Kohl's Dep't Stores, Inc., No. 15-
CIV-61626, 2015 WL 12781195, at *1 (S.D. Fla.
Oct. 16, 2015). Some courts in this district have held
that affirmative defenses are subject to the heightened
pleading standard of Federal Rule of Civil Procedure
8(a). See id. Other courts in the district have concluded
that affirmative defenses are subject to a less stringent
standard under Rules 8(b) and 8(c). See id. In short,
Defendant Affinity's Seventh Affirmative Defense
would be sufficient for some coutts in the district,
but not others. As a result, the Court will not strike
the Seventh Affirmative Defense. However, to give
Plaintiffs fair notice, Defendant Affinity shall amend
such defense to provide sufficient facts that satisfy the
heightened pleading standard of Rule 8(a).

Lastly, Defendant Affinity concedes that the Thirteenth
Affirmative Defense is not sufficient. As a result the

Court will strike such defense. If Defendant Affinity
wants to amend this affirmative defense, it may file a
motion for leave to amend and the Court will consider
such motion. Such motion should address the concerns
raised by Plaintiffs in the Motion and their reply. After
careful consideration, it is hereby:

ORDERED AND ADJUDGED that

1. Plaintiffs' Motion to Strike Defendant Affinity's

Answer and Affirmative Defenses ! [ECF No. 167] is
GRANTED IN PART AND DENIED IN PART.

2. Paragraphs 5-12 of Defendant Affinity's Answer are
deemed simple denials.

3. On or before October 3, 2017, Defendant Affinity
shall file an amended paragraph 26 of its Answer that
includes the Abdel Admissions.

4, References to “strict proof demanded” in paragraphs
88, 91, and 94 of Defendant Affinity's Answer are
STRICKEN.

5. Defendant Affinity's First, Second, Third, Fourth,
Fifth, Sixth, Eighth, Ninth, Tenth, Eleventh, Twelfth,
Thirteenth and Fourteenth Affirmative Defenses are
STRICKEN.

6. On or before October 3, 2017, Defendant Affinity
shall file an amended Seventh Affirmative Defense
to provide sufficient facts that satisfy the heightened
pleading standard of Rule 8(a).

7. If Defendant Affinity wants to amend its Thirteenth
Affirmative Defense, it may file a motion for leave to
amend such defense and the Court will consider such
motion.

DONE AND ORDERED in Chambers at Miami,
Florida, this 22nd day of September, 2017.

All Citations

Not Reported in Fed. Supp., 2017 WL 10636451

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Footnotes

1 ECF No. 115.

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Beach v. Guardian Life Insurance Company of America, Slip Copy (2024)

2024 WL 3551132

2024 WL 3551132
Only the Westlaw citation is currently available.
United States District Court,
N.D. Georgia, Atlanta Division.

James Alton BEACH, Plaintiff,
Vv.
The GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA, Defendant.

Case No. 1:23-cv-2190-MLB
|
Signed January 26, 2024

Attorneys and Law Firms

Henry Milton Quillian HI, Casey L. Frew, Taylor
English Duma LLP, Atlanta, GA, Robbin L. Wilder,
Gordon Rees Scully Mansukhani, LLP, Atlanta, GA,
for Plaintiff.

Ashlee Dee Riopka, Pro Hac Vice, Alexander Bunnen
Feinberg, Maynard Nexsen, P.C., Birmingham, AL,
Daniel L. Delnero, BGD Legal & Consulting LLC,
Atlanta, GA, Stefanie Wayco, Duane Morris LLP,
Atlanta, GA, for Defendant.

ORDER

MICHAEL L. BROWN, UNITED STATES
DISTRICT JUDGE

*1] For the reasons explained below, the Court
denies Plaintiff James Alton Beach's motion to strike
Defendant's answer. (Dkt. 14.)

I. Background
Plaintiff worked as an executive for a company
called American Computer Experience, Inc. until 2000
when he allegedly became disabled. (Dkt. 1 {J 7,
15, 16.) He filed a claim for long-term disability
benefits under his company's employee benefit plan.
Ud. 9 10.) Defendant Guardian Life Insurance—
the company that underwrote and administered the
plan—initially determined Plaintiff was disabled and
provided benefits. (Dkt. 1 | 19.) In May 2021,
however, Defendant informed Plaintiff he was no
longer eligible for those benefits. (Dkt. 1 §f] 20-

21.) Plaintiff appealed Defendant's decision but to no
avail. (Dkt. 1 4] 25-30, 65-66.) Plaintiff then sued
Defendant under 29 U.S.C. § 1332, alleging Defendant
wrongfully terminated his benefits. (Dkt. 1 F] 84-94.)

Defendant filed an answer and, in doing so, sometimes
referred to certain documents or asserted Plaintiff's
allegations called for legal conclusions. (Dkt. 10.)
Plaintiff moves to strike Defendant's answer, saying it
does not meet federal pleading standards. (Dkt. 14.)
Defendant filed an amended answer, addressed some
of Plaintiff's concerns (Dkt. 17), and opposes Plaintiff's
motion (Dkt. 18).

Il. Standard

Rule 12(f) of the Federal Rules of Civil Procedure
allows district courts to “strike from a pleading an
insufficient defense or any redundant, immaterial,
impertinent, or scandalous matter.” Fed. R. Civ.
P. 12(f). District courts have “broad discretion in
considering a motion to strike under” Rule 12(f).
Morrison v. Exec. Aircraft Refinishing, Inc., 434 F.
Supp. 2d 1314, 1317 (S.D. Fla. 2005). “Striking a
pleading is a ‘drastic remedy’ that courts should use
‘sparingly’ and ‘only when required for the purposes
of justice.’ ” Graphic Packaging Int'l, Inc. v CW.
zumbiel Co., 2011 WL 5829674, at *2 (N.D. Ga. Aug.
1, 2011) (citation omitted); see also Tsavaris y. Pfizer,
Inc., 310 F.R.D, 678, 680 (S.D. Fla. 2015) (“[S]triking
a defense from a pleading is a drastic remedy generally
disfavored by courts.”). For this reason, “courts should
not exercise discretion to strike pleadings or portions of
pleadings unless the matter sought to be omitted has no
possible relationship to the controversy, may confuse
the issues, or otherwise prejudice a party.” Carter v.
Howard, 2020 WI. 9073531, at *7 (N.D. Ga. Nov. 23,
2020).

“A purpose of motions to strike is to prevent
wasting unnecessary time and expense of the parties
and the Court.” Certusbank N.A. v. Patrick Malloy
Communities, LLC, 2012 WL 12960828, at *1 (N.D.
Ga. July 12, 2012). “Where a claim or defense
is not utterly meritless, a motion to strike has the
paradoxical effect of requiring extra time and expense
by the parties in crafting and responding to the
motion and depletion of precious Court resources in
considering, researching, and ruling on the motion.” Jd.
(emphasis in original). To that end, “[mJotions to strike

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affirmative defenses ... are often considered purely
cosmetic or time-wasters.” City of Jacksonville, Fla.
v. Mun. Elec. Auth. of Ga., 2019 WL 7819486, at *4
(N.D. Ga. Nov. 25, 2019) (internal quotation marks and
citations omitted).

TI. Discussion

*2 Plaintiff claims Defendant's answer is insufficient
because it fails to plead “the same level of specificity
as Plaintiff's claims under the standard set forth in
Bell Atl. Corp. v. Twombly, 550 U.S. 544 [(2007)] ...
and Ashcroft v. Iqbal, 556 U.S. 662 (2009).” (kt.
14-1 at 6.) Plaintiff is wrong. Rule 8 of the Federal
Rules of Civil Procedure “sets a different standard for
responding to a pleading.” FD.LC. v. Stovall, 2014 WL
8251465, at *3 (N.D. Ga. Oct. 2, 2014) (emphasis in
original). “In responding to a pleading, the responding
party must ‘state in short and plain terms its defenses
to each claim’ and ‘affirmatively state any avoidance
or affirmative defense.’ ” /d. (emphasis in original)
(quoting Fed. R. Civ. P. 8(b), (1)(A), (c)(1)). This
is a lower standard than the Rule's requirement that
a plaintiff file a “short and plain statement showing
that the pleader is entitled to relieff.]” Jd. (emphasis
in original) (quoting Fed. R. Civ. P. 8(a)). So the
Court declines to hold Defendant's answer to the same
pleading standard as Plaintiffs complaint. See City of
Jacksonville, Fla. vy. Mun. Elec. Auth. of Ga., 2019
WL 7819486, at *4 (N.D. Ga. Nov. 25, 2019) (courts
in this district “do not apply the heightened pleading
requirements” of Twombly and Iqbal to responsive
pleadings).

Beyond that general insufficiency allegation, Plaintiff
says Defendants answer (or amended answer) is
insufficient because it does not admit, deny, or
assert a lack of knowledge for each paragraph in
the complaint. (Dkt. 14-1 at 5-6.) They point to
two categories of Defendant's responses: (1) ones in
which Defendant says that certain documents speak
for themselves and that it “denies any allegations
inconsistent therewith” (Dkt. 14-1 at 8-13); and (2)
ones in which Defendant responds that Plaintiff's
allegations are “legal conclusions, to which no
response is required,” (Dkt. 14-1 at 14-15). Plaintiff
says these responses are improper because (1) the
administrative record and benefits policy Defendant
references have “not been acknowledged, agreed upon,

or established,” (Dkt. 14-1 at 8); and (2) “[t]here is no
Federal Rule permitting a defendant to disregard legal
conclusions in a complaint,” (Dkt. 14-1 at 14). Plaintiff
next attacks the sufficiency of Defendant's pleadings
regarding two affirmative defenses. The Court rejects
all Plaintiffs arguments and concludes Defendant's
pleading satisfies Rule 8.

A. Answer Responses That Refer to Certain
Documents from the Administrative Record

Plaintiff attacks Defendant's
that refer to certain documents in the so-called
“administrative record” and deny any allegations

answer responses

inconsistent with those documents. His argument
fails for two reasons. First, Plaintiff's argument is
largely mooted. Plaintiff contends these responses
“disadvantage” him because they “direct[ ] [him] to
a document, or documents, that [Defendant] does not
provide.” (Dkt. 14-1 at 8.) But Defendant represents
(and Plaintiff does not dispute) that it has since
given Plaintiff a copy of the complete administrative
record, including the benefits policy, and “a list of
specific bates-label cites to certain documents within
the Administrative Record that are referenced in
[Defendant's] Answer.” (Dkt. 19 at 8.) So that should
resolve that.

Second, even if Defendant had not provided Plaintiff
with this information, its responses satisfy Rule 8
because they also specifically deny the allegations at
issue. See Saunders v. Postcard Factory, Inc.,2019 WL
13273203, at *4 (N.D. Ga. Sept. 23, 2019) (“[S]imply
including the phrase ‘the document speaks for itself,’
does not require striking the answer as a violation of
Rule 8; indeed, some courts have declined to strike
an answer stating that the document ‘speaks for itself?
where the defendant has also either admitted or denied
the allegations.”); Westgate Fin. Corp. v. Cotswold
Indus., Inc., 2009 WL 10211922, at *5 (N.D. Ga. Dec.
31, 2009) (declining to strike response that document
“speaks for itself’ because defendants’ response also
“contain[ed] either an admission or denial ... therefore,
their responses fully comply with Rule 8.”).

*3 In arguing Defendant's answer is inadequate,
Plaintiff points to Stovall, in which the court held
certain responses referencing documents that speak

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for themselves were impermissible under Rule 8.
(Dkt. 14-1 at 5-6 (citing Stovall, 2014 WL 8251465,
at *3).) But in Stovall, the defendant's responses
vaguely referred to “documents” without explaining
the particular documents at issue. /d. at *12. That
is not an issue here. Defendant not only identified
the documents it relied on, it also produced those
documents to Plaintiff and noted where in the
documents Plaintiff can find the information he wants.
So by way of one example, Plaintiff alleged Defendant
first paid Plaintiff benefits but then “informed him
by letter on May 20, 2021 that he would no longer
receive benefits because he was no longer was eligible
for benefits under the Plan.” (Dkt. 1 4 20.) Defendant
admitted that it denied benefits by sending the letter
and then stated “the May 20, 2021 letter, contained
within the Administrative Record, speaks for itself, and
denies any allegations inconsistent therewith.” (Dkt.
17 { 20.) Without accepting Plaintiff's characterization
of the letter (or offering its own), Defendant referenced
the precise letter that establishes the operative fact and
denied anything beyond the letter. That is sufficient.

While Plaintiff says Defendant does not provide a
ptecise record cite for “numerous specific allegations
denied with reference to the 5,000-plus page record,”
the only example he cites is one in which Defendant
says the administrative record “speak[s] for itself
regarding the correspondence between Plaintiff and
Defendant during the administrative process and
evidence considered during Defendant's review of
Plaintiffs claim,’ while denying any inconsistent
allegation. (Dkt. 17 4 63.) There is nothing
wrong with that response. Defendant represents the
administrative record is “complete,” so it will reflect
all the correspondence the parties had during the
determination and appeals process and what Defendant
looked at when assessing Plaintiff's request for long
term disability benefits. And if something is missing,
Plaintiff can ask for more in discovery. It seems
like what Plaintiff really wants is for Defendant to
take a premature position on what evidence from
the administrative record it will rely on in contesting
Plaintiff's claims. But Rule 8 does not require that level
of specificity at this stage of the litigation.

B. Responses That Refer to Legal Conclusions

Plaintiff also complains about responses in which
Defendant declined to address allegations that are
“legal conclusions,” arguing that “[t]here is no
Federal Rule permitting a defendant to disregard
legal conclusions in a complaint.” (Dkt. 14-1 at
14.) Defendant says its responses are sufficient
because, along with “taking the position that certain
allegations contain legal conclusions not warranting a
response, [Defendant] specifically denied or admitted
the allegations at issue.” (Dkt. 19 at 12.)

Courts in this circuit have recognized that while Rule
8 might not permit a defendant to merely respond
that a plaintiff has alleged a legal conclusion, such
responses are “sufficient under Rule 8(b)” when they
“also state that the allegations are denied” or admitted.
Emcyte Corp. v. XLMedica, Ine., 2022 WL 394392,
at *3 (M.D. Fla. Feb. 9, 2022). Each of Defendant's
responses that challenge Plaintiff's allegations as legal
conclusions also contain a specific admission or denial.
Those responses are adequate under Rule 8.

In arguing otherwise, Plaintiff cites Clarendon Am.
Ins. Co. v. All Bros. Painting, 2013 WL 5921538,
at *3 (M.D. Fla. Nov. 4, 2013). (Dkt. 14-1 at
14.) But Clarendon—like Stovall—also involved
responses that did not admit or deny the specific
allegations at issue, and instead contained only a
“general denial.” Clarendon, 2013 WL 5921538, at *3,
Again, Defendant's responses here are different: they
specifically admit or deny each allegation. The Court
will not strike these responses.

C. Affirmative Defenses

As a final argument, Plaintiff seeks to strike two
of Defendant's affirmative defenses: its thirteenth
defense, which says Defendant is not “required to
respond to the allegations in Plaintiffs Complaint to
the extent the allegations constitute legal conclusions,”
and its fourteenth defense, which says, “Defendant
reserves the right to rely on the defense that Plaintiff's
claims are barred in whole or part by the Plan's
limitations provisions, if any, or the applicable statute
of limitations.” (Dkts. 14-1 at 17; 17 at 24.) Defendant
says its thirteenth defense survives for the same
reasons as its responses that challenge Plaintiff's
allegations as legal conclusions. (Dkt. 19 at 15.) As

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for its fourteenth defense, Defendant says a statute-of-
limitations defense is never insufficient as a matter of
law. (Dkt. 19 at 15-16.)

*4 “A party is not required to make a ‘plausibility’
showing to successfully assert an affirmative defense.”
Kinfe v. Canon Bus. Process Servs., Inc., 2019 WL
13268208, at *4 (N.D. Ga. July 9, 2019), Instead, Rule
8 requires only that a defendant “affirmatively state
any avoidance or affirmative defense.” Fed. R. Civ.
P. 8(c) (emphasis added). Courts review affirmative
defenses only “to ensure that they provide fair notice of
the nature of the defenses and the grounds upon which
they rest.” United States v. Zak, 2020 WL 11191759,
at *1 (N.D, Ga. July 16, 2020). A court should strike
an affirmative defense only if: (1) the plaintiff would
succeed despite any set of facts which could be proven
to support the defense; (2) the affirmative defense
does not present disputed and substantial questions of
law which, if resolved, could support the defendant's
claim; and (3) the plaintiff has shown it would be
prejudiced if the affirmative defense is included. PNC
Bank, N.A. v. Haghighi Fam. & Sports Med., P.A.,2017
WL 7311870, at *3 (M.D. Fla. June 2, 2017).

As for Defendant's thirteenth defense, the Court
concludes it is appropriate for the same reasons
as before: that Defendants may challenge Plaintiff's
allegations as mere legal conclusions without factual
support in the complaint (particularly because they also
expressly admitted or denied those allegations). As
to the fourteenth defense, Rule 8 explicitly allows a

defendant to raise a statute-of-limitations defense. See
Schmidt v. Wells Fargo Bank, N.A., 2020 WL 1703801,
at *3 (M.D. Fla. Apr. 8, 2020) (“a statute of limitations
defense is specifically enumerated in Rule 8(c)” and
is not insufficient as a matter of law). So Defendant's
affirmative defenses survive.

Ultimately, Plaintiff's motion to strike serves no useful
purpose and is a merely a “time-waster.” City of
Jacksonville, 2019 WL 7819486, at *4. And Plaintiff
knew—or should have known—as much, especially
given that Defendant identified several pleadings filed
by Plaintiff's counsel's law firm that asserted similar or
nearly identical responses to those Plaintiff challenges
now. (Dkt. 19 at 6 n.1.) The goose and gander rule
comes to mind. In any event, the Court declines to
impose the “drastic remedy” of striking Defendant's
answer, particularly when it is clear from Rule 8 and
the case law that its responses are sufficient under
federal pleading standards.

IV. Conclusion
The Court DENIES Plaintiffs Motion to Strike
Defendant's Answer to Plaintiffs Complaint or For a
More Definitive Statement (Dkt. 14).

SO ORDERED this 26th day of January, 2024.

All Citations

Slip Copy, 2024 WL 3551132

Footnotes

1 Plaintiff also asks the Court to strike responses from Defendant that—along with denials—request
“strict proof’ of certain allegations. (Dkt. 14-1 at 15.) Defendant, however, “filed an Amended
Answer that excludes the ‘demands strict proof language.” (Dkts. 19 at 14; 17.)So that issue is

moot.

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EmCyte Corp. v. XLMedica, Inc., Not Reported in Fed. Supp. (2022)

2022 WL 394392

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Only the Westlaw citation is currently available.
United States District Court, M.D. Florida,
Fort Myers Division.

EMCYTE CORP., Plaintiff,

Vv.
XLMEDICA, INC., and Anna Stahl, Defendants,
XLMedica, Inc., and Anna
Stahl, Counter-Plaintiffs,
v.
EmCyte Corp., Counter-Defendant,
And
Patrick Pennie, Third Party-Defendant.

Case No: 2:19-cv-769-JES-NPM
|
Signed 02/09/2022

Attorneys and Law Firms

Kenneth G.M. Mather, Gunster, Yoakley & Stewart,
PA, Alejandro J. Fernandez, Akerman LLP, Tampa,
FL, Amanda Nicole Kreger, Jacksonville, FL, Stephen
John Leahu, Keyport, WA, for Plaintiff.

Patricia M. Flanagan, Alex Louis Braunstein, Fox
Rothschild LLP, West Palm Beach, FL, Brian A.
Williamson, Pro Hac Vice, Callagy Law, P.C., Phoenix,
AZ, Jeffrey Lewis Greyber, Callagy Law, PC, Boca
Raton, FL, Michael J. Smikun, Callagy Law, P.C.,
Paramus, NJ, for Defendants.

Kenneth G.M. Mather, Gunster, Yoakley & Stewart,
PA, Alejandro J, Fernandez, Akerman LLP, Tampa,
FL, Amanda Nicole Kreger, Jacksonville, FL, Stephen
John Leahu, Keyport, WA, for Counter-Defendant.

OPINION AND ORDER

JOHN E. STEELE, SENIOR UNITED STATES
DISTRICT JUDGE

*1 This matter comes before the Court on review
of plaintiff's Omnibus Motion to Dismiss Amended
Counterclaims and Strike Affirmative Defenses,
Immaterial, Scandalous Allegations, and Improper
Answers (Doc. #124) filed on August 6, 2021. This

motion seeks to (1) strike portions of the Amended
Answer; (2) strike all of the affirmative defenses; (3)
strike portions of the Counterclaim; and (4) dismiss
two counts of the Counterclaim. Defendants/Counter-
Plaintiffs filed a Response in Opposition (Doc. #125)
on August 17, 2021. For the reasons set forth below,
the motion is granted in part and denied in part.

I.

In a prior Opinion and Order (Doc. #109), the Court
gave an overview of plaintiff's allegations in this case.

Plaintiff EmCyte Corporation (Plaintiff or
EmCyte) initiated this lawsuit against defendants
XLMedica, Inc., Anna Stahl, and Apex Biologix,
LLC (collectively Defendants, or individually
XLMedica, Stahl, or Apex). (Doc. #1). The Second
Amended Complaint (Doc. # 22) (SAC) alleges
that EmCyte is the world leader in Platelet Rich
Plasma (PRP) and Progenitor Stem Cell Biologics.
(Doc. #22, ¢ 1.) For over 20 years, EmCyte has
manufactured blood concentrating systems, and
develops, improves, and commercializes state-of-
the-art devices used in preparing autologous platelet
rich plasma from blood samples and bone marrow.
(Id, at ff 12-13, 15.) The SAC alleges that Plaintiff's
blood concentrating systems include the PURE
PRP® SupraPhysiologic (PURE PRP) and PURE
BMC™ SupraPhysiologic (PURE BMC) products,
both of which are protected under federal, state,
or common law trademark and unfair competition
laws. (Id. at ff 14, 16(Figure 1), 17, 19(Figure
2), 20(Figure 3), 27.) Plaintiff has continuously
and extensively promoted its trademarked products
in interstate commerce in connection with blood
concentrating products since March 13, 2012. (Id. at
qf 22, 24.)

The SAC further alleges that defendant Stahl, a
former EmCyte employee and distributor, founded
XLMedica to directly compete with EmCyte. (Doc.
#22, $9] 38, 41-45.) Stahl and XLMedica undertook
a multifaceted trademark infringement and unfair
competition campaign squarely aimed at EmCyte
and its customers by selling products offered under
infringing marks, ic. PURE PRP KIT and PURE
BMA CONCENTRATION KIT, or confusingly
similar variants (Infringing Marks) that usurp the

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goodwill associated with EmCyte's trademarks. (Id.
at ff 43-45, 51 (Figures 6 and 7.))

The SAC sets forth the following remaining
claims: trademark infringements in violation of 15
U.S.C. § 1114 (Count 1D; contributory trademark
infringements under § 1114 and common law (Count
ID; unfair competition under the Lanham Act, 15
U.S.C. § 1125(a) (Count ID; common law unfair
competition (Count IV); infringement of Florida
TM No. T19000001087 (Count V). Plaintiff seeks
injunctive relief to prohibit XLMedica and Stahl
from using the Infringing Marks and engaging
in unfair competition, a declaratory judgment
related to its trademarks, compensatory and punitive
damages, and reasonable attorney's fees. (Id., pp.
24-26.)

*2 (Doc. #109, pp. 1-3.) This Opinion and Order
denied a motion to dismiss the SAC.

In due course Defendants filed an Amended Answer
and Counterclaim With Demand For Jury Trial and
Injunctive Relief (Doc. #123), which included an
Answer, a three-count First Amended Counterclaim
(the Counterclaim), and nine affirmative defenses.
Defendants’ Counterclaim asserts counts alleging: (1)
entitlement to a declaratory judgment of invalidity
(2) tortious
advantageous business relationship; and (3) abuse of
process. (Id., pp. 18-21.)

and cancellation; interference with

Plaintiff now moves to dismiss the second and third
counts of the Counterclaim for failing to state a
claim. Plaintiff also seeks to strike all of Defendants’
affirmative defenses, and certain improper answers and
immaterial facts contained in the Amended Answer.
(Doc. #124, p. 2.) Defendants respond that they have
adequately pled the counts in their Counterclaim, and
that neither their affirmative defenses nor the other
allegations should be stricken since they are neither
frivolous nor invalid as a matter of law. (Doc. #125,
pp. 2, 10-11.)

The Court will address Plaintiffs motion to strike
portions of the Amended Answer, the affirmative
defenses, and the Counterclaim, and then the motion to
dismiss the Counterclaim.

Ii.

Federal Rule of Civil Procedure 12(f) provides that
a "court may strike from a pleading an insufficient
defense or any redundant, immaterial, impertinent

or scandalous matter." Fed. R. Civ. P. 12(f). "An
allegation is ‘impertinent! or ‘immaterial’ when it is
neither responsive nor relevant to the issues involved
in the action." Sprengle v. Smith Mar. Inc., No.
3:20-cv-1348-MMH-JRK, 2021 WL 2003102 at

*2, 2021 U.S. Dist. LEXIS 94974 at *6 (MLD. Fla.
May 19, 2021). " ‘Scandalous’ generally refers to
any allegation that unnecessarily reflects on the
moral character of an individual or states anything in
repulsive language that detracts from the dignity of
the court." Id. (citation omitted). “The purpose of a

motion to strike is to clean up the pleadings,
streamline litigation, and avoid unnecessary forays
into immaterial matters.” Hutchings v. Fed. Ins. Co.,
No. 6:08-cv-305-Orl-L9KRS, 2008 U.S. Dist. LEXIS
75334, 2008 WL 4186994, at *2 (M.D. Fla. Sept.
8, 2008). A motion to strike is often denied "unless
the matter sought to be omitted has no possible
relationship to the controversy, may confuse the issues,
or otherwise prejudice a party." Bank of Am., N.A.
v. GREC Homes IX, LLC, No. 13-21718, 2014 WL
351962, at *4, 2014 U.S. Dist. LEXIS 8316, at *14
(S.D, Fla. Jan, 23, 2014) (internal quotations and
citations omitted).

A. Improper Answers To SAC Allegations
EmCyte argues that Defendants provided ambiguous
answers to the allegations in paragraphs 21, 27, 29-32,
34-37, 40, 45, and 119 of the SAC. (Doc. #124,
pp. 19-20.) Specifically, EmCyte takes exception to
Defendants’ answers stating that “to the extent an
allegation sought to paraphrase or characterize the
contents of a written document, the document speaks
for itself and Defendants deny any allegations to
the extent they are inconsistent with that document”,
or that certain allegations “state legal conclusions
to which no answer is required” or “speak for
themselves.” Plaintiff argues that these answers should
be stricken and properly amended. (Id.) Defendants
respond that EmCyte's accusations overlook the
entirety of Defendants’ responses, which comply with
Rule 8(b)(3). (Doc. #125, pp. 17-18.)

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*3 Rule 8(b) gives a party only three ways to respond
to an allegation in a complaint: (1) admit the allegation;
(2) deny the allegation; or (3) state that the party lacks
knowledge or information sufficient to form a belief
about the truth of the allegation. See Fed. R. Civ. P. 8(b)
(1)(B), 8(b)(5); RE/MAX, LLC v. Prop. Professionals
of Tampa Bay, Inc., No. 8:14-cv-419-T-33TGW, 2014
WL 2854991 at *1, 2014 U.S. Dist. LEXIS 55667 at *2
(M.D. Fla. Apr. 22, 2014). "A party that does not intend
to deny all the allegations must either specifically deny
designated allegations or generally deny all except
those specifically admitted." Fed. R. Civ. P. 8(b)(3). "A
party that intends in good faith to deny only part of
an allegation must admit the part that is true and deny
the rest." Fed. R. Civ. P. 8(b)(5). “An allegation ... is
admitted if a responsive pleading is required and the
allegation is not denied.” Fed.R.Civ.P. 8(b)(6).

The Court finds EmCyte's motion to strike is not well-
founded. While EmCyte may be correct that “Rule
8 does not permit a defendant to answer that an
exhibit ‘speaks for itself,’ or that plaintiff has alleged
a ‘legal conclusion’ ”, Clarendon Am. Ins. Co. v.
All Bros. Painting, No. 6:13-cv-934-Orl-22DAB, 2013
WL 5921538, at *3, 2013 U.S. Dist. LEXTS 157668,
at *7 (M.D. Fla. Nov. 4, 2013), with one exception
the offending paragraphs do not do just that. The

paragraphs which state that a legal conclusion does
not require an answer also state that the allegations
are denied. See Doc. #123, F¥ 27, 34, 37, 45. This
is sufficient under Rule 8(b). The paragraphs which
state that a document speaks for itself go on to deny
allegations which are inconsistent with the written
document. See Doc. #123, Ff] 29, 30, 31, 32, 35, 36, 40,
119. The one exception is { 21, which contains slightly
different verbiage. In the context of the entire Answer,
this too is sufficient to constitute a denial. Accordingly,
EmCyte's motion to strike Defendants’ answers to
allegations in paragraphs 21, 27, 29-32, 34-37, 40, 45,
and 119 of the Second Amended Complaint is denied.

B. Immaterial and Prejudicial Allegations
EmCyte also argues that Defendants’ Counterclaim
is replete with immaterial and unfairly prejudicial
allegations that must be stricken. (Doc. #124, p. 16.)
EmCyte seeks to strike allegations in paragraphs 1, 2,
20, 27 through 29, and 58 (Doc. #123, pp. 13, 17, 21)
of the Counterclaim because they assert an immaterial
bankruptcy conspiracy theory or cast a derogatory

light on EmCyte and Mr. Pennie. (Doc. #124, pp.
17-20.) Specifically, EmCyte requests that following
statements and/or paragraphs be stricken:

J. EmCyte's claims are designed and intended to
punish Anna Stahl...EmCyte does not seek to
vindicate legitimate rights but rather is intent
upon destroying Anna Stahl and XLMedica...

2. EmCyte's stratagem has already forced Anna
Stahl and XLMedica into bankruptcy. Yet even
this is not a sufficient pound of flesh...EmCyte
has continued to pursue baseless claims against
Anna Stahl and XLMedica and will not stop until
[they] are ground into the dust...

20. ...Because XLMedica and Anna Stahl were
pursuing their own path separate and apart
from EmCyte, EmCyte retaliated by initiating
legal action intended to punish Anna Stahl for
exercising independence from EmCyte.

27. While Plaintiff's claims have no merit, Patrick
Pennie through EmCyte commenced this action
based on insupportable and frivolous trademark
infringement allegations in @ calculated attack
designed to drive Anna Stahl and XLMedica
from the industry.

28. That Plaintiff and Mr. Pennie would take such
an action is no surprise as they have developed
a reputation for such retaliatory lawsuits and
anticompetitive conduct.

*4 29. Indeed, Plaintiff's relentless prosecution
of this matter has already succeeded in forcing
Anna Stahl and XLMedica to seek bankruptcy
protections. Even so, driving Ms. Stahl and
XLMedica into bankruptcy was not enough for
Plaintiff, who had the bankruptcy stay lifted, so
they could continue their assault against Ms.
Stahl and XUMedica in this and a related state
court lawsuit.

58. As previously mentioned, Counter-Defendant
EmCyte initiated this lawsuit and a state action

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before the Circuit Court of the 20th Judicial
Circuit, Civil Division titled CASE NO.:19-
CA-005819 in an attempt to wrongfully leverage
Anna Stahl and XUMedica into settling an
unjust lawsuit and to force Counter-Plaintiffs
into bankruptcy.

(Doc. #123, {ff 1-2, 20, 27-29, 58) (emphasis added).

The Court agrees that paragraphs 1 and 2 of the
“Preliminary Statement” of the Counterclaim should
be stricken since they are simply preliminary venting
unrelated to the Counterclaim as a whole. The Court
finds that the objected-to portions of {| 20, 27, 29, and
58 are sufficiently related to the abuse of process claim
but that J 28 is not. Accordingly, EmCyte's motion to
strike portions of paragraphs 1, 2, and 28 is granted,
but the motion to strike paragraphs 20, 27, 29, and 58
is denied.

C. Affirmative Defenses
EmCyte argues that all nine of Defendants’ affirmative
defenses should be stricken because they either do
not provide fair notice of the grounds upon which the
defense rests, are impermissible shotgun affirmative
defenses, or are merely general defenses. (Doc. #124,
pp. 14-16.)

Pursuant to Federal Rule of Civil Procedure 12(h),
courts may strike "insufficient defense[s]" from a
pleading, either upon a motion or sua sponte, Fed. R.
Civ. P. 12(f); PK Studios, Inc., 2016 WL 4529323, at
*2, 2016 U.S. Dist. LEXIS 116057, at *4-6; Morrison
v. Executive Aircraft Refinishing, Inc., 434 F. Supp.
2d 1314, 1318 (S.D. Fla. 2005) ("[A] court must not
tolerate shotgun pleading of affirmative defenses, and
should strike vague and ambiguous defenses which do

not respond to any particular count, allegation or legal
basis of a complaint." (citations omitted)).

Like counterclaims, affirmative defenses are subject
to the general pleading requirements of Rule 8 of the
Federal Rules of Civil Procedure. Daley v. Scott, No.
2:15-cv-269-FIM-29DNEF, 2016 WL 3517697 at *1,
2016 U.S. Dist. LEXIS 83735 at *3 (M.D. Fla. June
28, 2016). Rule 8(b)(1)(A) requires a party to "state
in short and plain terms its defenses to each claim
asserted against it," and Rule 8(c) requires a party

to "affirmatively state any avoidance or affirmative
defense." Fed. R. Civ. P. 8(b)(1)(A) and (c).

Compliance with Rule 8(c) requires a defendant to
set forth "some facts establishing a nexus between the
elements of an affirmative defense and the allegations
in the complaint," so as to provide the plaintiff fair
notice of the grounds upon which the defense rests. PK
Studios. Inc. v. R.L.R. Invs., LLC, No. 2:15-cv-389-
FTM-99CM, 2016 WL 4529323 at *2, 2016 U.S. Dist.
LEXIS 116057 at *4-5 (M.D. Fla. Aug. 30, 2016)
(quoting Daley, 2016 WL 3517697, at *3, 2016 U.S.
Dist. LEXIS 83735, at *7). Boilerplate pleading —
merely listing the name of the affirmative defense
without providing any supporting facts — does not
satisfy Rule 8(c) because it fails to provide notice

sufficient to allow the plaintiff to rebut or properly
litigate the defense. See Grant v. Preferred Research,
Inc., 885 F.2d 795, 797 (11th Cir. 1989); Hassan v. U.S.
Postal Serv., 842 F.2d 260, 263 (11th Cir. 1988).

*5 In addition to pleading some facts tying the
allegations in the complaint to the affirmative defenses
asserted, a defendant must “identify the [specific]
claim to which [each] defense applies." Lee_v.
Habashy, No. 6:09CV671ORL28GIK, 2009 U.S. Dist.
LEXIS 99766, 2009 WL 3490858, at *4 (MLD. Fla.
Oct. 27, 2009). Indeed, the Eleventh Circuit has
routinely criticized shotgun pleading of affirmative
defenses, that is, "affirmative defenses address[ing] the
complaint as a whole, as if each count was like every
other count," instead of each defense being directed at
specific counts in the complaint. Byrne v. Nezhat, 261
F.3d 1075, 1129 (11th Cir, 2001); see also Ledford v.
Peeples, 657 F.3d 1222, 1242 n.63 (11th Cir. 2011).

With these standards in mind, the Court turns to the
nine challenged affirmative defenses.

(1) Affirmative Defense One — Failure to State a

Claim
Defendants’ first affirmative defense alleges that
Plaintiffs Second Amended Complaint fails to state
a claim on which relief may be granted. (Doc.
#123, p. 12.) This is a “general” defense properly
raised in a Rule 12(b) motion, not an “affirmative”
defense to be asserted in a responsive pleading. See
Roth v. Nationstar Mortg., LLC, No. 2:15-cv-783-
FtM-29MRM, 2016 WL 7094023, at *2, 2016 U.S.

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Dist. LEXIS 168025, at *4 (M.D. Fla. Dec. 6,
2016) (citing In re Rawson Food Serv., Inc., 846
F.2d 1343, 1349 & n9 (11th Cir. 1988)). In any
event, this affirmative defense is without merit on its
face. Accordingly, the Court grants EmCyte's request
to strike this defense. PK Studios, Inc., 2016 WL
4529323, at *2, 2016 U.S. Dist. LEXIS 116057, at
*4_5,

(2) Affirmative Defense Two — Statute of

Limitations
The second affirmative defense states that “the statute
of limitations period for a trademark claim is four
years, pursuant to Fla. Stat. § 95.11(3)” and that
EmCyte's claim was not filed within the allotted
time. (Doc. #123, p. 12.) EmCyte argues the second
affirmative defense should be dismissed as it is
nothing more than a boilerplate defense with no
facts connecting the elements of the defense with the
allegations in the Second Amended Complaint. (Doc.
#124, p. 14.)

The statute of limitations defense is a specifically
enumerated affirmative defense, Fed. R. Civ. P. 8(c)(1),
which “must be specifically pled.” Navarro v. Santos
Furniture Custom Design, Inc., 372 F. App'x 24, 26
(11th Cir. 2010). While terse, this is sufficiently pled
because it alleges the specific statute of limitations
provision and references EmCyte's trademark claim,
thus providing fair notice. Cf. Bowes v. Haymore,
No. 13-14304-CIV-GRAHAM/LYNCH, 2014 WL
12862646, at *2~3, 2014 U.S. Dist. LEXIS 202692,
at *7 (S.D. Fla. July 8, 2014) (striking a statute
of limitations affirmative defense where no statutory
provision or claim in the complaint was identified).
EmCyte's motion to strike affirmative defense two is
therefore denied.

(3) Affirmative Defense Three - Trademark

Consent
In order to succeed on the merits of a trademark
infringement claim under 15 U.S.C. § 1114, a plaintiff
must show "(1) its mark was used in commerce by
the defendant without the [plaintiff's] consent and (2)
the unauthorized use was likely to cause confusion,
or to cause mistake or to deceive." Optimum Techs.,
Inc. v. Henkel Consumer Adhesives, Inc., 496 F.3d
1231, 1241 (ilth Cir. 2007). The Second Amended

Complaint alleges that defendants used Plaintiff's
mark without its consent (Doc. #22, {] 38-45), and
Defendants have denied that allegation. (Doc. #123, p.
6.)

As their third affirmative defense, Defendants state
they “were authorized to utilize Plaintiffs marks and
other content in the marketing of Defendants’ goods
and services, thus any and all use of Plaintiff's claimed
trademarks was by consent.” (Doc. #123, p. 12.) This is
not an affirmative defense because it is simply a denial
of an element Plaintiff must prove in its trademark
infringement claim. In re Rawson Food Sery., 846 F.2d
at 1349 & n.9. EmCyte's motion to strike the third
affirmative defense is granted.

(4) Affirmative Defense Four - Consent and No
Rights to Descriptive Terms
*6 The fourth affirmative defense states:

Plaintiff has no rights to the
exclusive use of the purely
descriptive terms “Pure PRP,”
“Pure BMC,” or “Pure BMA”
because such terms are the
proper scientific description of
the function of the products
created by Plaintiff, Apex, and
other producers.

(Doc. #123, p. 12.) EmCyte moves to strike the defense
on the ground that it is simply alleging a defect
in its prima facie case (Doc. #124, p. 16), which
Defendants do not deny. (Doc. #125, p. 12.) The Court
finds that Defendants are in essence asserting that no
trademark infringement occurred because EmCyte has
no rights to the words “Pure PRP” and “Pure BMC.”
As previously mentioned, “point[ing] out a defect in
the plaintiffs prima facie case is not an affirmative
defense." Williamceau v. Dyck-O'Neal, Inc., No. 2:16-
cv-855-FIM-29CM, 2017 WL 2544872 at *3, 2017
U.S. Dist. LEXIS 90244 at *6 (MLD. Fla. June 13,
2017). Accordingly, the Court will strike the fourth
affirmative defense.

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(5) Affirmative Defense Five — Attorney's Fees

Due To Bad Faith
In their fifth affirmative defense, Defendants assert that
EmCyte's claims were made in bad faith and without
a reasonable basis in fact or law, therefore Defendants
are entitled to attorney's fees under § 688.005, Florida
Statutes. (Doc. #123, p. 12.) EmCyte argues this
affirmative defense must be stricken because it does
not explain how this defense applies to each claim.
(Doc. #124, p. 15.)

A claim for attorney fees is not an affirmative defense.
“A determination that a plaintiff brought a claim in
bad faith...is necessarily dependent upon the outcome
of the plaintiff's case.” Schmidt, 2015 WL 997828, at
*2, 2015 U.S. Dist. LEXIS 27020, at *6. Therefore,
whether Defendants are entitled to attorney's fees
pursuant to § 688.005 is not an issue to be litigated
prior to the resolution of EmCyte's case, nor is it a
means for Defendants to avoid liability. If Defendants

prevail, they may pursue their claim for attorney's fees
and costs via an appropriate motion. EmCyte's motion
to strike the fifth affirmative defense is granted.

(6) Affirmative Defenses Six, Seven and Eight

— Unclean Hands Doctrine, Trademark

Misuse, Equitable Doctrine of Laches
Affirmative defenses six, seven, and eight simply state
that each and every claim asserted in the Second
Amended Complaint are either barred by the unclean
hands doctrine, trademark misuse, or the equitable
doctrine of laches, but with no supporting facts. (Doc.
#123, p. 13.)

Plaintiff asserts that affirmative defenses of unclean
hand and laches may be generally alleged and do not
require extensive factual assertions. (Doc. #125, p.
13.) While extensive factual assertions may not be
necessary, “such a defense, which does not provide
any information connecting it to Plaintiff's claims, is
precisely the type of bare-bones conclusory allegation"
that is insufficient under Rule 8(c). Bartholomew_v.
Pollack & Rosen, P.A., No. 2:15-CV-135-FTM-29,
2015 U.S, Dist. LEXIS 80576, 2015 WL 3852944,
at *2 (M.D. Fla. June 22, 2015); see, e.g., J.G.G.
Tobacco Holding Co. v. Antigua Esteli_Tobacco,
No. 19-23732-Civ-COOKE/GOODMAN, 2020 WL
4926582, at *2-3, 2020 U.S. Dist. LEXIS 155129, at

*7 (S.D. Fla. May 20, 2020) (striking unclean hands
defense where no facts were alleged that plaintiff used
a trademark to deceive consumers); *7 SE Property
Holdings, LLC v. McElheney, No. 5:12-cv-00164-
RS-CJK, 2015 U.S. Dist. LEXIS 14647, 2015 WL
507188, at *3 (N.D. Fla. Feb. 6, 2015) (noting that
"the party seeking to apply the unclean hands doctrine
must describe with precision the ‘egregious facts' that
justify application of the doctrine); Groves v. Patricia
J. Dury, M.D., P.A., No. 2:06-CV-338-FTM-99SPC,
2006 U.S. Dist. LEXIS 62540, 2006 WL 2556944,
at *2 (M.D. Fla. Sept. 1, 2006) (striking unclean
hands defense containing no facts); FDIC v. Bayer,
No. 2:13-cv-752-FtM-29DNF, 2015 WL 686952, at
*4, 2015 US. Dist. LEXIS 19265, at *10 (M.D. Fla.
Feb. 18, 2015)\(striking an affirmative defense that
stated “the complaint was barred by the doctrine of

laches” because “[l]aches...requires some basic factual
allegations.”); Fine's Gallery, Ltd. Liab. Co. v. From
Eur, to You, Inc., No. 2:11-cv-220-FtM-29SPC, 2011
WL 5583334, at *___-_—, 2011 US. Dist. LEXIS
132257, at *4-6 (M.D. Fla. Nov. 16, 2011) (striking an
affirmative defense where the defendants alleged no

facts as to any theories of a plausible laches defense
— that plaintiff delayed asserting a right or claim,
the delay was not excusable, and there was undue
prejudice).

The same is true for the trademark misuse affirmative
defense, Although “courts uniformly allow trademark
misuse.,.as an affirmative defense to a trademark
infringement action”, Whitney Info. Network, Inc.
v. Gagnon, 353 F, Supp. 2d 1208, 1212 (M.D. Fla.
2005) (citing cases), the defense must “specifically
allege how Plaintiff | [has] allegedly misused the[ ]
trademark.” Sprint Sols., Inc. v. 4 U Cell, LLC, No.
2:15-cv-605-FtM-38CM, 2016 WL 3543512, at *3,
2016 U.S. Dist. LEXIS 84464, at *7 (M.D. Fla. ine
29, 2016).

Here, by asserting that each and every claim
asserted by Plaintiff is barred by trademark misuse
(Doc. #123, p. 13), Defendants fail to provide any
“facts establishing a nexus between the elements
of [trademark misuse] and the allegations in the
complaint.” ! PK. Studios, Inc., 2016 WL 4529323,
at *2, 2016 U.S. Dist. LEXIS 116057, at *4-5.
Accordingly, EmCyte's motion to strike the sixth,
seventh, and eighth affirmative defenses is granted.

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(7) Affirmative Defense Nine — Reservation of

“Right”
Affirmative defense nine states that Defendants
“reserve the right to assert additional defenses as
they may be discovered.” (Doc. #123, p. 13.) “[A]
reservation of the right to assert additional defenses
through the course of discovery is not a defense
at all and may be stricken.” Bruce v. Ocwen Loan
Sery., LLC, 2012 U.S. Dist. LEXIS 147897, 2012 WL
4867224, *2 (M.D. Fla. 2012). The Court therefore
strikes the reservation of rights from Defendants’
Amended Answer.

TD.

*8 Counterclaim defendants move to dismiss two
counts of the Counterclaim for failure to state a claim
upon which relief may be granted and as a shotgun
pleading. The Court agrees in part.

A. Shotgun Pleading
EmCyte argues that Defendants’ second and. third
counterclaims must be dismissed because they violate
the shotgun pleading rule. (Doc. #124, pp. 13-14.)
Shotgun pleadings violate Rule 8, which requires "a
short and plain statement of the claim showing that
the pleader is entitled to relief," Fed. R. Civ. P. 8(a)
(2), by “fail[ing] to one degree or another... to give
the defendants adequate notice of the claims against
them and the grounds upon which each claim rests."
Weiland v. Palm Beach Cnty. Sheriff's _Ofc., 792
F.3d 1313, 1323 (11th Cir. 2015) (defining the four

types of shotgun pleadings). ? Courts in the Eleventh
Circuit have little tolerance for shotgun pleadings. See
generally Jackson v. Bank of Am., 898 F.3d 1348 (11th
Cir. 2018) (detailing the unacceptable consequences of
shotgun pleading). A district court has the "inherent
authority to control its docket and ensure the prompt

resolution of lawsuits," which includes the ability to
dismiss a complaint on shotgun pleading grounds.
Weiland, 792 F.3d at 1320. Ina case where a defendant
files a shotgun pleading, a court “should strike the
[pleading] and instruct counsel to replead the case —
if counsel could in good faith make the representations
required by Fed. R. Civ. P. 11(b)." Bye v. Nezhat, 261

F.3d 1075, 1133 n.113 (quoting Cramer v. Florida, 117
F.3d 1258, 1263 (1ith Cir. 1997)).

Here, the second and third counts of the Counterclaim
constitute a shotgun pleading because the first
paragraph in each count incorporates the allegations of
all preceding allegations. (Doc. #123, ff] 44, 57.) "The
typical shotgun complaint contains several counts,
each one incorporating by reference the allegations
of its predecessors, leading to a situation where most
of the counts (i.e., all but the first) contain irrelevant
factual allegations and legal conclusions." Strategic
Income Fund, L.L.C. v. Spear, Leeds & Kellogg Corp.,
305 F.3d 1293, [295 (11th Cir. 2002). Doing so makes
it neatly impossible for EmCyte and the Court to
determine which factual allegations give rise to which
claims for relief. Accordingly, the second and third

counts are dismissed on shotgun pleading grounds,
with leave to amend. Vibe Micro, Inc. v. Shabanets,
878 F.3d (291, 1296 (11th Cir. 2018).

B. Failure to State a Claim

*9 “Counterclaims, like claims for relief in a
complaint, must contain a short and plain statement
showing an entitlement to relief, and the statement
must give the opposing party fair notice of what
the claim is and the grounds upon which it rests.”
Boat Owners Ass'n of the United States v, Flagship
Towing LLC, No. 2:15-cv-197-FtM-29CM, 2015 WL
4548698, at *2, 2015 U.S. Dist. LEXIS 98315, at *3
(M.D. Fla. July 28, 2015) (citing Fed. R. Civ. P. 8(a)
(2)); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,
127 S.Ct. 1955, 167 L.Ed.2d 929, (2007). A motion
to dismiss a counterclaim under Fed. R. Civ. P. 12(b)
(6) is evaluated in the same manner as a motion to
dismiss a complaint. Whitney Info. Network, Inc. v.
Gagnon, 353 F.Supp.2d 1208, 1210 (MLD. Fla. 2005);
Fabricant v. Sears Roebuck, 202 FR.D. 306, 308 (8.D.
Fla, 2001).

Counterclaims therefore must consist of “more than
labels and conclusions, and a formulaic recitation
of the elements of a cause of action will not do.”
Twombly, 550 U.S. at 555, 127 S.Ct. 1955 (citation
omitted). To survive dismissal, the factual allegations
must be “plausible” and “must be enough to raise a
tight to relief above the speculative level.” Id. at 555,
127 S.Ct. 1955; see also Edwards v. Prime Inc., 602
F.3d 1276, 1291 (11th Cir. 2010). This requires “more

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than an unadorned, the-defendant-unlawfully-harmed-
me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678,
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (citations
omitted).

In deciding a Rule 12(b)(6) motion to dismiss,
the Court must accept all factual allegations in a
counterclaim as true and take them in the light
most favorable to plaintiff, Erickson v. Pardus, 551
U.S, 89, 127 S.Ct. 2197, 167 L.Ed.2d 1081 (2007),
but "[lJegal conclusions without adequate factual
support are entitled to no assumption of truth."
Mamani v. Berzain, 654 F.3d 1148, 1153 (11th Cir.
2011) (citations omitted). "Threadbare recitals of the
elements of a cause of action, supported by mere
conclusory statements, do not suffice." Iqbal, 556
USS. at 678, 129 S.Ct. 1937. "Factual allegations that
are merely consistent with a [Plaintiffs] liability fall
short of being facially plausible." Chaparro v. Carnival
Corp., 693 F.3d 1333, 1337 (11th Cir. 2012) (internal
citations omitted). Thus, the Court engages in a two-
step approach: "When there are well-pleaded factual
allegations, a court should assume their veracity and
then determine whether they plausibly give rise to an
entitlement to relief." Iqbal, 556 U.S. at 679, 129 §.Ct.
1937.

(1) Counterclaim II — Tortious Interference

With Advantageous Business Relationship
EmCyte asserts that Defendants’ second count fails
to allege a cognizable claim for tortious interference
that demonstrates any liability for alleged misconduct.
(Doc. #124, p. 5.)

"The elements of tortious interference with a business
relationship are (1) the existence of a business
relationship (2) knowledge of the relationship on the
part of the defendant; (3) an intentional and unjustified
interference with the relationship by the defendant; and
(4) damage to the plaintiff as a result of the breach
of the relationship." Ethan Allen, Inc. v. Georgetown
Manor, Inc., 647 So. 2d 812, 814 (Fla. 1994) (citation
omitted); see also Duty Free Americas, Inc. v. Estee
Lauder _Cos., Inc., 797 F.3d 1248, 1279 (11th Cir.
2015) (stating the same). "As a general rule, an action
for tortious interference with a business relationship

requires a business relationship evidenced by an actual
and identifiable understanding or agreement which
in all probability would have been completed if the

defendant had not interfered." Ethan Allen, Inc., 647
So. 2d at 815.

*10 EmCyte argues that one fundamental problem
with Defendants’ tortious interference counterclaim is
the absence of any allegation that EmCyte or Patrick

Pennie* induced a third party to breach a contract or
relationship with Defendants. (Doc. #124, p. 6.) “One
is liable for commission of this tort who interferes
with business relations of another, both existing and
prospective, by inducing a third person not to enter
into or continue a business relation with another or by
preventing a third person from continuing a business
relation with another." Smith v. Ocean State Bank, 335
So, 2d 641, 643 (Fla. Ist DCA 1976) (emphasis added).

Here, Defendants allege that on October 27, 2018,
XLMedica entered into a distribution agreement
with Apex, which required XLMedica to sell Apex
Biologix products and those obtained through Apex's
distributor agreements, including EmCyte. (Doc. #123,
4 19.) Defendants further allege that Mr. Pennie and
EmCyte released a letter to XLMedica and Apex's
customers about the present lawsuit and that Apex's
XCell brand devices were unsafe. (Id., Ff 45, 49.)
Finally, Defendants allege that “Plaintiff's actions have
disrupted and harmed the professional relationship
between XLMedica and Apex.” (Id., 4 30.) Accepting
the factual allegations as true and viewing them in
a light most favorable to Defendants, the allegations
set forth a plausible claim that Plaintiff interfered
with business relationship between XLMedica and
Apex by causing a disruption in the ongoing business
relationship. Smith, 335 So. 2d at 643. Accordingly,
EmCyte's motion to dismiss on this basis is denied.

Next, EmCyte argues that Defendants’ tortious
interference count must be dismissed because the
claim does not include an actual, identifiable group
with whom there was interference. (Doc. #124, p. 7.)
EmCyte is correct that the party "allegedly interfered
with must be actual and identifiable, and not just a large
group such as the community at large." Allegiance
Healthcare Corp. v. Coleman, 232 F. Supp. 2d 1329,
1336 (S.D. Fla. 2002) (citing Ethan Allen, Inc., 647
So. 2d at 815). However, Defendants allege that
EmCyte and Mr. Pennie's statements in the letter were
intended to interfere with and harm the relationship
between XLMedica and Apex, as well as their mutual

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customers. (Doc. #123, 9] 52-53.) The allegations
taken as true, are sufficient to plausibly identify actual
patties with whom Plaintiff allegedly interfered, and
not just a large group. Cf. Scanz Techs., Inc. v.
JewMon Enters., LLC, No. 20-22957-cv-Scola, 2021
WL 65466, at *9, 2021 U.S. Dist. LEXIS 2651, at
*32 (S.D. Fla. Jan. 6, 2021) (finding an actual and
identifiable business relationship was inadequately

pled where it was alleged there were “numerous
business relationships with clients in Florida, located
throughout the United States and ... the world.”).

Finally, EmCyte moves for dismissal because
Defendants did not provide details about “what
precisely” was published that intentionally and

unjustifiably tortiously interfered. 4 (Doc. #124, p. 8,
citing Maale v. Kirchgessner, No. 08-8013 1-CIV, 2009
WL 10669000 at *3, 2009 U.S. Dist. LEXIS 135041
at *12 (S.D. Fla. June 5, 2009)). Defendants respond
that they provided specific allegations of fact about
EmCyte and Mr. Pennie's publication of the letter,
which was sent to XLMedica's customers, asserting the
products sold by XLMedica were unsafe. (Doc. #125.)

*11 The Court agrees with Defendants. Unlike
Maale, Defendants allege specific “factual content
that would allow the court to draw the reasonable
inference that the [Plaintiff] is liable for the misconduct
alleged.” Maale, 2009 WL 10669000 at *3, 2009
U.S. Dist. LEXIS 135041, at *13. For example,
Defendants allege that EmCyte's letter suggested
that Apex's XCell brand devices were unsafe, and
had “questionable sterility and biocompatibility with
human tissue.” (Doc. #123, ff] 49-50.) Defendants
further allege that as a result of the letter bemg sent
to its customers, as well as EmCyte's customers, there
was interference between Defendant and its customers
and Apex. Uid., §ff§ 53.) Taking the allegations as
true and viewing them in a light most favorable to
Defendants, the allegations are sufficient to show
the precise nature of the publication that interfered
with XLMedica's business relationship with Apex.
Accordingly, the Court finds that Defendants’ have

alleged a plausible tortious interference with an
advantageous business relationship counterclaim.

(2) Count Ill —- Abuse of Process

EmCyte moves to dismiss Defendants’ abuse of
process claim because it “lacks any allegation of
misuse of process after the process issued.” (Doc.
#124, p. 9.)

To state a claim for abuse of process, Defendants
must allege facts showing "(1) an illegal, improper,
or perverted use of process by [EmCyte]; @) an
ulterior motive or purpose in exercising the legal,
improper, or perverted process; and (3) damages to
the [Defendants] as a result." Keehnle v. Charter Elec.
Experts, LLC, No. 8:18-cv-2880-T-23CPT, 2019 U.S.
Dist. LEXIS 30818, at *2 (M.D. Fla. Feb. 27, 2019)
(citing Valdes v. GAB Robins N. Am. Inc., 924 So.2d
862 (Fla. 3d DCA 2006)). The tort of abuse of process
is concerned with the use of process after it issues.
Marty v. Gersh, 501 So. 2d 87, 89 (Fla. Ist DCA 1987).
"The usual case of abuse of process involves some
form of extortion." S & Investments v. Payless Flea
Market, Inc., 36 So. 3d 909, 917 (Fla. 4th DCA 2010)
(internal marks omitted).

In their third count, Defendants allege that “EmCyte
initiated this lawsuit and a state action ...
attempt to wrongfully leverage Anna Stahl and
XLMedica into settling an unjust lawsuit and to force
Counter-Plaintiffs into bankruptcy.” (Doc. #123, § 58.)
Defendants further allege that the actions described

in an

above “were not initiated” for any proper purpose, but
were conducted for “improper ulterior purposes.” (Id.,
4] 60, 63.) Taking these allegations as true, Defendants
have failed to allege that process was abused after
this action was commenced. The “mere filing of a
complaint and having process served is not enough
to show abuse of process." Della—-Donna_v. Nova
Univ., Inc., 512 So.2d 1051, 1055 (Fla. 4th DCA
1987). Furthermore, an improper motive by itself is
not sufficient. See, e.g., Miami Herald Pub, Co., Div.
of Knightridder Newspapers, Inc. v. Ferre, 636 F.
Supp. 970, 975 (S.D. Fla. 1985); Cazares v. Church
of Scientology of Cal., Inc., 444 So. 2d 442, 444
(Fla. Dist. Ct. 1983) (“[t]he maliciousness or lack of
foundation of the asserted cause of action itself is

actually irrelevant to the tort of abuse of process.");
Peckins v. Kaye, 443 So. 2d 1025, 1026 (Fla. Dist. Ct.
1983) (threat of causing party “undue and inordinate
expenditures of their time and money" or “ulterior
motive of harassment" is not sufficient). Accordingly,

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Defendants have not set forth a plausible abuse of (b) EmCyte's Motion to Strike paragraphs 1, 2,

process counterclaim. and 28 of the Counterclaim is GRANTED and
these paragraphs are stricken. The motion is

EmCyte also argues that Defendants’ third count otherwise DENIED as to paragraphs 20, 27,

should be dismissed with prejudice because the 29, and 58.

allegations only pertain to initiating and prosecuting

the present case and, therefore, further amendment (c) EmCyte's Motion to Strike Affirmative

would be futile. (Doc. #124, p. 13.) The Court Defenses is GRANTED as to Affirmative

will allow an opportunity to amend this claim, if Defenses 1, 3, 4, 5, 6, 7, 8, and 9. The Motion

possible. Defendants’ abuse of process counterclaim is is DENIED as to Affirmative Defense 2.

dismissed without prejudice.
(d) EmCyte's Motion to Dismiss Defendants’

Accordingly, it is now Counterclaim is GRANTED as to Count 2
and Count 3, which are dismissed without
ORDERED: prejudice.

1. Plaintiffs Omnibus Motion to Dismiss 2, Defendants/Counter-Plaintiffs may file Second
Amended Counterclaims and Strike Affirmative Amended Affirmative Defenses and a Second
Defenses, Immaterial, Scandalous Allegations, Amended Counterclaim within FOURTEEN
and Improper Answers (Doc. #124) is (14) DAYS of this Opinion and Order.
GRANTED IN PART and DENIED IN PART
as follows:

DONE AND ORDERED at Fort Myers, Florida, this

*12 (a) EmCyte's Motion to Strike paragraphs 9th day of February, 2022.
21, 27, 29-32, 34-37, 40, 45, and 119 of

Defendants’ Amended Answer to the SAC is All Citations

DENIED. Not Reported in Fed. Supp., 2022 WL 394392
Footnotes
4 While portions of Defendants’ answer may generally include factual support for the defenses

of unclean hands, trademark misuse, and laches, it is not clear which facts may apply to each
defense so that EmCyte has fair notice of the grounds upon which the defenses rest. See Island
Co, Ltd. Liab. Co, v. Abercrombie & Fitch Ca., No. 13-80333-ClIV, 2014 WL 12488575, at *2, 2014
U.S, Dist. LEXIS 188794, at *5 (S.D. Fla. Feb. 18, 2014) (striking general defenses of unclean
hands, trademark misuse, and laches where the Answer had general factual support, but were
not alleged with each affirmative defense in such a manner as to provide fair notice to the plaintiff).

2 The four "rough" types or categories of shotgun pleadings identified by the Eleventh Circuit in
Weiland are:

The most common type — by a long shot — is a complaint containing multiple counts where each
count adopts the allegations of all preceding counts, causing each successive count to carry all
that came before and the last count to be a combination of the entire complaint. The next most
common type, at least as far as our published opinions on the subject reflect, is a complaint that
does not commit the mortal sin of realleging all preceding counts but is guilty of the venial sin
of being replete with conclusory, vague, and immaterial facts not obviously connected to any

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particular cause of action. The third type of shotgun pleading is one that commits the sin of not
separating into a different count each cause of action or claim for relief. Fourth, and finally, there
is the relatively rare sin of asserting multiple claims against multiple defendants without specifying
which of the defendants are responsible for which acts or omissions, or which of the defendants
the claim is brought against.

Weiland, 792 F.3d at 1322-23.
3 Mr. Pennie is the CEO of EmCyte. (Doc. #123, p. 14.)
4 Defendants also allege that Mr. Pennie and EmCyte

communicated with Anna Stahl and XLMedica's customers and distributors about the conduct
jEmCyte] alleges in this lawsuit.” (Doc. #123, 745.) EmCyte argues that because communications
pertaining to judicial proceedings are expressly privileged, any communications about this case
cannot form the basis of a tortious interference claim. (Doc. #124, p. 8.) Drawing all reasonable
inferences in favor of Defendants, the allegations do not suggest that Defendants are relying upon
communications relating to this present proceeding; rather, they only allege that EmCyte's letter
discussed Defendants’ conduct giving rise to this lawsuit. Dismissal on this basis is therefore
inappropriate.

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Only the Westlaw citation is currently available.
United States District Court,
E.D. Pennsylvania.

FULTON FINANCIAL ADVISORS,
NATIONAL ASSOCIATION, Plaintiff,
v.
NATCITY INVESTMENTS, INC., Defendant.

Civil Action No. 09-4855.
|
Oct. 15, 2013.

Attorneys and Law Firms

James H. Thomas, Blakinger, Byler & Thomas, P.C.,
Lancaster, PA, Catherine Grantier Cooley, Robert
J. Lane, Jr, Hodgson Russ LLP, Buffalo, NY, for
Plaintiff.

Christopher S. Underhill, Hartman Underhill &
Brubaker LLP, Lancaster, PA, James J. Restivo, Jr.,
Joseph P. Pohl, III, Reed Smith LLP, Pittsburgh, PA,
for Defendant.

MEMORANDUM
STENGEL, District Judge.

*1 Plaintiff, Fulton Financial Advisors, National
Association (“Fulton”), brought this action in the
Court of Common Pleas of Lancaster County against
Defendant NatCity Investments, Inc. (“NatCity’”)
alleging violations of the Pennsylvania Securities Act
(“PSA”) sections 1-402 (Count I), 1-401 (Count
ID, and 1-403 (Count II), as well as state law
claims for equitable rescission (Count IV), negligent
misrepresentation (Count V), negligence (Count VJ),
breach of fiduciary duty (Count VID, common law
fraud (Count VIID, and aiding and abetting common
law fraud (Count IX). The case, which was removed
to this court on October 22, 2009 based on diversity
jurisdiction, arises out of the collapse of the market for
Auction Rate Securities (“ARS”). Presently before the
Court is NatCity's Motion to Dismiss the Complaint,
filed pursuant to Fed.R.Civ.P. 12(b)(6). NatCity
contends that Fulton has failed to plead its fraud-

based claims with sufficient particularity, and that
Fulton cannot have reasonably relied upon NatCity's
alleged misrepresentations. For the following reasons,
I will grant NatCity's Motion to Dismiss the three
PSA claims, the negligent misrepresentation claim,
the claim for common law fraud, and the claim for
aiding and abetting fraud. I will deny the Motion as to
the negligence claim and the breach of fiduciary duty
claim. Finally, I will grant the Motion as to the claim
for equitable rescission, since that is a remedy for fraud
and not a separate cause of action, and I will strike the
request for attorneys’ fees and costs.

I. BACKGROUND!

ARS is a category of securities that include bond-
like financial instruments issued by municipalities and
student loan entities (generally known as “auction rate
certificates” (“ARCs”)), and preferred stock issued
by closed-end mutual funds (generally known as
“auction preferred shares”). Compl. ¢ 4. This case
involves student loan ARCs, which are interest bearing
certificates backed by pools of student loans, They
have long-term nominal maturities that pay interest
rates set and reset by auctions conducted at pre-
determined intervals, usually seven, twenty-eight, or
thirty-five days. Jd. A RCs enable investors to secure
long-term debt, while paying interests rates only
slightly higher than the rates applicable to short-term
debt. Jd. at ] 5. Investors were led to believe that A RCs
could be readily disposed of at par through periodic
auctions and that they were purchasing low-risk, safe,
liquid and secure investments with reliable short-term
liquidity. Id. at {| S—6.

A number of actors participate in the creation and
issuance of ARS. The “issuer” is the borrower that
issues the ARS and, as the debtor, assumes the
obligation to pay principal and interest owing on the
ARS. The issuer engages an “underwriter” to distribute
the issue and an “auction agent” to conduct the auctions
at which interest rates are reset. Jd. at 7. The issuer
also selects a broker-dealer (“BD”) whose purpose is
to solicit bids from existing ARS owners and potential
investors. Jd. at { 8. Those BDs that have entered
into a broker-dealer agreement with respect to an ARS
issue are “Contractual BDs” (“CBDs”). Jd. Unless they
are CBDs, BDs have no direct access to the auction
process. Jd. BDs must submit their customers’ buy and

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sell orders through a CBD. Jd. The CBD acts as broker
for the ARS owner and potential purchaser in the
auction process, thereby allegedly imposing fiduciary
duties on the CBD in favor of the customer. Jd.
Through a “Dutch auction” process, investors specify
the number of shares they wish to purchase and the
lowest interest rate they are willing to accept. Jd. at J
10. Existing ARS holders specify the number of shares
they wish to sell, either on an unqualified basis or at
a specific interest rate, and the number of shares they
wish to continue to hold. Jd. The bids and offers are
conveyed to an auction agent, who ranks each bid and
offer according to the interest rate. Jd. The lowest bid
rate at which all shares offered for sale can be sold
establishes the interest rate to be paid until the next
auction. Id. A “failed auction” occurs when there is a
lack of demand and no clearing bid is established. Jd. at
4 11. Ifthis occurs, the holders will keep their position
at the maximum interest rate until the next auction has
a successful clearing bid. Jd.

*2 For a number of years prior to 2006, Fulton
maintained an institutional investment account with
NatCity, for which NatCity acted as Fulton's securities
broker. Id. at § 12. Around 2005, NatCity allegedly
recommended to Fulton that it invest in ARS, in
keeping with Fulton's desire to invest in only the
highest quality and safest debt investments. Id. at
14. An unspecified portion of these ARS were from
NatCity's own inventory. /d. Fulton currently holds
$175 million in ARS. Jd. at 115, NatCity also allegedly
acted as a CBD for a number of the ARS issues it
recommended to Fulton, for which NatCity typically
earned a yearly fee of 0.25 percent of the value of

the transaction. 7 Jd. at 4 18. For transactions where
NatCity was not the CBD, it received a portion of the
CBD's fee, a fact not disclosed to Fulton, for directing
the Fulton trade to the CBD. Jd.

The country's major securities firms earned fees as
the principal underwriters and marketers of ARS
and ARCs, acting as CBDs. /d. at J 19. These fees
were so lucrative that securities firms became secret
“suarantors” of the success of the auctions. Id. at J 20.
If there was insufficient investor interest in a particular
auction, such that there were not enough buyers to
match the sellers, then the auction was at risk of failure.
Id. This threatened the entire market, which was based
on investor confidence in access to short-term liquidity

on demand. Jd. To protect the broader market from
seizing up, and to protect their stream of underwriting
fees and auction management fees, securities firms,
including NatCity, allegedly entered proprietary bids
for their own accounts (“support bids’) to ensure that
the auctions succeeded, thereby creating the illusion
of an efficient, completely liquid market. Jd. at {ff
20, 21. NatCity made proprietary support bids to
prolong the life of the ARS market that was generating
lucrative underwriting and BD fees. Jd. at { 22. It also
stood to lose money on its own ARS if the auction
market failed. Jd. Fulton alleges that these purchases
were intended to manipulate the markets for ARS by
creating the false appearance that those markets were
broad-based, sustained by investor demand for ARS by
third parties with true investment intent, and that the
ARS markets were active, efficient and independent,
when there was far from sufficient real demand by
disinterested parties with true investment intent to keep
the auction markets from failing Jd. at ¢ 23. NatCity
never informed Fulton of its role in the ARS markets
or that it was placing support bids for its own account
to support the auction markets; thus its interests
conflicted with Fulton's interests. Jd. at ¢ 28. NatCity
never disclosed material information to Fulton that
the success of auction markets was entirely dependent
upon support bids; that it had no truc investment intent
in making proprietary A RS purchases; that the purpose
of its purchases was to generate fees and protect the
value of its own holdings; that true investment demand
was far lower than necessary to maintain liquid ARS
markets; and that NatCity and the other CBDs could
withdraw their support at any time causing widespread
auction failures resulting in total illiquidity and loss in
value to Fulton's ARS. Jd. at J 29.

*3 This was the practice until the summer of 2007
when the credit crisis struck, and demand for ARS
collapsed. Id. at {| 30-32. Securities firms allegedly
reacted with enormous increases in their proprietary
ARS purchases to conceal the fact that the markets had
become illusory and were near failing. Jd. at Jf 31,
34, 35. In February and March 2008, the ARS auction
markets failed entirely. Jd. at {§ 38, 39. Fulton alleges
that, during this time period, NatCity was aware of
these failures and understood the materiality of this
information, but failed to disclose this information to
Fulton, even as it continued to sell ARS to Fulton while

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also selling its own inventory of ARS. Jd. at Ff] 34, 36,
37.

Fulton's student loan ARCs were not redeemed for the
most part, because their maximum rates were below
market rates. Jd. at J] 40-41. Fulton currently holds
ARS purchased between 2005 and 2008 from NatCity
for a price of more than $175 million. Jd. at ¢15. It has
been required to write down the value of its ARS by
an amount in excess of $10 million. Jd. at ] 43. Fulton
makes numerous allegations that state and federal
regulators have determined that NatCity and the other
major underwriters of ARS manipulated the ARS
markets and deceived ARS investors. Jd. at {J 44—
53. It also alleges that NatCity had special knowledge
and expertise in the ARS auction markets that it did
not possess. Jd. at J{ 54-56. Because of its superior
knowledge and role in the auction markets as Fulton's
BD, Fulton alleges that NatCity owed it fiduciary
duties, as well as duties of fairness, honesty, disclosure
of material information, and undivided loyalty. Id. at
{{ 57-62.

Attached to the Complaint are excerpts of regulatory
decisions issued by the SEC and various state
regulatory bodies imposing penalties upon several A
RS market participants. Only one of the fourteen
exhibits concerns NatCity. See Compl. Ex. P. On
March 13, 2009, the Financial Industry Regulatory
Authority and NatCity entered into a “Letter of
Acceptance, Waiver and Consent,” in which NatCity
conceded that, during the period from May 31, 2006
through February 28, 2008, it had engaged in activities
in violation of SEC, NASD and Municipal Securities
Rulemaking Board rules concerning its sales and
marketing of ARS. Jd. NatCity conceded that it
had created marketing materials for ARS that were
unfair and did not provide a sound basis for its
customers to evaluate the facts in regard to purchases
of ARS because the materials did not contain adequate
disclosure of the risks of ARS, including the risks
that ARS auctions could fail, that investments could
become illiquid, and that customers might be unable to
obtain access to funds invested in ARS for substantial
periods of time. Jd. at 2.

Il, STANDARD OF REVIEW
When considering a motion to dismiss pursuant to Rule
12(b)(6), we “consider only the complaint, exhibits

attached to the complaint, [and] matters of public
record, as well as undisputedly authentic documents
if the complainant's claims are based upon these
documents.” Mayer vy. Belichick, 605 F.3d 223, 230
(3d Cir.2010) (citing Pension Benefit Guar. Corp.
v, White Consol. Indus., Inc., 998 F.2d 1192, 1196
(3d Cir.1993)). We take the factual allegations of the
complaint as true and draw all reasonable inferences
in favor of the plaintiff. De/Rio—Mocci v. Connolly
Props., Inc., 672 F.3d 241, 245 3d Cir.2012) (citing
Warren Gen. Hosp, v. Amgen Inc., 643 F.3d 77, 84
(3d Cir.2011). Legal conclusions, however, receive no
deference, and the court is “not bound to accept as
true a legal conclusion couched as a factual allegation.”
Papasan y, Allain, 478 U.S. 265, 286, 106 S.Ct. 2932,
92 L.Ed.2d 209 (1986) (cited with approval in Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555, 127 8.Ct. 1955,
167 L.Ed.2d 929 (2007)).

*4 A plaintiff's pleading obligation is to set forth “a

short and plain statement of the claim,” Fed.R.Civ.P.
8(a)(2), which gives the defendant “ ‘fair notice of
what the .. claim is and the grounds upon which
it rests.” ” Twombly, 550 U.S. at 555 (alteration in
original) (quoting Conley v. Gibson, 355 U.S. 41, 47,
78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). The complaint
must contain “ ‘sufficient factual matter to show
that the claim is facially plausible,’ thus enabling
‘the court to draw the reasonable inference that the
defendant is liable for [the] misconduct alleged.’ ”
Warren Gen. Hosp., 643 F.3d at 84 (quoting Fowler v,
UPMC Shadyside, 578 F.3d 203, 210 Gd Cir.2009)).
“The plausibility standard is not akin to a ‘probability
requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully.”
Ashcroft y. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,
173 L.Ed.2d 868 (2009) (citing Tvombly, 550 U.S. at
556). In the end, we will dismiss a complaint if the
factual allegations in the complaint are not sufficient “
‘to raise a right to relief above the speculative level.’
” West Run Student Hous. Assocs., LLC vy. Huntington
Nat'l Bank, 712 F.3d 165, 169 (3d Cir.2013) (quoting
Fivombly, 550 U.S. at 555).

In addition to the fundamental requirements of Rule
8(a), complaints alleging fraud must also satisfy
the heightened pleading requirements of Rule 9(b).
A complaint “must state with particularity the
circumstances constituting fraud.” Fed.R.Civ.P. 9(b).

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The United States Court of Appeals for the Third
Circuit has determined that in order to comply with
the particularity requirement of a fraud claim, the
following elements must be pled: (1) A specific false
representation of material facts; (2) knowled by the
person who made it of its falsity; (3) ignorance of
its falsity by the person to whom it was made; (4)
the intention that it should be acted upon; and (5)
the plaintiff acted upon it to his damage. Christidis
v. First Pa. Mortgage Trust, 717 F.2d 96, 99 (3d
Cir.1983). “A complaint satisfies Rule 9(b) if it sets
forth precisely what statements or omissions were
made in what documents or oral representations,
who made the statements, the time and place of the
statements, the content of the statements and manner
in which they misled the plaintiff, and what benefit the
defendant gained as a consequence of the fraud.” Jn
re Theragenics Corp. Sec. Litig., 105 F.Supp.2d 1342,
1348 (N.D.Ga.2000) (citing Brooks v. Blue Cross and
Blue Shield of Fla., Inc., 116 F.3d 1364, 1371 (ith
Cir.1997)).

Rule 9(b) applies “not only to fraud actions under
federal statutes, but to fraud claims based on state
law.” Christidis, 717 F.2d at 99. Rule 9(b) requires
the plaintiff plead “the circumstances of the alleged
fraud in order to place the defendants on notice of the
precise misconduct with which they are charged, and
to safeguard defendants against spurious charges of
immoral and fraudulent behavior.” Lum v. Bank of Am.,
361 F.3d 217, 223-24 (3d Cir.2004) (quoting Seville
Indus. Mach. Corp. v. Southmost Machinery Corp.
742 F.2d 786, 791 Gd Cir.1984)). “[A]llegations of
‘date, place or time’ fulfill these functions,” but
plaintiffs may also “use alternate means of injecting
precision and some measure of substantiation into their
allegations of fraud.” Seville Indus. Mach. Corp., 742
F.2d at 791. In addition, where plaintiffs allege a fraud
scheme, courts have “recognized the impracticality
of requiring the plaintiff to plead the facts of each
individual claim, particularly where the claims are
numerous and extend over the course of several years.”
United States ex rel. Singh v. Bradford Reg'l Med.
Cir, Civ. A. No. 04-186, 2006 WL 2642518, at *4
(E.D.Pa. Sept. 13, 2006) (quoting United States ex rel.
Landsberg v. Argentis Med., P.C., Civ. A. No. 03-1263,

2006 WL 1788381, at *4 (E.D. Pa. June 27, 2006)). 3

*5 The requirements of the Private Securities
Litigation Reform Act do not apply to this action.
The Act only applies to private actions arising under
the federal securities laws. See U.S.C. § 78u—4(b)
(stating “In any private action arising under this
chapter ...”). Fulton's claims only assert violations of
the Pennsylvania Securities Act, as well as common
law claims.

Ii. DISCUSSION

a. Failure to Plead Fraud with Specificity

In its Motion, NatCity argues that each of Fulton's
claims are premised upon concl usory allegations that
NatCity fraudulently manipulated the ARS market
through its placement of proprietary support bids and
the failure to reveal this activity, thereby creating the
illusion of an efficient, completely liquid market. It
argues that the Complaint fails to plead fraudulent
conduct with the sufficient particularity required by
Rule 9. It contends that Fulton has not alleged
any specific instances in which NatCity placed a
proprietary bid in support of an ARS auction, let alone
the time, place, and personnel involved in placing
such a bid. It contends that Fulton has attempted to
create the appearance ofa fraud by making generalized
allegations of the activities of unidentified market
participants, and then merely aver that NatCity acted
in the same manner.

In response, Fulton asserts that it has pled specifically
how NatCity manipulated the ARS market. It has
alleged that NatCity had insider access to the non-
public information that there was a substantial gap
between the true investment-motivated demand for
ARS and the supply of ARS for sale. Jd. FJ 18,
20, 30-32. NatCity concealed and failed to disclose
to Fulton that ARS auctions had failed in August
2007 because of insufficient demand and because
underwriters and CBDs like NatCity had intentionally
discontinued the placement of support bids. Jd. | 31.
NatCity had motivation to maintain the appearance
of liquidity in the ARS markets to satisfy its issuer
clients, its retail brokerage customers, and to expand
its customer bases in both groups, so as to continue
generating underwriter and broker-dealer fees. Id. 4]
20. NatCity had knowledge that, if ARS investors
became aware that the market was in danger of failure,
there would be a rush to sell, leading to widespread

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failure of the ARS markets to NatCity's detriment;
to avoid this from occurring, NatCity made large
proprietary purchases for its own account to conceal
the facts that the auction market was near failure,
creating a false appearance of demand, and a false
appearance that the auction markets were independent,
functioning and active, despite its knowledge that the
markets were illusory and entirely dependent upon
the proprietary trading activities of itself and other
CBDs. Jd. {f 21, 27. NatCity failed to advise Fulton
that ARS auctions had been prevented from failing
only because NatCity and other CBDs had placed
support bids for their own accounts, and failed to
disclose that the risk that CBDs would discontinue
their support bids had risen dramatically, and that such
discontinuance was imminent. Jd. J 33. Throughout
the fall of 2007 and into 2008, NatCity continued
to recommend ARS purchases to Fulton without
disclosing the increased risk of owning ARS and that
ARS were no longer suitable for Fulton's investment
goals, while simultaneously trading ARS for its own
account on the basis of its insider knowledge. Jd .
{| 35-36. NatCity concealed from Fulton that in the
fall of 2007 it was selling its own inventory of ARS,
and taking action that favored its own proprietary
interests on the basis of non-public information, in
violation of its duty as Fulton's broker. fd. 7 37.
Finally, Fulton asserts that NatCity's purpose was to
maintain the market for sales of ARS at par prices
which were materially inflated and did not reflect
the increasing risk associated with owning ARS; that
without proprietary purchases, investors would not
have been willing to pay par for A RCs, the market
value would have dropped substantially to reflect the
true risk, and the interest rate paid by A RCs would
have risen substantially. Jd. { 66.

*6 I find that Fulton has failed to meet its obligation
under Rule 9 to plead the allegations of fraudulent
conduct with the required specificity. Notwithstanding
the allegations I have recited, Fulton has not alleged
specific facts to support its conclusions that NatCity,
directly or indirectly, unlawfully manipulated the
market by creating the false or misleading appearance
that the market for ARS was active in order to induce
others to purchase ARC. A close examination of the
Complaint reveals that Fulton has only made general
averments that NatCity made support bids to prop
up auctions that otherwise would have failed, without

offering any specific instances in which it did so.
Fulton has alleged that NatCity materially aided other
underwriters and CBDs in manipulating the market,
and it alleges that the conduct of others had an
effect upon the market, but Fulton does not state with
any specificity how NatCity materially aided these
unidentified other actors.

Fulton does not allege any specific auctions where
NatCity acted as a CBD, and the allegation that
NatCity was an “insider” states only a legal conclusion.
Most importantly, Fulton does not allege any specific
auction where NatCity placed a support bid to make
an auction “appear to be legitimate,” let alone how
its specific actions constituted market manipulations.
The allegation that NatCity made large proprietary
purchases for its own account to conceal the fact
that the auction market was near failure, to create a
false appearance of demand, and a false appearance
that the auction markets were independent, functioning
and active, is completely unsupported by allegations
of specific purchases during the relevant time frame.
Fulton's conclusory allegation that NatCity knew that
the markets were illusory and entirely dependent upon
the proprietary trading activities of itself and other
CBDs, also contains no factual basis.

Indeed, the documents that Fulton has appended to the
Complaint contradict these legal conclusions. NatCity
is not mentioned in 13 of the 14 regulatory decisions
that Fulton appended to the Complaint to support its
allegations, each of which concerns the activities of
other market participants. Fulton's only Exhibit that
specifically references NatCity—the March 13, 2009,
the Financial Industry Regulatory Authority Letter of
Acceptance, Waiver and Consent, which states that
NatCity had limited involvement in the functioning of
the ARS market. The regulators stated that NatCity
acted:

primarily as a downstream

firm, + although it did operate
outside this traditional role on
a few occasions. Specifically,
NatCity had very limited
involvement in two auction
rate security underwritings: it
was a co-Ssenior manager in

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one and a co-manager in
Additionally, in
four ARS issues, it was an

the other.

authorized auction participant,
which allowed it to directly
participate in an auction instead
of submitting its customers’
bids through a third part broker-
dealer.

*7 Compl. Ex. P at 4.

The gist of Fulton's fraud-based claims—as well as
the claim for negligent misrepresentation—is that
NatCity failed to disclose the deteriorating state of the
ARS markets. Specifically, these omissions allegedly
included that: ARC auctions in August 2007 had failed;
that the risk that CBDs would stop making support bids
to prop up the market was rapidly increasing; that the
proprietary inventories of NatCity and other CB Ds
were increasing; that the level of risk of investing in
ARCs had changed; that auction failures on January
23, 2008 and during the first week in February 2008
resulted in a rapidly rising risk of total failure of the
ARS market; that NatCity was trading for its own
account on the basis of non-public information; and
that NatCity had intentionally withdrawn from the
ARC market. All of these allegations are unsupported
by the type of factual matter required by both
Iqbal and Rule 9. Fulton has failed to offer any
specific allegations relating to NatCity's own alleged
manipulation of the ARS market, focusing instead on
broad statements of industry-wide fraud regarding the
state of the market. Notably, Fulton claims that NatCity
concealed and failed to disclose to Fulton the risk that
other CBDs would choose to discontinue supporting
the ARS markets, Compl. at { 33, but never alleges
any facts that show NatCity was aware of what other
investors, broker-dealers, or auctioneers were planning
to do in the context of the declining ARS market.

Instead, Fulton only makes generalized statements
about the activities of a number of unnamed market
participants and includes NatCity in the group, but
alleges no instances where NatCity actually placed
a proprietary bid or the effect of a particular bid

on the market. It alleges that NatCity concealed,
like other Contractual BDs, that it was off-loading

its own inventory of A RCs, see, eg., Compl. |
37, but there are no allegations of specific sales to
support the conclusion that NatCity was “off-loading”
its inventory. These allegations merely speculate about
the knowledge and actions of NatCity regarding its
participation in the ARS market. Fulton's sweeping
claims about unidentified underwriters, CBDs and
BDs, with no particularized facts regarding NatCity's
placement of support bids, its decision to discontinue
the practice of providing those bids, or any allegations
to support that it had knowledge concerning the
“unhealthy” state of the market, are insufficient to
satisfy its pleading obligation under Rule 9. Since
Fulton does not plausibly assert how NatCity was
aware of the activities of other market participants, its
fraud based claims fail.

b. Failure to plead scienter.
In the alternative, I find that the fraud-based
claims must be dismissed because Fulton has failed

sufficiently to allege scienter. ® Scienter is “a mental
state embracing intent to deceive, manipulate, or
defraud.” Jellabs v. Makor Issues & Rights, Ltd., 551
U.S. 308, 319, 127 S.Ct. 2499, 168 LEd2d 179
(2007) (quoting Ernst & Ernst v. Hochfelder, 425 U.S.
185, 193-94 and n. 12, 96 S.Ct. 1375, 47 L.Ed.2d
668 (1976)). Where scienter is an element of a cause
of action, plaintiffs must “allege facts that show the
court their basis for inferring that the defendants
acted with ‘scienter.’ ” Burlingion Coat Factory, 114
F.3d at 1418. A plaintiff can satisfy the scienter
requirement by alleging facts demonstrating “strong
circumstantial evidence of conscious misbehavior or
recklessness.” Oran v. Stafford, 226 F.3d 275, 288—

89 (3d Cir.2000). 7 “& reckless statement is one
‘involving not merely simple, or even inexcusable
negligence, but an extreme departure from the
standards of ordinary care, and which presents a danger
of misleading buyers or sellers that is either known
to the defendant or is so obvious that the actor must
have been aware of it” ” In re Advanta Corp. Sec.
Litig., 180 F.3d 525, 535 (3d Cir. 1999) (citing McLean
v. Alexander, 599 F.2d 1190, 1192 (3d Cir.1979)); see
also In re Digital Island Sec. Litig., 357 F.3d 322, 332
(3d Cir.2004) (citing In re Advanta, 180 F.3d at 535).

*8 Count I of Fulton's Complaint alleges a violation
of PSA section 1402, 70 P.S. § 1-402, which declares

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market manipulation to be a fraudulent and prohibited
practice. Section 1-402(b) provides: “It is unlawful
for any person, directly or indirectly, in this State: ...
[tlo effect, alone or with one or more other persons,
a series of transactions in any security creating actual
or apparent active trading in the security or raising or
depressing the price of the security for the purpose
of inducing the purchase or sale of the security

by others.”° 70 BS. § 1-402(b). Count II alleges a
violation of § 1-401, which provides:

It is unlawful for any person, in connection with the
offer, sale or purchase of any security in this State,
directly or indirectly:

(a) To employ any device, scheme or artifice to
defraud;

(b) To make any untrue statement of a material
fact or to omit to state a material fact necessary
in order to make the statements made, in the light
of the circumstances under which they are made,
not misleading; or

(c) To engage in any act, practice or course of
business which operates or would operate as a
fraud or deceit upon any person.

70 PS. § 1-401. Count I alleges a violation
of § 1-403, which prohibits broker-dealers from
inducing the sale of any security by means of “any
manipulative, deceptive or other fraudulent scheme,
device, or contrivance, fictitious quotation, or in
violation of this act or any regulation or order
hereunder.” 70 B.S. § 1-403.
These provisions are similar to Section 10(b) of the
Securities Exchange Act of 1934, 15 U.S.C. § 78j(b),
and SEC Rule 10b—5, 17 C.F .R. § 240.10b—5, a rule
promulgated by the Securities Exchange Commission.

to enforce section 10(b). ° See GFL Advantage Fund,
Lid, v. Colkitt, 272 F.3d 189, 214 Gd Cir.2001)
(holding that PSA sections are “modeled after Rule
10b-5 of the federal securities laws, and requires
virtually the same elements of proof.”) Therefore, the
cases hold that the PSA is to be construed in the
saine manner as similar provisions of federal securities

law. !° See also70 PS. § 1-703(a) (stating that the PSA
is to be construed “to coordinate the interpretation

and administration of this act with related Federal
regulation”).

In order to maintain a securities fraud claim under
Rule 10b-5, a plaintiff must plausibly allege that “the
defendant (1) made a misstatement or an omission
of a material fact (2) with scienter (3) in connection
with the purchase or the sale of a security (4) upon
which the plaintiff reasonably relied and (5) that the
plaintiffs reliance was the proximate cause of his or
her injury.” Jn re Ikon Office Solutions, Ine. 277 F.3d
658, 666 (3d Cir.2002). To plead the scienter element, a
plaintiff must plead facts that plausibly show either (1)
circumstantial evidence of either reckless or conscious
behavior; or (2) establish a “motive and opportunity”
to commit fraud. Jn re Suprema Specialties, Inc. Sec.
Litig., 438 F.3d 256, 276 (3d Cir.2006),. “Therefore, the
elements of [a cause of action under PSA §§ 1-401 and
1-403] are: (1) that the defendant made misstatements
or omissions of material fact; (2) with scienter; (3) in
connection with a purchase or sale of securities; (4)
upon which the plaintiff relied; and (5) the plaintiff's
reliance was the cause of its injury.” Fulton Bank,
N.A. v. UBS Sec. LLC, Civ. A. No, 10-1093, 2011
WL 5386376, at *8 (E.D.Pa. Nov.7, 2011) (Stengel J.)
(‘Fulton I” ), The elements of a market manipulation
claim under § 1-402 are also identical to the elements
of a Rule 10b—5 claim. Jd. at *13.

*9 Fulton argues that it need not allege scienter
because its state securities law claims do not require it.
See Doc. # 19 at 26-27. It argues that PSA § 1-501 (a),
which imposes civil liability for violations of §§ 1401
and 1-403, and PSA § 1-501(c), which imposes civil
liability for violations of § 1-402, contain no scienter

requirement. u Alternatively, Fulton argues that it has
adequately pled scienter by demonstrating the basis
and source of NatCity's knowledge of the true state
of the market, its intent to manipulate the market, the
method by which it manipulated the market, and its
purpose in manipulating the market. Jd. at 28-30.

The issue of whether the PSA contains a scienter
requirement is not settled. The Third Circuit has held
that § [-401 of the PSA is “functionally equivalent”
to section 10(b). See GFL Advantage Fund, 272
F.3d at 214 (citing Rosen, 155 F.Supp.2d at 321 n.
14. Thus, the requirement of pleading and proof of
scienter is arguably necessary. However, in Gilliland

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v. Hergert, Civ. A. No. 05-1059, 2008 WL 2682587
(W.D.Pa. July 1, 2008), the court predicted that
the Pennsylvania Supreme Court would recognize a
distinct, separate cause of action under § 1-501 that
does not require a plaintiff to prove scienter or reliance,
but rather requires a plaintiff to only demonstrate some
causal relationship between the misrepresentation and
their purchase, but not loss causation. Jd. at *6—7
(citing Kronenberg v. Katz, 872 A.2d 568, 598-99
(Del.Ch.2004)).

In Fulton J, laddressed Fulton's identical argument that
a plaintiff need not plead scienter (as weil as reliance)
because PSA § 1-501 creates a separate cause of action
that does not contain a scienter element. /d., 2011 WL
5386376 at *7 n. 4 (“Plaintiffs contend that because of
§ 1-501 language to make out a § 1-401 claim, they
do not need to prove: (1) that they reasonably relied
on any alleged misrepresentations, (2) that UBS acted
with scienter, or (3) that the misrepresentations and/or
omissions were the proximate cause of their losses.”) I
thoroughly analyzed the relationship between § 1-501
and § 1-401, stating:

§ 1-501 (a) of the Pennsylvania Act is modeled on
§ 410(a)(2) of the Uniform Act, which is in turn
modeled on § 12(2) of the 1933 Act. Notably, §
1-501 (a) is written in the disjunctive. Therefore, it
definitively provides a civil remedy against “any
person who [ ... ] offers or sells a security in
violation of section § 401.” Although there is
some confusion as to whether § 1-501 creates a
separate and additional cause of action under § i-
501 itself, it arguably provides that any person who
“otherwise” violates the terms of § 1-501(a) “shall
be liable to the person purchasing the security from
him.” Based on this disjunctive phraseology, the
analysis in Kronenberg states that the Pennsylvania
Supreme Court does recognize a stand-alone § 1-
501 claim, but distinguishes it from a § 1-401
claim. Kronenberg v. Katz, 872 A.2d 568, 596
(Del.Ch.2004). In In re Suprema Specialties, 438
F.3d at 269-70, the court commented that § 77J(a)
(2), from which § 1-501 is modeled, is a “virtually
absolute liability provision that does not require an
allegation that defendants possessed scienter.” Jd.
To state a prima facie case under § 1-501, requires
Plaintiffs to demonstrate some causal relationship
between the misrepresentation and their purchase,
but not loss causation, scienter or reliance. Gilliland

v. Hergert, 2008 U.S. Dist. LEXTS 51421, 2008 WL
2682587 (W.D.Pa. July 1, 2008).

*10 UBS argues that § 1~501 does not modify the
private right of action for violations of §§ 1-401
or 1-403. Specifically, the Defendant notes that
it has been acknowledged by courts “that section
501 provides an independent cause of action[;]”
however, courts require that “section 401 claims
brought under section 501 must satisfy the familiar
elements of a 10b—5 claim, including scienter.” .... [
agree with Defendants.

Id. at *7 n. 4 (emphases added; citations omitted).

I conclude, consistent with Fulton J, that scienter is
a requirement for Fulton's PSA claims here. While
Fulton again posits that it is not required to allege
scienter to state a claim under § 1-501, the Complaint
does not attempt to state a claim under § 1-501. Rather,
it premises claims only under §§ |-401, 1-402, and I-
403. While, as I noted in Fulton [, there is casel aw
that suggests that Section 1-501 creates a distinct cause
of action from those created by the other sections, I
ultimately determined that § 1-501 did not modify the
private right of action for violations of § 1-401 and §
1-403. Since Fulton does not premise any of its claims
upon § 1-501, the same arguments it raises here are
largely inapposite. Accord Fulton I at *7 n. 4 (noting
that “regardless of whether § 1-501 independently
creates a cause of action other than through § 1-401,
Fulton has not alleged a violation under § 1-501.
Therefore, it must satisfy the elements of their § 1-401
claim, which is modeled after SEC Rule 10b—5.”).

Because Fulton is required to plead scienter, the
allegations of the Complaint are insufficient under
Rule 9. Fulton alleges that NatCity “knew ... that the
ARC auction markets were illusory, that there was no
real liquidity in the market and that, absent support
bids the auction markets would fail.” Compl. at { 27.
However, Fulton fails to assert specific facts showing
how NatCity had actual knowledge of information
that it withheld from Fulton, upon which I may
reasonably infer an intent to deceive, manipulate, or
defraud. Specific facts are required to establish scienter
and Fulton does not plead specific facts in support
of its claim that NatCity made fraudulent material
omissions.

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Fulton makes only conclusory allegations regarding
NatCity's motive for the alleged omissions, which
focus principally upon NatCity's desire to earn fees and
protect the value of its own proprietary ARS assets.
See Compl. 4 22 (alleging NatCity made proprietary
support bids to prolong the life of the ARS market
that was generating lucrative underwriting and BD
fees and to avoid losses on its own assets); id.
{37 (alleging NatCity concealed that it was off-
loading its own inventory of ARS). This type of
concl usory allegation was specifically rejected by the
court in Jn re Citigroup Auction Rate Sec. Litig., 700
F.Supp.2d 294 (S.D.N.Y.2009), a case brought under
Section 10(b) and Rule 10b—5. The court noted—albeit
applying the more rigorous standard of the Private
Securities Litigation Reform Act of 1995, 15 U.S.C, §
78u-4(b)(2)—that the cases have repeatedly rejected
conclusory allegations regarding the motivation to earn
unspecified fees as a basis for inferring scienter. Id.
at 305 (citing Edison Fund v. Cogent Inv. Strategies
Fund, Ltd., 551 F.Supp.2d 210, 227 (S.D.N.Y.2008)
(“To accepta generalized allegation of motive based on
a desire to continue to obtain management fees would
read the scienter requirement out of the statute.”); Jn
re Marsh & Mclennan Companies, Inc. Sec, Litig.,
501 F.Supp.2d 452, 489 (S.D.N.Y.2006) ( “Although
an auditor's receipt of consulting fees inordinately
disproportionate to its auditing fees may give rise to a
proper inference of motive ... allegations of payment
for services rendered are generally inadequate.”);
Vogel v. Sands Bros. & Co, Lid, 126 FSupp.2d
730, 739 (S.D.N.¥.2001) ( “alleged desire to realize
greater transaction fees and its close relationship
with [financial services holding company client] are
insufficient to show an improper motive [on part of
the investment banking firm]’). Likewise, in Ashland
Ine. v. Morgan Stanley & Co., Inc., 700 F.Supp.2d
453, 459 (S.D.N.Y.2010), the court determined that
scienter allegations centered on the insider's desire to
increase or sustain demand for ARS, so that it could
sell off its own holdings, was not plausible because
such a theory—implying the simultaneous making of
support bids and the dumping of ARS assets—would
be “economically irrational.” Jd. at 469.

*11 The assertion that one has the motivation to make
profits is not sufficiently concrete to infer scienter. See
e.g., Kalnit v. Eichler, 246 F.3d 131, 140 2d Cir.2001)
(summarizing previous holdings, which articulated

motive to show profitability, which is common to all
for-profit enterprises, is too generalized to support
viable scienter claim); and Defer LP v. Raymond James
Fin., Inc. 654 F.Supp.2d 204, 217 (S.D.N.¥.2009)
(“An allegation that defendants’ motive was merely to
increase or maintain profit such as this is insufficient”).
Fulton's generalized accusations of NatCity's profit
motive are insufficient to carry its burden to allege
an inference of scienter with particularity. Therefore,
its fraud-based claims are subject to dismissal for this
reason as well.

c. Failure to plead reasonable reliance.
NatCity next argues that reasonable reliance is an
element of Fulton's claims under the PSA, as well
as its claims for negligent misrepresentation, common
law fraud, and aiding and abetting fraud. It contends
that Fulton has failed to allege in a plausible way
that it reasonably relied upon NatCity's alleged
misrepresentations and omissions. NatCity argues that,
as early as May 2006, it became public knowledge
that certain broker-dealers were placing proprietary
bids in support of ARS auctions. Specifically, on
May 31, 2006, the SEC announced the institution of
administrative proceedings against, and a settlement
with, fifteen broker-dealers for such activity, a group
which did not include NatCity. NatCity asserts that

the 2006 SEC Order!* detailed to the public that
certain broker-dealers intervened in the ARS market
by bidding to prevent failed auctions, bidding to
set a market rate, and bidding to prevent all-hold
auctions. NatCity argues that this information was
readily available to a diligent investor, especially
a sophisticated financial institution investor such as
Fulton.

Fulton asserts six arguments in response. It again
responds that it simply need not plead reliance for
Counts I, II, and III, because reliance is not an element
of the cause of action provided by PSA §§ 1-501
and 1-503 for violations of §§ 1-401, 1-402, and
1-403. (Doc. # 19 at 32.) Second, it argues that the
reasonableness of a plaintiff's reliance is an issue of
fact not properly determined on a motion to dismiss.
(id. at 33). Third, it asserts that, under Pennsylvania
law, reliance is presumed in fraud-based claims and
need not be specifically pled or proved. (/d.) Fourth,
while NatCity relies upon the 2006 SEC Order, that

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Order by its own terms states that the SEC “does
not prohibit broker-dealers from bidding for their
proprietary accounts when properly disclosed.” 2006
SEC Order at 6. NatCity does not contend that it
properly disclosed to Fulton that it was making support
bids. (Doc. # 19 at 34.) Fifth, what was publicly
disclosed in the 2006 SEC Order is not the information
that Fulton claims was fraudulently withheld by
NatCity. Rather, Fulton's claims are based on NatCity's
withholding of its knowledge that: (1) the August
2007 auction had failed and the relationship between
supply and demand in the ARS market was out of
balance through the Fall of 2007 and into 2008; (2)
NatCity was placing support bids to conceal the lack
of stability and liquidity; (3) other CBDs were placing
support bids; (4) the increase ofits own ARS inventory
was unsustainable and that it would be unwilling to
continue increasing its proprietary exposure to ARS
risk; (5) the January 2008 auctions failed; and (6) the
February 2008 catastrophic auction failures. (/d. at 34—
36.) Finally, Fulton argues that the 2006 SEC Order,
at most, operated as a precatory disclosure that CBDs
and BDs might engage in proprietary bidding, and does
not eliminate reliance upon omissions when a risk is,
in fact, imminent or actual. Ud. at 36-37.)

1. Reliance must be alleged.

*12 Fulton's assertion that it need not allege or prove
reliance to state a claim under § 1-501 of the PSA
is both inapposite and legally incorrect. As discussed
above, the Complaint asserts claims under sections
1-401, 1-402, and 1-403, not section 1-501. Even
if section 1-501 creates a separate cause of action,
Fulton has not asserted such a claim in the Complaint,
and section 1-501 does not modify the private right
of action for violation of sections [401 or 1-403.
Fultonl at *7 n. 4. As for the claims actually raised,
I find, consistent with Fulton I, that since the PSA
sections are functionally equivalent to section 10(b)
claims, Fulton is required to plausibly plead reliance.
See Fulton I at *8 (holding that the section 1-401
and 1-403 claims contain a reliance element); * 12
(holding that the § 1-403 claim contains a reliance
element).

In Pennsylvania, reasonable reliance is also an
element of a claim for negligent misrepresentation,
see Gibbs v, Ernst, 538 Pa. 193, 647 A.2d 882, 889
(Pa.1994) (holding that the elements of the negligent

misrepresentation include a misrepresentation of a
material fact), and common law fraud. Jd. (holding that
common law fraud contains the following elements:
(1) a representation; (2) which is material to the
transaction at hand; (3) made falsely, with knowledge
of its falsity or recklessness as to whether it is true
or false; (4) with the intent of misleading another
into relying on it; (5) justifiable reliance upon the
misrepresentation; and (6) the resulting injury was
proximately caused by the reliance); see also Overall v.
Univ. of Pa., 412 F.3d 492, 498 (3d Cir.2005). As with
statutory claims under the PSA, allegations of common
law fraud are subject to Rule 9(b)'s requirement of
pleading with particularity, while the element must be
plausibly pled under Jgbal to support the negligent
misrepresentation claim.

2. Reasonableness of reliance can be determined

on a motion to dismiss.
Fulton's argument that reasonableness of a plaintiffs
reliance is an issue of fact not properly determined
on a motion to dismiss is meritless. Numerous courts
have held that the reasonableness of reliance may
be determined as a matter of law. See, eg., Toy v.
Metro. Life Ins. Co., 593 Pa. 20, 928 A.2d 186,
203-208 (Pa.2007) (holding that where a plaintiff
alleges fraud in the inducement a court may undertake
a legal analysis of the reasonableness of plaintiffs'

alleged reliance); Olivet Boys'Y Girls'Y Club of

Reading v. Wachovia Bank, N.A., Civ. A. No. 08-4702,
2009 WL 1911049 (E.D.Pa. July 1, 2009) (Stengel
J.) (dismissing fraud claim because allegation of
reasonable reliance was insufficient as a matter of law);
WP 851 Assoc. L.P. v. Wachovia Bank, N.A., Civ. A.
No. 07-2374, 2008 WL 114992 (E.D.Pa. Jan.10, 2008)
(dismissing fraud claim for failure to adequately allege
reliance upon defendant's representations); Ishler v.
Chase Home Fin, LLC, Civ. A. No. 10-2117, 2011
WL 744538, at *6 (M.D.Pa. Feb. 23, 2011) (dismissing
fraud claim for failure to plead that reliance was
reasonable); Warden v. Crown Am. Realty Trust, Civ. A.
No. 96—25J, 1999 WL 476996 (W.D.Pa. July 6, 1999)
(dismissing securities fraud class action because the
plaintiffs had failed to plead reasonable and justifiable

reliance). 8

3. Reliance may not be presumed.

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*13° In support of its assertion that, under
Pennsylvania law, reliance may be presumed where a
fraud claim is based upon omissions and failures to
disclose information, Fulton cites In re Prudential Ins.
Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d
283, 314 (3d Cir. 1998) ( “Prudential” ). The citation to
Prudential is taken completely out of context, Because
it is clear that reliance cannot be presumed under the
securities law, this argument has no merit.

The context of the discussion in Prudential concerned
the predominance requirement of maintaining a class
action under Fed.R.Civ.P. 23(b), not the pleading
requirements for a fraud claim. Jd. at 314. Further, the
Third Circuit was merely restating the lower court's
holding, not making its own legal conclusion. Nothing
in Prudential stands for the proposition that reliance
may be presumed under the present circumstances.

Under traditional securities fraud analysis, the plaintiff
is required to plead and prove that he purchased
or sold securities in reliance on the defendant's
misrepresentations, i.c., that he was aware of and
directly misled by a specific misrepresentation. See
Semerenko vw. Cendant Corp., 223 F.3d 165, 178 (3d
Cir.2000). Only where a plaintiff asserts a “fraud on
the market” claim may reliance be presumed. See,
e.g., In re DVI Inc. Sec. Litig., 249 FR.D. 196, 208
(E.D.Pa.2008) (holding that under a theory of “fraud
on the market,” plaintiffs may establish a presumption
of reliance where they can show that misstatements or
omissions may have affected the price at which they
bought or sold a stock, where there is an efficient and
impersonal market for the stock at the date and time
of purchase or sale). An efficient market is defined
as one in which “information important to reasonable
investors ... is immediately incorporated into stock
prices.” Burlington Coat Factory, 114 F.3d at 1425
(citation omitted.) Fulton's allegations are the exact
opposite of those required to state a fraud on the market
claim since it asserts there was no efficient market
for ARS. Thus, Fulton's suggestion that an element of
a fraud claim need not be actually pled flies in the
face of Rule 9's particularity requirement. See e.g.,
Decker v. Massey—Ferguson, Ltd., 681 F.2d 111, 114
(2d Cir. 1982) (holding that a plaintiff cannot rely upon
a presumption of fraud as a substitute for the specific
requirements of Rule 9); Howard v. Sun Oil Co., 294
F.Supp. 24, 27 n. 4 (D.Miss.1967) (“Fraud is never

presumed but must be pled with particularity under
Civil Rule 9(b), and proved by clear and convincing
evidence.”)

4. The sufficiency of the reliance allegations.
The “reasonable reliance” element of the fraud-
based claims requires the pleading of specific
facts establishing a causal nexus between the
misrepresentation/omission and the plaintiff's injury,
as well as specific facts demonstrating that the plaintiff
exercised the due diligence that a reasonable person
under all the circumstances would have exercised to
protect his own interests. Fulton J, 2011 WL 5386376,
at *11 (citing AES Corp. vy. Dow Chem. Co., 325 F.3d
174, 178 (3d Cir.2003). In the context of Rule 10b-
5, the Third Circuit has set forth a nonexclusive list
of factors that a court should consider in determining
whether a plaintiff's reliance was reasonable. AES
at 178-79, (citing Straub v Vaisman & Co., 540
F.2d 591 (3d Cir.1976)); see also Leder v. Shinfeld,
609 F.Supp.2d 386, 397 (E.D.Pa.2009) (citing Straub
). Those factors include the existence of fiduciary
relationships, plaintiff's opportunity to detect the fraud,
the sophistication of the plaintiff, the existence of a
longstanding business or personal relationship, and the

plaintiffs access to the relevant information. 14 ars
Corp., 325 F.3d at 178—-79;Straub, 540 F.2d at 598.

*14 Fulton alleges that it “relied to its detriment
on the false appearance, created by the manipulative
conduct of NatCity and the other underwriter/
Contractual BDs, that the ARC markets were reliable,
liquid, independent, and efficient that was created by
the manipulative conduct of NatCity and the other
underwriter/Contractual BDs [and] the accuracy and
completeness of the information it was receiving
from NatCity regarding ARCs.” Compl. { 42. It
asserts that it relied upon NatCity's expertise in the
recommendation and trading of ARS, the status of
the market for ARS, in its ability to access the
market for ARS. Id. | 57. It also alleges that it
relied on NatCity to disclose all material and relevant
information about ARS, especially in connection with
NatCity's recommendations as to which ARS Fulton
should purchase. In particular, Fulton claims that it
relied on NatCity to disclose, and not to conceal,
all material and relevant information concerning the
liquidity of ARS and the level of risk presented by

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an investment in ARS.Jd. 7 77. I find that these
reliance allegations are insufficient in light of the 2006
SEC Order, which disclosed to the public that the
ARS markets were not reliable, liquid, independent, or
efficient, as well as the undisputed fact that Fulton is a
sophisticated financial institution investor.

I find that Fulton's opportunity to detect the fraud, its
sophistication, and its access to relevant information
make an inference of reasonable reliance implausible.
The omissions upon which Fulton claims to have
reasonably relied all relate to NatCity's alleged
concealment and failure to disclose that the ARS
market was illusory because of the dependence on
support bids, that the market had been historically
prevented from failing only because of support bids,
and the risk, following the August 2007 failed auction,
that CBDs would stop making support bids. Thus, it
is clear from the Complaint that Fulton attempts to
base its reliance upon the same information disclosed
by the 2006 SEC Order. This includes the assertions
that the CBD's proprietary purchases were intended.
to manipulate the markets for ARS by creating the
false appearance that those markets were broad-based,
sustained by investor demand for ARS by third parties
with true investment intent, and that the ARS markets
were active, efficient and independent, when there was
far from sufficient real demand by disinterested parties
with true investment intent to keep the auction markets
from failing. Given the content of the 2006 SEC Order,
Fulton cannot show it reasonably relied to its detriment
upon NatCity's alleged failure to inform it that the ARS
market was not efficient and independent.

The allegations that NatCity and the CBDs participated
in the ARS markets for their own accounts to
support the auction markets, without disclosing that
participation to Fulton or that the success of auction
markets was dependent upon support bids, is precisely
the type of information made public by the 2006
SEC Order. The SEC found that broker-dealers had
intervened in the ARS market to prevent failed
auctions, and to set the market interest rate for ARS.
Based on this public information, the Citigroup court
found that any reasonable inference of reliance upon
market integrity was belied by a 2006 SEC Order
because that Order described the conduct of broker-
dealers, “including intervention in the auctions through
bidding from their proprietary accounts ... to prevent

failed auctions, to set a ‘market’ rate, and to prevent all-
hold auctions....” Cifigroup, 700 F.Supp.2d at 301-02.
The court went on to hold that the 2006 SEC Order, as
well as language in the plaintiff's trade confirmations,
and the official statements issued in connection with
ARS specifically enumerated in the Complaint, “all
disclosed that Defendants could engage in the very
conduct of which Plaintiff complains, the advantages
that Defendants would have if they did engage in
such conduct, the ability of such conduct to affect
clearing rates and the possibility that the auctions
would fail if Defendants did not intervene in them....
These documents disclosed that the ARS market was
not necessarily set by the ‘natural interplay of supply
and demand,’ but that they could be set by broker-
dealers....” Jd. at 307. Thus, the court concluded,
plaintiffs could not have plausibly relied upon the
alleged misrepresentations that broker-dealers had
intervened in the ARS market to prevent failed
auctions, and to set the market interest rate for ARS.

*15 The same conclusion applies here as well.
Fulton's reliance allegations all assert that proprietary
purchases by NatCity and the other CBDs created
the false appearance that the ARS market was “set
by the ‘natural interplay of supply and demand.’
“ Fulton's allegations concerning the August 2007
auction failure, and subsequent instability in the
market due to CBDs deciding to stop making support
bids leading to the ultimate failure in 2008, all
depend upon an unreasonable assertion of reliance
upon NatCity's failure to inform Fulton that a
functioning market did not exist in the first place.
The 2006 SEC Order placed investors-—particularly
sophisticated financial institution investors such as
Fulton—on notice that they could not rely on an
assumption of ARS market integrity, because it was in
fact dependent upon the type of insider support bidding
that forms the nucleus of Fulton's allegations. Accord
Merrill Lynch, 704 E.Supp.2d at 400 (‘Even assuming
that the Plaintiffs' allegations are sufficient to form a
basis for their alleged reliance on an assumption of
the ARS market's integrity, however, the disclosures
contained in the research reports, prospectuses, 2006
SEC Order, and Merrill Lynch ARS website render
any reliance unjustifiable.”); In re UBS Auction Rate
Sec. Litig., Civ. A. No, 08-2967, 2010 WL 2541166,
at *23 (S.D.N.Y. June 10, 2010) (holding that plaintiffs
had not plausibly pled reliance because the 2006

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SEC Order “detailed the fact that auction dealers had
placed support bids to prevent failed auctions and
specifically noted that such conduct was not prohibited
as long as it was properly disclosed.... [C]ompany-
specific disclosures in the prospectuses combined with
the publicly available information discussing broker-
dealer participation in the ARS market, generally, are
sufficient to preclude Plaintiffs from establishing that
they reasonably relied on an efficient market free of
Defendants' intervention in UBS ARS auctions, as a

matter of law.”). IS Accordingly, I conclude that the
motion must be granted on the alternative ground that
the reliance allegations are insufficient, in addition to
my conclusion that the motion must be granted for
failure to allege fraud and scienter with the required
particularity.

d. Failure to plead negligent misrepresentation.
The elements of the tort of negligent misrepresentation
are: (1) a misrepresentation of a material fact; (2) made
under circumstances in which one ought to have known
its falsity; (3) with an intent to induce another to act
on it; and (4) which results in injury to a party acting
in justifiable reliance on the misrepresentation. Bortz
v. Noon, 556 Pa. 489, 729 A.2d 555, 561 (Pa.1999);

Gibbs, 647 A.2d at 889. !© Whether Fulton has stated
a claim for negligent misrepresentation is analyzed
under Rule 8 and the Twombly/Igbal standard, and
not Rule 9, since it is not based in fraud. Thus, I ask
whether Fulton has alleged sufficient facts to plausibly
plead the claim.

*16 The problems identified above concerning
Fulton's failure to plausibly plead the
misrepresentation/omission element of its fraud-based
claims, leads to the conclusion that Fulton has
also failed to plausibly plead a misrepresentation
upon which it asserts this negligence-based claim.
More significantly, all of Fulton's allegations
supporting its negligent misrepresentation claim assert
failures to disclose information, rather than direct

misrepresentations of fact. '7 The Third Circuit has
recognized that, under Pennsylvania law, a negligent
misrepresentation claim may not be made out on
the basis of a mere failure to disclose a material
fact, but rather must be based upon an affirmative
misrepresentation. Advance Capital Partners, LLC. v.
Rossmann, 495 Fed. App'x 235, 238 (3d Cit.2012)

(citing Lazin v. Pavilion Partners, Civ. A. No. 95—
601, 1995 WL 614018 (E.D.Pa. Oct.11, 1995) (““Non-
disclosure of a material fact would give rise to a
cause of action for fraudulent non-disclosure, not
for negligent misrepresentation.”) and Lang v. Helios
Capital Corp., No. 86-08031, 1989 WL 299241
(Pa.Com.PL Jan.20, 1989) (“nondisclosure would
give rise to a cause of action only for fraudulent
nondisclosure, and not for fraudulent or negligent
misrepresentation.”)). Accordingly, I grant NatCity's
Motion with regard to this claim.

e. The breach of fiduciary duty and negligence
claims.

Fulton also asserts claims of breach of a fiduciary
duty and negligence. To state a breach of fiduciary
duty under Pennsylvania law, a plaintiff must plausibly
plead a confidential relationship and: (1) that the
defendant negligently or intentionally failed to act in
good faith and solely for the benefit of plaintiff in all
matters for which he or she was employed; (2) that the
plaintiff suffered injury; and (3) that the defendant's
failure to act solely for the plaintiff's benefit was a
real factor bringing about the plaintiff's injuries. Baker
v. Family Credit Counseling Corp., 440 F.Supp.2d
392, 414-415 (E.D.Pa.2006). A fiduciary relationship
exists where there is a relationship involving trust
and confidence, and the proof must show confidence
reposed by one side and domination and influence
exercised by the other. Antinoph v. Laverell Reynolds
Sec., Inc., 703 F.Supp. 1185, 1188 (E.D.Pa.1989). In
determining whether a fiduciary relationship exists,
the critical question is whether the relationship
goes beyond mere reliance on superior skill, and
into a relationship characterized by overmastering
influence on one side or weakness, dependence, or
trust, justifiably reposed on the other side. eZoll,
Inc. v. Elian/Savion Adver, Inc., 811 A.2d 10, 23
(Pa.Super.Ct.2002). A confidential relationship is
marked by such a disparity in position that the inferior
party places complete trust in the superior party's
advice and seeks no other counsel, so as to give rise to
a potential abuse of power. Id.

To make a claim under Pennsylvania law for
negligence a plaintiff must plead (1) the existence of
a duty or obligation recognized by law, (2) a failure
on the part of defendant to conform to that duty or
a breach thereof, (3) a causal connection between the

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defendant's breach and the resulting injury, and (4)
actual damages. Wawrzynek v. Statprobe, Inc., 422
F.Supp.2d 474, 483 (E.D.Pa.2005).

*17 Fulton claims that NatCity owed it a fiduciary
duty to act with the utmost good faith and individual
loyalty. Compl. 4 105. It claims that NatCity breached.
a duty of reasonable care to learn and understand
Fulton's investment goals and objectives, and failed to
provide Fulton with true recommendations regarding
the nature and goals for its investments. Jd. FJ] 99-
100. Because these state law claims for negligence
and breach of a fiduciary duty do not implicate the
heightened pleading standard of Rule 9(b), and they
do not have a scienter or reliance requirement—and
because NatCity does not discuss these claims in its
motion, even though the motion seeks dismissal of the
entire Complaint—l find that the arguments raised by
NatCity in its motion do not apply to these claims.

Reading these two claims in the context of the
complaint as a whole, and applying the Tivombly/
Iqbal pleading standard of Rule 8(a), the pleadings
sufficiently allege a duty, its breach, and resulting
damages. Fulton asserts that it communicated specific
investment goals, and that NatCity acted as its
securities broker, providing advice and counsel for
financial investments. The allegations that NatCity
was trading in ARS in a manner that was at odds with
Fulton's investment interests are sufficient to plausibly
plead a violation of its duty of good faith and fidelity
to Fulton. Thus, I conclude that these claims must
survive.

f. The aiding and abetting common law fraud

claim.
In Fulton £, 1 stated that “the Pennsylvania Supreme
Court has not expressly adopted the Restatement
(Second) Torts § 876(b), on which Fulton relies [to
state a common law claim for aiding and abetting
fraud].... Because this is an unsettled question of law,
I will not dismiss the claims under the rationale that
an aiding and abetting fraud claim does not exist
in Pennsylvania.” Jd. at *15 (internal citations and
footnote omitted). However, I went on to determine
that Fulton's allegations that the activity of other
CBDs aided and abetted the defendant, “does not
rise to the level of aiding and abetting because
there is no allegation that UBS knew that PNC or

NatCity was perpetuating a ‘fraud’ on Fulton. Merely
running an auction at the request of issuers and paying
commissions to brokers does not rise to substantial
assistance or encouragement of the specific fraud
Fulton is alleging PNC and NatCity committed.” Jd.
The present complaint alleges that NatCity
had sufficient knowledge concerning the market
conditions, the auctions, and how the interest rates
and securities values were set based on the bidding
process. Compl. at 35. Fulton contends that NatCity's
participation in the auctions was done in concert with
the other CBDs, with the knowledge that the markets
were deteriorating and risk was increasing. Jd. { 115.

I find that this claim fails for the same reasons
that the other fraud claims fail, namely that Fulton
has failed to plead it with the requisite particularity.
Fulton makes no specific factual averments about what
information NatCity actually possessed concerning
other CBDs. Additionally, Fulton makes no mention of
what specific actions NatCity took, which would have
substantially assisted or encouraged any fraudulent
behavior by other CBDs, or what actions other CBDs
took to assist and encourage NatCity's fraudulent
behavior. Accordingly, I grant the Motion to dismiss as
to this claim.

g. The equitable rescission claim.
*18 Fulton's claim for equitable rescission must also
be dismissed because it is a remedy for fraud, and
not a separate cause of action. See Moffatt Enier., Inc.
v. Borden, Inc., 807 F.2d 1169, 1174 Gd Cir.1986)
(quoting Scaife v Rockwell-Standard Corp., 446 Pa.
280, 285 A.2d 451 (Pa.1971) (“A defrauded party
may pursue several remedies including ... rescission ...
based on fraud.”)); Prof’! Sys. Corp. v. OPEX Postal
Techs, Civ. A. No. 05-2689, 2006 WL 573798
(E.D.Pa. Mar.8, 2006) (holding equitable rescission is
aremedy for fraud, not a cause of action); Germantown
Mfe. Co. v. Rawlinson, 341 Pa.Super. 42, 491 A.2d
138 (Pa.Super.Ct.1985); Majer v Sonex Research,
Inc., 541 E.Supp.2d 693, 713 (E.D.Pa.2008). However,
if a plaintiff alleges fraud in a transaction, a right
of rescission is established. !° Baker v, Cambridge
Chase, Inc., 725 A.2d 757 (Pa.Super.Ct.1999), Even
if Fulton had properly pled rescission as a remedy
for its fraud claim instead of as a separate cause of

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action, it would also be dismissed for the reasons stated
above regarding the deficiencies in Fulton's fraud-
based claims.

h. The request for attorneys' fees and costs.

The United States Supreme Court has made clear,
in the absence of an agreement or statute providing
for attorney's fees, the American rule is that “the
prevailing litigant is ordinarily not entitled to collect
a reasonable attorneys’ fee from the loser.” Alveska
Pipeline Serv. Co. v. Wilderness Soc'y, 421 U.S. 240,
247, 95 S.Ct. 1612, 44 L.Ed.2d 141 (1975); see also
Pennsylvania v. Flaherty, 40 F.3d 57, 60 (3d Cir.1994)
(plaintiff cannot recover attorneys! fees from the
opposing party unless there is a statute or agreement
between the parties that provides for the awarding of
attorney's fees). Generally, Pennsylvania state courts
also follow the American Rule. See Mrozek v. Eiter,
805 A.2d 535, 538 (Pa.Super.Ct.2002) (quoting Hart
v. O'Malley, 781 A.2d 1211, 1216 (Pa.Super.Ct.2001))
(citing Merlino v. Delaware Cnty, 556 Pa, 422, 728
A.2d 949, 951 (Pa.1999) (“This Court has consistently
followed the general, American rule that there can
be no recovery of attorneys’ fees from an adverse
party, absent an express statutory authorization, a clear
agreement by the parties or some other established
exception.”)).

Because Fulton does not state a statutory or other
basis for its demand for attorneys' fees, and does not
dispute in its Response to the Motion that its request
for attorneys’ fees and costs is improper, the request is
stricken from the Complaint.

i. NatCity's Motion to Strike

Under Federal Rule of Civil Procedure 12(f), a
court may order stricken any portion of a pleading
that constitutes “an insufficient defense or any
redundant, immaterial, impertinent, or scandalous
matter.” Fed.R.Civ.P. 12(f). Motions to strike are
decided on the pleadings alone, and should not be
granted unless the relevant insufficiency is “clearly
apparent.” Cipollone v. Liggett Grp., Inc., 789 F.2d
181, 188 Gd Cir.1986); see also N. Penn Transfer,
Inc. v. Victaulic Co. of Am., 859 F.Supp. 154, 158
(E.D.Pa.1994) (motions to strike decided on the
pleadings alone).

*19 While motions to strike serve the useful function
of streamlining litigation, they are “not favored and
usually will be denied unless the allegations have no
possible relation to the controversy and may cause
prejudice to one of the parties.” Id. (citing C. Wright
& A, Miller, Federal Practice and Procedure § 1382
(1969)); see also McInerney v. Moyer Lumber &
Hardware, Inc., 244 F.Supp.2d 393, 402 (E.D.Pa.2002)
(“The purpose of a motion to strike is to ...
unnecessary forays into immaterial matters”). In
particular, courts have identified prejudice to one or
more of the parties as a touchstone for deciding a
motion to strike. See, eg ., Miller v. Grp. Voyagers,
Inc., 912 FSupp. 164, 168 (E.D.Pa.1996). Although
courts exercise considerable discretion in deciding
motions to strike, the Rule 12(f) prohibition on
“redundant” pleadings “must be read in conjunction
with the liberal pleading standards of Rule 8 in general
and Rule 8(e)(2) in particular” (under which parties

avoid

may plead alternative theories of relief). Calloway Golf
Co. v. Dunlop Slazenger Grp. Am., Inc. d/b/a Maxfli,
295 F.Supp.2d 430, 438 (D.Del.2003); see also Miller;
912 FSupp. at 168 (noting the discretion afforded in
deciding motions to strike); NV. Penn Transfer, Inc., 859
ESupp. at 158 (same).

NatCity argues that paragraphs 19, 24, 45-51 and
52(a)-(i) of the Complaint and Exhibits “A” through
“OQ” reference other entities unrelated to NatCity and
simply attempt to tarnish NatCity with the actions
of others. Doc. # 22 at 15. I find no merit in
this argument. These paragraphs and Exhibits do
not contain immaterial, impertinent, or scandalous
information. Rather they are included in the Complaint
to provide background information on the remaining
negligence and breach of fiduciary duty claims, and
are not unduly prejudicial or scandalous to NatCity.
Accordingly, I will deny NatCity' Motion to Strike.

IH. CONCLUSION

I find that Fulton has failed to allege specific facts
to support the misrepresentation, scienter, and reliance
elements of its fraud-based claims, and has also failed
to plausibly allege the misrepresentation element of
its negligent misrepresentation claim. Accordingly, I
grant NatCity's Motion to dismiss Counts I, I, and
III, asserting violations of Sections 1-401, 1-402, and
1-403 of the Pennsylvania Securities Act, as well
as the claims for equitable rescission (Count IV),

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negligent misrepresentation (Count V), common law
fraud (Count VIID, and aiding and abetting fraud
(Count IX). I also find that the claim for attorneys' fees

2. The motion is GRANTED as to the plaintiff's request
for attorney's fees.

is subject to dismissal. I] deny the Motion as to the
negligence claim (Count V J) and breach of fiduciary
duty claim (Count VII). Finally, I find that NatCity's
motion to strike should be denied.

3. The motion is DENIED as to the plaintiff's sixth
and seventh causes of action, asserting claims for
negligence and breach of fiduciary duty.

An appropriate Order follows, 4, The motion is also DENIED to the extent that it
seeks to strike immaterial matter from the plaintiff's

complaint.

ORDER IT IS FURTHER ORDERED that:

AND NOW, this 15th day of October, 2013, upon
consideration of the defendant's motion to dismiss
(Document # 12), and all responses and replies
thereto, IT IS HEREBY ORDERED that the motion is
GRANTED in part and DENIED in part as follows:

1, All discovery shall be completed by Friday,
January 3, 2014.

2. A telephone status conference will be conducted on
Friday, December 13, 2013 at 11:30 a.m. Counsel for
the plaintiff shall initiate the call, and include the law

* Log os
20 1. The motion is GRANTED as to the plaintiff's clerk (267-299-7764).

first, second, third, fourth, fifth, eighth, and ninth
causes of action, asserting claims for violations of
the Pennsylvania Securities Act, equitable rescission, AJ} Citations
negligent misrepresentation, common law fraud, and

aiding and abetting fraud. Not Reported in F.Supp.2d, 2013 WL 5635977
Footnotes
4 The facts are gleaned from the complaint and the extrinsic documents upon which it is based. For

the purposes of this motion, the allegations are presented in the light most favorable to Fulton as
the non-moving party, and are accepted as true with all reasonable inferences drawn in its favor.
See GSC Partners, CDO Fund v. Washington, 368 F.3d 228, 236 (3d Cir.2004).

2 Fulton asserts that for such transactions, NatCity “may have also acted as the underwriter for
that issue.” /d. J 18.

3 Fulton argues that the requirements of Rule 9 should be relaxed under the circumstances of
this case because its claims involve the inside, non-public information concerning NatCity's
involvement in the ARS market, for which Fulton has no ability to obtain access prior to discovery.
Doc. # 19 at 30-31 (citing In re Craftmatic Sec, Litig., 890 F.2d 628, 645 (3d Cir.1989) (stating
that “courts have relaxed the rule when factual information is peculiarly within the defendant's
knowledge or control”) and In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1418 (3d
Cir.1997)). This argument is meritless. in Burlington Coat Factory the Third Circuit stated that “the
normally rigorous particularity rule has been relaxed somewhat where the factual information is
peculiarly within the defendant's knowledge or control.... But even under a relaxed application of
Rule 9(b), boilerplate and concl usory allegations will not suffice.... Plaintiffs must accompany their
legal theory with factual allegations that make their theoretically viable claim plausible.” Burlington

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Coat Factory, 114 F.3d at 1418 (internal citations omitted). The allegations of NatCity's fraud
are not focused on its inside, non-public information, but rather on publicly available information
regarding the alleged manipulation of the ARS market. NatCity's role in that alleged manipulation
is the basis of the claims to which Rule 9 is applicable. | find, therefore, that Fulton is required
to meet Rule 9's specificity requirement with regard to its allegations concerning NatCity's role
in the market manipulation.

4 The regulators refer to “upstream firms” as those that actually conducted the ARS auctions
by collecting orders from broker-dealers, determining the “clearing rate,” and calculating the
allocation of the securities among auction dealers. Compl. Ex. P. at 3. “In contrast to upstream
firms, firms sometimes known as ‘downstream’ firms do not act as agents for issuers in any
capacity. Instead, downstream firms act in the traditional broker role as agents for their customers
and place bids with Auction Dealers and Remarking Agents on the customers' behalf to purchase
and sell ARS.” /d.

5 For example, Fulton alleges that, throughout the summer and fall of 2007, CBDs, including
NatCity, continued to make proprietary support bids which resulted in increasing proprietary
inventories of ARS. Compl f] 31-33. While it alleges with much detail the number of support bids
placed by entities other than NatCity, see Compl. {[ 24 (alleging that “UBS submitted support bids
in 30,367 auctions” between January 1, 2006 and February 28, 2008}, it does not allege specific
instances of NatCity making support bids.

6 Although NatCity does not specifically argue that the Complaint should be dismissed because
Fulton has failed to adequately allege scienter, since this is an obvious defect in Fulton's pleading,
| conclude that a discussion of the issue is appropriate.

7 In Dirks v. SEC, 463 U.S. 646, 660, 103 S.Ct. 3255, 77 L.Ed.2d 911 (1983), the Supreme Court
held that the scienter requirement was adequately plead where the plaintiff alleged that defendant
“knew or should have known” that he was trading on improperly obtained insider information. /d.
However, the Supreme Court has never held that negligence is sufficient, and has yet to decide
whether recklessness, in addition to willfulness, satisfies the scienter requirement. See Matrixx
Initiatives, Inc. v. Siracusano, ——- U.S. ———, 131 S.Ct. 1309, 1323, 179 L.Ed.2d 398 (2011).
The Third Circuit has held that scienter for securities fraud includes recklessness. Oran, 226
F.3d at 288-89: Infinity Grp. Co., 212 F.3d at 192; see also SEC v. Smart, 678 F.3d 850, 857
(10th Cir.2012) (“Section 10(b) ... require[s] the SEC to establish at least recklessness....”); United
States v. Gansman, 657 F.3d 85, 91 n. 7 (2d Cir.2011) (observing that civil liability under the
misappropriation theory may attach if the SEC proves by a preponderance of the evidence that
the defendant's conduct was merely reckless, rather than willful).

8 Section 1—402(c) provides it is also unlawful “to induce the purchase or sale of any security by
the circulation or dissemination of information to the effect that the price of the security will or is
likely to rise or fall[.}’ 70 P.S. § 1-402(c).

9 Section 10(b) states in relevant part that “it shall be unlawful for any person ... to use or employ,
in connection with the purchase or sale of any security ... any manipulative or deceptive device
or contrivance in contravention of such rules and regulations” promulgated by the SEC. 15
U.S.C. § 78]. Rule 10b—5 provides in relevant part that “it shall be unlawful for any person ...
to employ any device, scheme, or artifice to defraud.” 17 C.F.R. § 240.10b-—5. Section 9(a)
prohibits individuals from effecting “a series of transactions in any security registered on a national
securities exchange ... creating actual or apparent active trading in such security, or raising or

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depressing the price of such security, for the purpose of inducing the purchase or sale of such
security by others.” 15 U.S.C. § 78i(a)(2).

See, e.g., Fulton v. UBS Sec. LLC, Civ. A. No. 10-1093, 2011 WL 5386376, at *7 (E.D.Pa. Nov.7,
2011) (Stengel J.) (“Fulton |”); McFeeley v. Florig, 966 F.Supp. 378, 382 & n. 8 (E.D.Pa.1997)
(stating that “the anti-fraud provisions of the Pennsylvania Securities Act and the 1934 Securities
Exchange Act are functionally identical’ and that “Section 1-401 substantially echoes Rule 10b—
5's language”).

The statute provides in pertinent part:

(a) Any person who ... offers or sells a security in violation of sections 401, 403, 404 or otherwise
by means of any untrue statement of a material fact or any omission to state a material fact
necessary in order to make the statements made, in the light of the circumstances under which
they are made, not misleading, the purchaser not knowing of the untruth or omission, and who
does not sustain the burden of proof that he did not know and in the exercise of reasonable
care could not have known of the untruth or omission, shall be liable to the person purchasing
the security from hi m....

(c) Any person who wilfully [sic] participates in any act or transaction in violation of section
402 shall be liable to any other person who purchases or sells any security at a price which
was affected by the act or transaction for the damages sustained as a result of such act or
transaction

70 P.S. § 1-501 (a), (c) (footnotes omitted).

In deciding a motion to dismiss, we may take judicial notice of matters of public record, such
as the 2006 SEC Order concerning ARS practices and disclosure requirements. See Oshiver v.
Levin, Fishbein, Sedran & Berman, 38 F.3d 1380, 1385 n. 1 (3d Cir.1994).

i note that other cases concerning the collapse of the ARS market have also been disposed
of through motions to dismiss, though not necessarily on reliance grounds. See, e.g., in re
UBS Auction Rate Sec. Litig., Civ. A. No. 08-2967, 2010 WL 2541166 (S.D.N.Y. June 10,
2010); In re Merrill Lynch Auction Rate Sec. Litig.,, 704 F.Supp.2d 378 (S.D.N.Y.2010); Ashland
Inc. v. Morgan Stanley & Co., 700 F.Supp.2d 453;Ashland Inc. v. Oppenheimer & Ca., 689
F.Supp.2d 874 (E.D.Ky.2010); Healthcare Fin. Grp. ., Inc. v. Bank Leumi USA, 669 F.Supp.2d
344 (S.D.N.Y.2009); Defer LP, 654 F.Supp.2d 204;/n re Citigroup, 700 F.Supp.2d 294 (S.D.N.Y.
Sept.11, 2009); Aimis Art Corp. v. N. Trust Sec., Inc., 641 F.Supp.2d 314 (S.D.N.Y.2009).

Fulton alleges that NatCity, by virtue of its status as Fulton's ARS broker, owed it a fiduciary duty.
This factor weighs in favor of finding reasonable reliance. While Fulton does not allege or argue
that its relationship with NatCity was longstanding, | will assume for the purposes of this Motion
that this factor also weighs in Fulton's favor.

| recognize that the cited cases each discuss the content of the 2006 SEC Order in conjunction
with disclosure information contained on broker-dealer websites, and other disclosures, such as
in the offering documents issued by broker-dealers. Neither party has provided copies of any
disclosure material given by NatCity to Fulton, either before or after the 2006 SEC Order was

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issued. Thus, | am called upon to decide the reliance issue on the basis of the 2006 SEC Order
alone.

| find from the almost unanimity of the case law, holding that the 2006 SEC Order constituted
notice to the public that an investor could not rely on an assumption of ARS market integrity,
Fulton's undisputed status as a sophisticated financial institution investor, as well as the absence
of specific factual allegations demonstrating Fulton undertook any diligent effort to educate
itself about the ARS market, that the Order alone constitutes sufficient disclosure to such a
sophisticated investor. Accord Schl aifer Nance & Co. v. Estate of Warhol, 119 F.3d 91, 98-99
(2d Cir.1997) (holding that reliance is unreasonable as a matter of law where a sophisticated
investor fails to take reasonable steps to access critical public information); Landesbank Baden—
Wurttemberg v. Goldman, Sachs & Co., 478 Fed. App’x 679, 683 (2d Cir.2012) (same); Terra
Sec. ASA Konkursbo v. Citigroup, Inc., 450 Fed. App'x 32, 34-35 (2d Cir.2011) (holding that the
district court correctly concluded that any reliance on defendants' alleged misrepresentations was
unreasonable under the circumstances, where the plaintiffs were sophisticated investors, did not
conduct any independent investigation prior to making their investments, and where information
was not peculiarly within defendants' knowledge).

16 Pennsylvania draws its negligent misrepresentation claim from Restatement (Second) of Torts,
§ 552, which provides in relevant part:

(1) One who, in the course of his business, profession or employment, or in any other
transaction in which he has a pecuniary interest, supplies false information for the guidance of
others in their business transactions, is subject to liability for pecuniary loss caused to them
by their justifiable reliance upon the information, if he fails to exercise reasonable care or
competence in obtaining or communicating the information.

(2) The liability in subsection (1) is limited to loss suffered

(a) By the person or one of a limited group of persons for whose benefit and guidance he intends
to supply the information or knows that the recipient intends to supply it; and

(b) Through reliance upon it in a transaction that he intends the information to influence or know
that the recipient so intends or in a substantially similar transaction.

(3) The liability of one who is under a public duty to give the information extends to loss suffered
by any of the class of persons for whose benefit the duty is created, in any of the transactions
in which it is intended to protect them.

Restatement (Second) of Torts, § 552.

17 See Compl. J 31 (alleging that NatCity “concealed and failed to disclose to Fulton that ARC
auctions had failed [in August 2007] because of insufficient demand and because underwriters
and Contractual BDs, like NatCity, had intentionally discontinued the placement of support
bids.”); id. 7 33 (alleging “NatCity failed to advise Fulton, and concealed, that ARC auctions had
historically been prevented from failing only because NatCity and other underwriters/Contractual
BDs had placed support bids for their own accounts, and NatCity further failed to disclose, and
concealed, that the likelihood that underwriters and Contractual BDs would discontinue support
bids had risen dramatically, and that such discontinuance was imminent.”); id. 7] 35 (alleging
that “NatCity continued to recommend ARC purchases to Fulton ... without disclosing the risk of
owning A RCs had increased .,. and that A RCs were not suitable for Fulton's [investment goals]’);
id. J 36 (alleging that “NatCity concealed and failed to advise Fulton that there was a materially

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increasing risk of loss”); /d. J 37 (alleging that NatCity concealed and failed to advise Fulton
that, like other underwriters and Contractual BDs, NatCity was ... off-loading its own inventory
of ARCs’).

18 The purpose of equitable rescission is to return the parties as nearly as possible to their original
positions where warranted by the circumstances of the transaction. Gilmore v. Ne. Dodge Co.,
Ine., 278 Pa.Super. 209, 420 A.2d 504 (Pa.Super.Ct.1980).

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Graham Engineering Corp. v. Slusarz, Not Reported in Fed. Supp. (2018)

2018 WL 1907124

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Only the Westlaw citation is currently available.
United States District Court, M.D. Pennsylvania.

GRAHAM ENGINEERING CORP., Plaintiff
Vv.
Kevin SLUSARZ, Defendant

CIVIL ACTION NO. 1:16-CV-2527
|
Signed 04/23/2018

Attorneys and Law Firms

Richard L. Hackman, Harlan William Glasser, Saxton
& Stump LLC, Lancaster, PA, for Plaintiff.

Andrew C, Whitney, SAP America, Inc., Newtown
Square, PA, Jonathan S. Krause, Kendra L. Baisinger,
Klehr Harrison Harvey Branzburg, LLP, Philadelphia,
PA, for Defendant.

MEMORANDUM

Christopher C. Conner, Chief Judge

*] Plaintiff Graham Engineering Corporation
(“Graham Engineering”) commenced this action
against defendant Kevin Slusarz (“Slusarz”), as well
as six related actions against defendants Eric Adair,
Doug Johnson, William Kramer, Jeff Lawton, Michael
Perri, and Daniel Schilke (collectively, “defendants”),
pursuant to the Computer Fraud and Abuse Act, 18
U.S.C. § 1030, and state law. (Doc. 44). Before
the court is Graham Engineering’s motion to strike
portions of Slusarz’s answer (Doc. 52) pursuant to
Federal Rule of Civil Procedure 12(f). (Doc. 54). The
court will grant Graham Engineering’s motion.

I. Factual Background & Procedural History

Graham Engineering is a Pennsylvania corporation
that offers, inter alia, design and development
expertise for plastic products. (Doc. 44 Jf 2,
14). On January 1, 2016, Graham Engineering
acquired American Kuhne, Inc. (“American Kuhne”),
a Delaware corporation that employed defendants. (Id.
{J 15, 17, 22, 24). As part of the acquisition, Graham
Engineering acquired ownership of defendants'

employment and confidentiality agreements with
American Kuhne. (Id. ff 26-28). Graham Engineering
contends that defendants violated these agreements
by accessing and retaining Graham Engineering’s
confidential information without permission. (See
id. F§ 43, 55, 79, 92, 109, 135, 155-56). Graham
Engineering further avers that defendants utilized this
information to form U.S. Extruders, a competitor
incorporated in Rhode Island. (See id. §] 158, 187,
194).

Graham Engineering commenced the instant action on
December 21, 2016, (Doc. 1), subsequently filing an
amended complaint (Doc. 22) on March 31, 2017, and
a second amended complaint (Doc. 44) on October 17,
2017. Slusarz filed his answer on November 21, 2017.
(Doc. 52). In response to fifteen separate allegations in
the second amended complaint, Slusarz responds that:

The allegations in this
paragraph appear to purport to
characterize a document, the
contents of which speak for
themselves, and to which no
responsive pleading is required.
By way of further response,
the allegations in this paragraph

appear to characterize a
document which Plaintiff
accessed from Defendants

without authorization and in
violation of its statutory
and common law legal
obligations. To the extent a
response is required, Defendant
denies the allegations in this
patagraph. Defendant denies
that Defendants engaged in any
unlawful conduct.

(id. Ff] 168-70, 172-74, 176-82, 185-86). Graham
Engineering moves to strike these fifteen responses
pursuant to Federal Rule of Civil Procedure 12(f).
(Doc. 54). The motion is fully briefed and ripe for
disposition.

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Il. Legal Standard

Under Federal Rule of Civil Procedure 12(), the court
may strike from a pleading “an insufficient defense or
any redundant, immaterial, impertinent, or scandalous
matter.” FED. R. CIV. P. 12(f). District courts have
“considerable discretion” in resolving a Rule 12(f)
motion, Krisa v. Equitable Life Assurance Soc'y, 109 F.
Supp. 2d 316, 319 (M.D. Pa. 2000) (quoting N. Penn.
Transfer, Inc. v. Victaulic Co, of Am., 859 F. Supp. 154,
158 (E.D. Pa. 1994) ). In general, such a motion will be
denied unless the allegations are severely prejudicial
to one of the parties and unrelated to the plaintiff’s
claims. Id.; see also 5C CHARLES ALAN WRIGHT
ET AL., FEDERAL PRACTICE & PROCEDURE §
1382 (3d ed, 2016). A party is prejudiced when the
challenged pleading “confuses the issues” or places

an undue burden on the responding party. Karpov v.
Karpov, 307 F.R.D. 345, 348 (D. Del. 2015).

III. Discussion

*2, Graham Engineering contends that Slusarz’s
fifteen responses to the second amended complaint, set
forth supra, should be stricken for failure to conform
to Rule 8 of the Federal Rules of Civil Procedure.
(Doc. 55 at 2, 9, 11). Specifically, Graham Engineering
argues that the responses are “inappropriate” because
they fail to apprise Graham Engineering as to whether
Slusarz admits or denies the allegations. (Id. at 11).

The Federal Rules of Civil Procedure require a party
responding to a pleading to “admit or deny the
allegations asserted against it.” FED. R. CIV. P. 8(b).
A party’s denial must “fairly respond to the substance
of the allegation.” FED. R. CIV. P. 8(b)(2). If the
party denies only part of an allegation, the denial
must specifically designate what is denied and what is
admitted. FED. R. CIV. P. 8(b)()-(4).

A Rule 12(f) motion to strike may be used to address
an improperly pleaded answer under Rule 8(b). See
Sinclair Cattle Co., Inc. v. Ward, No. 1:14-CV-1144,
2015 WL 6125260, at *2 (M.D. Pa. Oct. 16, 2015)
(Conner, C. J.). A motion to strike’s purpose is to
“clean up the pleadings, streamline litigation, and

avoid unnecessary forays into immaterial matters.”

McInerney v. Moyer Lumber & Hardware, Inc., 244 F.
Supp. 2d 393, 402 (E.D. Pa. 2002) (citing Garlanger v.

Verbeke, 223 F. Supp. 2d 596, 609 (D.N.J. 2002) ). A
defendant should respond to a complaint in such a way
that a plaintiff will not be burdened with “ferret[ing]
out a straightforward answer.” See Sinclair Cattle Co.,
2015 WL 6125260, at *3.

The bare assertion that a document speaks for itself and
that “no responsive pleading is required” falls short of
the requirements of Rule 8(b}—even when followed by
a general denial. See Jn re Richner, No. 5-12-BK-2881,
2018 WL 1165759, at *2-3 (Bankr. M.D. Pa. Mar.
1, 2018) (citing Kegerise v. Susquehanna Twp. Sch.
Dist., 321 FR.D. 121, 124 (M.D. Pa. 2016) ); see also
Do It Best Corp. v. Heinen Hardware LLC, No. 1:13-
CV-69, 2013 WL 3421924, at *5-6 (N.D. Ind. Jul. 8,
2013). Further, the response that a document speaks
for itself is generally deemed an admission that the
contents of a document are what they are purported to
be. See Charleston v. Salon Secrets Day Spa, Inc., No.
08-5889, 2009 WL 1795529, at *1 (E.D. Pa. Jun. 24,
2009); see also Jn_re Cotter, No. 08-12504, 2011 WL
5900811, at *8 (Bankr. D.N.J. Oct. 24, 2011).

Slusarz responds to fifteen paragraphs of the second
amended complaint with an assertion that a document
speaks for itself followed by a general denial.
None of Graham Engineering’s allegations in the
paragraphs at issue sub judice explicitly or implicitly
refer to documents, rendering Slusarz’s responses
ambiguous. (See Doc. 44 4§ 168-70, 172-74, 176-82,
185-86). Thus, Slusarz’s responses unduly burden
Graham Engineering with the task of speculating
as to which specific document Slusarz refers and
what allegation he denies. (See Doc. 52 ff 168-70,
172-174, 176-82, 185-86). Accordingly, we will grant
Graham Engineering’s motion. Slusarz may amend his
responses to paragraphs 168 through 70, 172 through
174, 176 through 182, 185 through 186 of Graham
Engineering’s second amended complaint. FED. R.
CIV. P. 15(a)(2).

TV. Conclusion
The court will grant Graham Engineering’s motion
(Doc. 54) to strike. An appropriate order shall issue.

All Citations

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2021 WL 772237

2021 WL 772237
Only the Westlaw citation is currently available.
United States District Court, M.D. Pennsylvania.

Nicholas LOMMA, et al., Plaintiffs,
Vv.
OHIO NATIONAL LIFE ASSURANCE
CORPORATION, et al., Defendants.

3:16-CV-2396
I
Filed 02/26/2021

Attorneys and Law Firms

Ethan C. Wood, Paul J. LaBelle & Associates, LLC,
Moosic, PA, Paul J. LaBelle, Law Offices of Paul J.
LaBelle, Scranton, PA, for Plaintiffs.

Luke A. Repici, White and Williams
Philadelphia, PA, for Defendants.

LLP,

MEMORANDUM OPINION

Robert D, Mariani, United States District Judge

L INTRODUCTION

*1 This matter is before the Court on remand
from the Third Circuit Court of Appeals following
Defendants' appeal of this Court's Order granting
summary judgment in favor of Plaintiffs on their
breach of contract claim. (Doc. 46). Following the
Third Circuit's October 8, 2019, judgment, Plaintiffs
requested that this Court hold further proceedings
on remand to address any unresolved issues. (Doc.
62). For the reasons that follow, the Court will
deny Plaintiffs Motion to Strike Defendants' Answer
and Affirmative Defenses to Plaintiffs' Complaint
(Doc. 41) and grant Defendants' Motion for Summary
Judgment on the breach of contract claim (Doc. 31).

Il. BACKGROUND AND
PROCEDURAL HISTORY

In September of 1986, Pennsylvania National Life
Insurance Company issued Lora Marie Lomma a

universal life insurance policy (the “Original Policy”)
for $25,000 in coverage. (Original Policy, Doc. 29-2 at
2). The Original Policy contained a suicide exclusion,
which states “SUICIDE: if within two years from the
Issue Date, the Insured, while sane or insane, commits
suicide, our liability will be limited to a refund of the
premium paid less any Policy Indebtedness and Partial
Withdrawals.” Ud. at 15). In 1994, Defendants Ohio
National Life Assurance and/or Ohio National Life
Insurance Company assumed and began administering
Ms. Lomma's Original Policy. (See Mem. Op. Granting
in Part and Denying in Part Summ. J. to Lomma,
Doc. 45 at 3). In December of 1995, Ms. Lomma
increased the coverage amount of the Original Policy
from $25,000 to $100,000. (December 14, 1995, Letter
from Defendants to Lori Lomma, Doc. 29-3 at 3).

On June 6, 2007, Ms. Lomma applied for a renewable
term life insurance policy with Defendants for
$100,000 in coverage (the “Term Policy”). (Term
Policy, Doc. 31-3 at 1-34). On August 15, 2007,
Defendants issued the Term Policy to Ms. Lomma with
a benefit value of $100,000. The Term Policy, like the
Original Policy, contains a suicide exclusion, which
states:

If the insured dies by suicide
while sane or insane or
by intentional self-destruction
while insane, we will not pay
any death proceed[s] payable
on amounts of insurance which
have been in effect for less
than 2 years. If the suicide
or intentional self-destruction is
within the first 2 contract years,
we will pay as death proceeds
the premiums you paid.

(Term Policy, Doc. 31-3 at 13).

In May 2009, Ms. Lomma committed suicide. Shortly
after Ms. Lomma's death, Anthony Lomma filed a
claim for benefits on behalf of his children, the
beneficiaries under the Term Policy. Defendant Ohio
National Life Assurance informed Mr. Lomma they
would not pay the full benefit because an investigation

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revealed that Ms. Lomma's death occurred by suicide,
and in accordance with the policy's suicide exclusion,
“the death proceeds for death due to ‘Suicide’ within
the first two contract years is a refund of premiums
paid.” (August 31, 2009, Letter from Defendants to
Anthony Lomma, Doc. 31-3 at 36). The letter states
that Defendants would instead pay “$285.12 plus
interest at 4.5%,” which represents the “premiums paid
on the policy.” Uad.).

*2 Plaintiffs sued Defendants in the Court of
Common Pleas of Lackawanna County for the full
$100,000 in coverage, alleging five causes of action:
(1) breach of contract; (2) unjust enrichment; (3)
promissory estoppel; (4) breach of implied covenant
of good faith and fair dealing; and (5) statutory bad
faith pursuant to 42 Pa. C.S.A. § 8371. (Doc. 1-4).
Defendants subsequently removed the complaint to
this Court. (Doc. 1).

On December 9, 2016, Defendants timely filed a
motion to dismiss the claims against them. (Doc.
4). On September 6, 2017, the Court dismissed the
unjust enrichment and promissory estoppel claims, and
denied Defendant's motion with respect to the breach
of contract, breach of implied covenant of good faith
and fair dealing, and statutory bad faith claims. (Doc.
25).

On December 20, 2017, the parties each filed timely
cross-motions for summary judgment. (Docs. 29, 31).
On the same day, Plaintiffs also made a Request for
Entry of Default pursuant to Federal Rule of Civil
Procedure 55(a) (Doc. 32), a Motion for Default
Judgment pursuant to Rule 55(b)\(1) (Doc. 33), and
a Motion for Default Judgment pursuant to Rule
§5(b)(2) (Doc. 34). The next day, on December 21,
2018, Defendants filed their Answer and Affirmative
Defenses to Plaintiffs' Complaint. (Doc. 36).

On January 4, 2018, the Court denied Plaintiffs’
motions and directed the Clerk not to enter default
against Defendants. (Doc. 37). Plaintiffs' subsequently
filed a Motion to Strike Defendants' Answer and
Affirmative Defenses to Plaintiffs’ Complaint. (Doc.
41).

On June 28, 2018, the Court granted summary
judgment to Plaintiffs on the breach of contract claim,

holding that (1) the Term Policy contains a latent
ambiguity because Ms. Lomma could have interpreted
the phrase “contract years” to mean the duration of her
contractual relationship with Defendants, not simply
the time period in the Term Policy, (2) the Notice
and Illustration of Benefits have qualifying language
and do not show that the suicide exclusion period
began in 2007, and (3) Plaintiffs established that
Ms. Lomma could have reasonably believed that the
suicide exclusion expired two years after she initially
began paying premiums on a $100,000 life insurance
policy. (Mem. Op. Granting in Part and Denying in Part
Summ, J. to Lomma, Doc. 45 at 16-25). The Court
denied Plaintiffs’ Motion for Summary Judgment in
all other respects, and granted Defendant's Motion for
Summary Judgment in part with respect to Plaintiff's
breach of implied covenant of good faith and fair
dealing claim and statutory bad faith claim (Counts TV
and V of Plaintiffs' Complaint). The Court also denied
Plaintiffs' Motion to Strike as moot. (Doc. 46).

Defendant appealed, and on October 8, 2019, the Third
Circuit reversed this Court's Order granting summary
judgment, holding that “[i]nterpreting ‘contract years’
in the context of the entire Term Policy therefore
demonstrates that the phrase unambiguously refers to
August 10th [2007], the Policy Date ... Accordingly,
the District Court erred in determining that the Term
Policy contains a latent ambiguity.” Lomma v Ohio
Nat'l Life Assurance Corp., 788 F. App'x 104, 108 (3d
Cir. 2019). The Circuit Court further held that “Ms.
Lomma also could not have reasonably interpreted
the phrase ‘contract years’ to mean the duration
of her contractual relationship with Ohio National
Life Assurance and thus reasonably believed that the
suicide exclusion expired two years after she obtained
the $100,000 coverage under the Universal Policy in
1995.” Id. The Court determined that “neither the
communications surrounding Ms. Lomma's purchase
of the Term Policy nor the language of the Term Policy
supports a reasonable expectation of coverage.” Jd.
at 109. Having reversed this Court's Order granting
summary judgment in favor of Plaintiffs on the breach
of contract claim, the Third Circuit remanded the case
to this Court “for further proceedings consistent with
this opinion.” Jd.

*3 Shortly after remand, the case was reopened.
Following a status conference with the parties and a

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request by Plaintiffs, the Court permitted Plaintiffs'
counsel to file a written report with the Court
concerning whether the matter would be subject
to further proceedings. (Doc. 58). In thei brief,
Plaintiffs argue that “[iJn declining to enter judgment
and remanding the case, the USCA obviously
deemed that there are unresolved issues that must
be decided.” (Plaintiffs' Brief in Support of Further
Proceedings on Remand, Doc. 62 at 3). Specifically,
Plaintiffs ask the Court to reconsider their previous
Motion to Strike, as well as the refund of premiums
paid on the Policy plus interest. Ud. at 2). Defendants
disagree, and argue that the Court is “required to
enter judgment consistent with the Third Circuit's
Opinion, and should therefore: (1) reverse the grant of
summary judgment in favor of Plaintiffs on the Breach
of Contract claim; and (2) enter judgment in favor
of Ohio National. (Defendants' Brief in Opposition
to Plaintiffs’ Request for Further Proceedings on
Remand, Doc. 63 at 4).

Ii. ANALYSIS

Upon the Third Circuit's reversal of this Court's Order
granting summary judgment to Plaintiffs on the breach
of contract claim, the Court will now consider the
present procedural posture of the case. As to Plaintiffs’
Motion to for Summary Judgment (Doc. 29), the Court
concludes there is nothing further to consider. This is
because the Court previously denied Plaintiffs' Motion
for Summary Judgment on all claims other than the
breach of contract claim, the grant of which the Third
Circuit has since reversed. As to Defendants’ Motion
for Summary Judgment (Doc. 31), in light of the Third
Circuit's decision, the Court must now reconsider its
previous denial of Defendants' motion on the breach of
contract claim. The Court must also consider the status
of Plaintiffs’ Motion to Strike Defendants’ Answer and
Affirmative Defenses to Plaintiffs’ to Complaint (Doc.
41), as the Court previously deemed this motion moot
in light of the favorable ruling on Plaintiffs’ Motion
for Summary Judgment. The Court will also consider
whether any further action is necessary with regard to
the refund of the premiums paid on the Term Policy
plus interest. Based on this procedural posture, the
Court will first address Plaintiffs' Motion to Strike.

A. Plaintiffs' Motion to Strike

Several weeks after the parties filed their cross-
motions for summary judgment, Plaintiffs moved to
strike Defendants' Answer and Affirmative Defenses
to Plaintiffs’ Complaint pursuant to Federal Rule of
Civil Procedure 12(f). (Doc. 41). Because the Court
ruled in Plaintiffs’ favor on their Motion for Summary
Judgment on the breach of contract claim, the Court
properly dismissed Plaintiffs' Motion to Strike as moot.
(Mem. Op. Granting in Part and Denying in Part
Summ. J. to Lomma, Doc. 45 at 32 (citing United
States v. Beeman, 2010 WL 653062, at *13 (W.D.
Pa. 2010) (granting motion for summary judgment by
Plaintiffs and holding that Plaintiffs' “pending motion
to strike [defendant's] answer to the complaint will
be denied as moot.”), aff'd, 388 F. App'x 82 Gd Cir.
2010))).

Plaintiffs now argue that because the Third Circuit
reversed this Court's Order granting Plaintiffs’ Motion
for Summary Judgment, their Motion to Strike
Defendants' Answer to Complaint is no longer moot.
(Plaintiffs' Brief in Support of Further Proceedings on
Remand, Doc. 62 at 3). Defendants disagree, arguing
that “[t]he lack of a cross appeal by Plaintiffs on these
issues means that the issues are waived.” (Defendants'
Brief in Opposition to Plaintiffs' Request for Further
Proceedings on Remand, Doc. 63 at 6 (citing EF
Operating Corp. v. American Buildings, 993 F.2d
1046, 1049 (3d Cir. 1993))). The Court concludes that
Defendants! reliance on EF Operating is misplaced.
In EF Operating, the Third Circuit addresses waiver
of an issue on appellate review. Here, the right to
appeal an issue to the Third Circuit is not at issue.
This Court previously ruled that Plaintiffs' Motion
to Strike was moot in light of the Court's summary
judgment ruling in favor of Plaintiffs. Given the Third
Circuit's reversal of the summary judgment ruling
with the added instruction to hold “further proceedings
consistent with this opinion,” the Court concludes that
the motion to strike is properly considered on remand
and is ripe for decision. Lomma, 788 F. App'x at 109.

*4 Federal Rule of Civil Procedure 12 provides that
a “court may strike from a pleading an insufficient
defense or any redundant, immaterial, impertinent, or
scandalous matter.” Fed. R. Civ. P. 12(f).

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District courts are afforded
considerable discretion when
addressing a motion to strike.
Generally, motions to strike are
not favored and usually will
be denied unless the allegations
have no possible relation to
the controversy and may cause
prejudice to one of the parties,
or if the allegations confuse the
issues.

Yellow Book Sales & Distrib. Co., Inc. v.. White, 2011
WL. 830520, at *4 (E.D. Pa. 2011) (internal citations
and quotation marks omitted). “[S]triking a pleading
is a ‘drastic remedy’ to be used sparingly because
of the difficulty of deciding a case without a factual
record.” Wirt v. Bon-Ton Stores, Inc., 134 F. Supp. 3d
852, 857 (M.D. Pa 2015) (quoting Dann v. Lincoln
Nat'l Corp., 274 E.R.D. 139, 142 (E.D. Pa. 2011)); see
also DeLa Cruz v. Piecari Press, 521 F.Supp.2d 424,
428 (E.D. Pa. 2007) (quoting NV. Penn Transfer, Inc.,
859 F.Supp. at 158) (Indeed, striking a pleading ‘is a
drastic remedy to be resorted to only when required for
the purposes of justice’ and should be used ‘sparingly.’

”)

Here, Plaintiff does not contend that Defendants’
Answer contains any allegations that are redundant,
immaterial, impertinent, or concern a scandalous
matter. Rather, Plaintiffs seek to strike Defendants'
pleading as untimely. In support of their motion,
Plaintiffs cite to Fifth Circuit case DirecTV, Inc. v.
Young, 195 F. App'x 212, 215 (Sth Cir. 2006) for the
proposition that Rule 12(f) empowers a court to strike
a defendant's answer when it is filed outside of the
time period mandated by Rule 12. The Court finds
that this case is readily distinguishable from DirecTV.
In DirecTV, the Fifth Circuit found that the District
Court did not abuse its discretion when it granted the
plaintiff's motion to strike the defendant's answer given
that the defendant's failure to timely file was willful. Jd.
The Court found this was evidenced by the defendant's
repeated failures to communicate with the plaintiffs
counsel, respond to settlement demands, respond to
the plaintiffs request for default, or otherwise litigate

the matter. Jd, Here, however, there is ample evidence
that Defendants were actively communicating with
Plaintiffs' counsel and participating in the litigation,
exemplified by Defendants’ timely filing of a Motion
to Dismiss (Doc. 4), a Reply Brief (Doc. 11), a Motion
for Summary Judgment (Doc. 31), their participation in
several telephone conferences before the Court (Docs.
13, 20), and their concurrence in multiple joint motions
for extension of time (Docs. 22, 27).

Plaintiffs argue that they are “irreparably injured
and harmed by Defendants filing their Answer and
Affirmative Defenses out of time, without leave of the
court and without showing good cause or excusable
neglect, and are further harmed if said Answer and
Affirmative Defenses are not stricken.” (Doc. 62 at 5).
Plaintiffs provide no analysis as to how they are so
prejudiced by Defendants' late filing.

Although the motion to strike was determined moot,
the Court acknowledged at summary judgment that
“Plaintiffs have not pointed to any real prejudice
resulting from Defendants' untimely answer, given
that the parties apparently understood the legal and
factual issues of the case sufficiently to file cross-
motions for summary judgment before the answer was
filed.” (Mem. Op. Granting in Part and Denying in Part
Summ. J. to Lomma, Doc. 45, at 33 n.5). Just as there
was no basis upon which to find prejudice to Plaintiffs
at the time the Motion to Strike was filed, Plaintiffs
provide no basis to find prejudice now, in that they
have not pointed to any change in circumstances in
their most recent filing. Thus, the Court again finds that
Plaintiffs have failed to demonstrate how Defendants'
failure to file an Answer and Affirmative Defenses in
a timely manner resulted in any prejudice to them in

this matter, !

*§ As the Third Circuit has repeatedly stated, Courts
prefer adjudications on the merits. Hill v. Williamsport
Police Dep't, 69 F. App'x 49, 51 Gd Cir. 2003) (citing
Hritz v. Woma Corp., 732. F.2d 1178, 1181 Gd Cir.
1984) (“we have repeatedly stated our preference
that cases be disposed of on the merits whenever
practicable’). Plaintiffs have failed to demonstrate
any reason why the Court should abjure this preference
and strike Defendants' pleading for untimeliness.
Therefore, the Court will deny Plaintiffs' Motion to

Strike. *

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B. Defendants’ Motion Summary
Judgment on the Breach of Contract Claim

As set out previously, based on the Third Circuit's
reversal of the Court's Order granting summary
judgment in favor of Plaintiffs on the breach of contract
claim, the Court must reconsider its previous denial
of Defendants' Motion for Summary Judgment on this
claim.

In their Motion for Summary Judgment, Defendants
argued that the suicide exclusion unambiguously bars
coverage for the full policy value of $100,000, as
“the Policy was issued on August 15, 2007 and Ms.
Lomma committed suicide on May 24, 2009, well
within the first two Contract Years of the Ohio National
Term Policy.” (Brief in Support of Defendants! Motion
for Summary Judgment, Doc. 31 at 16). Defendants
further argue that “Plaintiffs have not adduced any
evidence that the Insured had a subjective expectation
of coverage beyond the terms of the Policy.” (/d.).

Under Pennsylvania law, where contract language is
clear and unambiguous, the Court must follow it.
Minn, Fire & Cas. Co. v. Greenfeld, 579 Pa. 333,
855 A.2d 854, 861 (2004). Pennsylvania has also
adopted the reasonable expectations doctrine, which
“dictates that the proper focus for determining issues
of insurance coverage is the reasonable expectations
of the insured.” Reliance Ins. Co. v. Moessner, 121
F.3d 895, 905 (3d Cir, 1997) (citing Collister v.
Nationwide Life Insurance Co., 388 A.2d 1346 (Pa.
1978) and Tonkovic v. State Farm Mutual Automobile
Insurance Co., 521 A.2d 920 (Pa. 1987)). Under
this analysis, courts must examine “the totality of
the insurance transaction involved to ascertain the
reasonable expectations of the insured.” Moessner, 121
F.3d at 903 (quoting Dibble v. Sec. of Am. Life Ins. Co.,
590 A.2d 352, 354 (Pa. Super. Ct. 1991)).

Interpreting the contract at issue here, the Third Circuit
held that “the District Court erred in determining
that the Term Policy contains a latent ambiguity.”
Lomma, 788 F. App'x at 108. In so holding, the Third
Circuit determined that the term “ ‘
the context of the entire Term Policy demonstrates
that the phrase unambiguously refers to August 10th

contract years’ in

[2007], the Policy Date.” Jd. The Third Circuit further
held that “neither the communications surrounding
Ms. Lomma's purchase of the Term Policy nor the
language of the Term Policy supports a reasonable
expectation of coverage.” Jd. at 109, The Circuit Court
also found that Ms. Lomma “could not have reasonably
interpreted the phrase ‘contract years’ to mean the
duration of her contractual relationship with Ohio
National Life Assurance and thus reasonably believed
that the suicide exclusion expired two years after she
obtained the $100,000 coverage under the Universal
Policy in 1995.” Jd. at 108.

*6 “The Court shall grant summary judgment if the

movant shows that there is no genuine dispute of
material fact and the movant is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(a). Applying
the standard here, the Third Circuit's holding indicates
that Defendants are entitled to summary judgment on
the breach of contract claim. Here, the undisputed
facts show that the suicide exclusion in the Term
Policy provides “[i]f the insured dies by suicide while
sane or insane by intentional self-destruction while
insane, we will not pay any death proceed[s] payable
on amounts of insurance which have been in effect
for less than 2 years.” (Term Policy, Doc. 31-3 at
13). The facts also show that Ms. Lomma's death by
suicide occurred in May of 2009, which was within
two years of the August 10, 2007 contract date found
by the Third Circuit. Therefore, the explicit language
of the Term Policy's suicide exclusion unambiguously
prevents Plaintiffs from recovering the full $100,000
in death benefits. Further, consistent with the Third
Circuit's holding, Ms. Lomma had no reasonable
expectation of coverage under the circumstances of
this case, where the two policies “are entirely different
policies, were issued under different policy numbers,
and contain different terms, with the first policy
providing universal life insurance and the second
policy providing term life insurance.” Lomma, 788
FE. App'x at 109. For these reasons, this Court will
grant summary judgment in favor of Defendants on the
breach of contract claim.

C. Refund of Premiums Paid

Plaintiffs further argue that “‘an issue regarding the
refund of the premiums paid and the interest on those

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premiums” remains in this matter. (Doc. 62 at 7). More
specifically, Plaintiffs argue they are “entitled to the
return of the paid premiums pursuant to the insurance
policy and would be further entitled to interest on those
paid premiums.” Jd. By contrast, Defendants assert that
they have already paid Plaintiffs $285.12 plus interest
at 4.5%. (Doc. 63 at 8-9). Defendants point to a copy
of Ohio National's letter transmitting the check for the
refund of premiums with interest, which is attached
to Plaintiffs’ Complaint as Exhibit E. (Doc. 1-4 at
69 (“[w]e are enclosing our checks made payable to
you as natural guardian for the minor beneficiaries,
Nicholas A. Lomma and James M. Lomma, in the
amount of $144.27 and $144.27, respectively. These
checks represent the premiums paid on the policy in
the amount of $285.12 plus interest at 4.5%.”)). The
Court previously determined at summary judgment

IV. CONCLUSION

For the above-discussed reasons, the Court will deny
Plaintiffs Motion to Strike Defendants’ Answer and
Affirmative Defenses to Plaintiffs’ Complaint (Doc.
41), grant Defendants' Motion for Summary Judgment
on the breach of contract claim (Doc. 31), and
enter judgment in favor of Defendants Ohio National
Life Assurance Corporation and Ohio National Life
Insurance Company on the breach of contract claim.
Because this Court previously dismissed Plaintiffs’
claims of unjust enrichment and promissory estoppel
by Order dated September 6, 2017 (Doc. 25), and
previously granted summary judgment in favor of
Defendants on Plaintiffs' claims of breach of implied
covenant of good faith and fair dealing and statutory

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bad faith by Order dated June 28, 2018 (Doc. 46),
a separate Order will be issued granting summary
judgment in favor of Defendants and closing the case.

that this fact is undisputed. 3 Plaintiff has not indicated
otherwise in any subsequent filings with this Court.
Therefore, the Court does not find any further action
on this matter is warranted.

All Citations

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Footnotes

1 To fully understand the lack of prejudice to Plaintiffs, it is important to view this Motion to Strike in
light of the circumstances at the time the motion was filed. The Court's Order ruling on Defendants’
Motion to Dismiss was filed September 6, 2017. (Doc. 25). According to Rule 12, Defendants
were required to file their Answer by September 20, 2017. Fed. R. Civ. P. 12(a)(4)(A). No filings
were made by either party until November 16, 2017, when the parties concurred in a Joint Motion
to Extend the deadline for filing dispositive motions. (Doc. 27). In this motion, Plaintiffs made no
mention of Defendants’ failure to file a timely answer, which was 57 days tardy at that point.

The next filings in this matter occurred on December 20, 2017, when both parties filed cross-
motions for summary judgment. (Docs. 29, 31). Later that same day, Plaintiffs made several
filings in support of entry of default and for default judgment against Defendants. (Docs. 32, 33,
34). The next day, December 21, 2017, Defendants filed their Answer and Affirmative Defenses
to Plaintiffs’ Complaint. (Doc. 36). On January 4, 2018, the Court denied Plaintiffs’ motions for
entry of default judgment and directed the Clerk not to enter default against Defendants. (Doc.
37). In denying Plaintiffs' motions, the Court made a similar assessment, noting that an entry of
default would not be appropriate, as “Defendants have defended the suit by filing a timely motion
to dismiss, a timely motion for summary judgment, and otherwise participated in the litigation
process, including attending a status conference with the Court and conferring with Plaintiffs
regarding discovery and other pretrial deadlines.” (/d. at 2). Within a week of the Court's Order,

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Plaintiffs' filed their Motion to Strike Defendanis' Answer and Affirmative Defenses to Plaintiffs‘
Complaint. (Doc. 41).

As the procedural history demonstrates, the numerous timely motions filed by each party indicate
that the litigation process was steadily moving forward, despite Defendants’ failure to file their
Answer and Affirmative Defenses within 14 days of the Court's Order denying Defendants’ Motion
to Dismiss.

2 The propriety of this result is abundantly clear given the Third Circuit's assessment of the merits of
Plaintiffs' breach of contract claim. If the Court were to grant Plaintiffs Motion to Strike Defendants’
Answer to Complaint, and the allegations in Plaintiffs‘ Complaint were deemed admitted, it could
not ultimately lead to a favorable outcome for Plaintiffs. As discussed in Part III.B. infra, the Third
Circuit held on appeal that the Term Policy issued to Ms. Lomma unambiguously commenced
on August 10, 2007, which, per the two-year suicide exclusion, prevents her beneficiaries from
recovering full death benefits. Lomma, 788 F. App'x at 108. This Court is bound to follow the law
of the Third Circuit. See A.A. ex rel. E.A. v. Exeter Tp. School Dist., 485 F.Supp.2d 587 (E.D.
Pa. 2007) (‘[i]t is axiomatic that a district court is bound to apply its appellate court's precedent.”).
Thus, in applying the Third Circuit's decision, Plaintiffs cannot prevail on the merits of their breach
of contract claim.

3 At summary judgment, the Court noted in the Statement of Undisputed Facts that “[o]n August 31,
2009, Defendants informed Mr. Lomma that they would not pay the full benefit value under the
policy, but instead, pay ‘285.12 plus interest at 4.5%,’ which represents the ‘premiums paid on the
policy.’ ” (Mem. Op. Granting in Part and Denying in Part Summ. J. to Lomma, Doc. 45 at 6-7).

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2022 WL 2817876

2022 WL 2817876
Only the Westlaw citation is currently available.
United States District Court, D. Delaware.

NORAMCO LLC, Plaintiff,
Vv.
DISHMAN USA, INC., Defendant.

Civil Action No. 21-1696-WCB
|
Signed July 19, 2022

Attorneys and Law Firms

Frederick Brian Rosner, Zhao Liu, The Rosner Law
Group LLC, Wilmington, DE, Andrew J. Bayne, Pro
Hac Vice, Haoying Zhu, Pro Hac Vice, Jennifer M.
Mohamed, Pro Hac Vice, for Plaintiff.

Richard Charles Weinblatt, Stamatios Stamoulis,
Stamoulis & Weinblatt LLC, Wilmington, DE, for
Defendant.

MEMORANDUM OPINION AND ORDER

WILLIAM C. BRYSON, UNITED STATES
CIRCUIT JUDGE

*1 Plaintiff Noramco LLC (“Noramco”) has filed a
motion for judgment on the pleadings under Federal
Rule of Civil Procedure 12(c). Noramco argues that it
is entitled to judgment as a matter of law on its breach
of contract claim against defendant Dishman USA, Inc.
(“Dishman”), and on Dishman's affirmative defenses.
Dkt. No, 38. For the reasons set forth below, Noramco's
motion is GRANTED IN PART and DENIED IN
PART.

I. Background
This case involves a contract dispute regarding

a supply agreement (the “Agreement”) between

Noramco and Dishman. ! Norameco, a manufacturer
of active pharmaceutical ingredients (“APIs”), entered
into the Agreement with Dishman, in which Dishman
agreed to supply Noramco with olivetol, an ingredient
used in the production of Noramco's APIs. The
Agreement provided that Dishman would produce the

olivetol and supply it to Noramco at Dishman's facility
in Lodariyal, India. The Agreement further provided
that the olivetol that Noramco supplied would comply
with “current good manufacturing practices” (““cGMP”
or “GMP”) as required by standards promulgated
by the U.S. Food and Drug Administration and the
European Union. Dict. No, 35 at (J 10-11.

In February 2020, while Dishman was manufacturing
the olivetol to be supplied under the Agreement,
the Swiss Agency for Therapeutic
(“Swissmedic”) and the European Directorate for the
Quality of Medicines and HealthCare (“EDQM”)

Products

inspected Dishman's facility in Lodartyal. 2F ollowing
its investigation, Swissmedic issued a report indicating
that it found several “major” deficiencies at the
facility, one of which was “critical.” Id. at ¢ 48. The
report added that Dishman's “approach on Materials
management ... was considered as not in compliance
with EU GMP.” Jd.

In March 2020, Dishman manufactured six batches
of olivetol. On or about March 24, 2020, the batches
of olivetol were shipped from Dishman to Noramco.
Dishman did not inform Noramco at that time of
the Swissmedic and EDQM regulatory inspection of
the Dishman facility that had occurred prior to the
shipment of the olivetol to Noramco.

In April 2020, after learning of the Swissmedic and
EDOQM inspection, Noramco notified Dishman of its
“concerns about the inspection and potential rejection
of the [olivetol].” Jd at J] 41-42. The two parties
then conferred for several months regarding the status
of the olivetol. See, e.g., id. at J] 43-45, 49-54, 65-
77. On or about August 11, 2020, Noramco requested
that the olivetol be returned to Dishman's facility, and
on August 19, 2020, Noramco notified Dishman in
writing that the olivetol Dishman supplied to Noramco
did not comply with the Agreement. Jd. at [¥ 90-91.

Noramco's complaint alleges that following Noramco's
rejection of the olivetol, Dishman agreed to return the
olivetol and to issue a full refund for the material.
Dishman disputes that assertion. Id. at [{ 96-97; Dkt.
No. 37 at 997. After Dishman failed to take the olivetol
back and issue a refund, Noramco brought this lawsuit
against Dishman in December 2021.

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*2 Since filing its original complaint, Noramco
has amended its complaint on two occasions. The
operative pleading for purposes of the present motion
is Noramco's Second Amended Complaint, Dkt. No.
35. Dishman filed an Answer to that complaint, Dkt.
No. 37, and Noramco subsequently filed this motion
for judgment on the pleadings, Dkt. No. 38. On July
19, 2022, I held oral argument on Noramco's motion.

Il. Legal Standard
Under Federal Rule of Civil Procedure 12(c), “[a}fter

the pleadings are closed—but early enough not to
delay trial—a party may move for judgment on the
pleadings.” A Rule 12(c) motion “will not be granted
unless the movant clearly establishes that no material
issue of fact remains to be resolved and that [it] is
entitled to judgment as a matter of law.” Jablonski
vw Pan Am. World Airways, Inc., 863 F.2d 289, 290
(3d Cir. 1988) Gnternal quotation marks and citation
omitted). The standard that applies to a Rule 12(b)
(6) motion to dismiss for failure to state a claim also
applies to motions brought under Rule 12(c); that
is, in the common situation in which the defendant
moves to dismiss the complaint, the court “must accept
the truth of all factual allegations in the complaint
and must draw all reasonable inferences in favor
of the non-movant.” Revell v. Port Auth. of New
York, New Jersey, 598 F.3d 128, 134 (3d Cir. 2010).
In the less common situation in which the plaintiff
moves for judgment on the pleadings, the court must
accept as true the factual allegations in the defendant's
answer and construe the factual allegations in the light

most favorable to the defendant.? United States v.
Blumenthal, 315 F.2d 351, 352 (3d Cir. 1963); Fanatics
Retail Grp. (Dreams), LLC v. Truax, No. 20-ev-0794,
2020 WL 7042873, at *2 (D. Del. Dec. 1, 2020).
More generally, “[t]he purpose of judgment on the
pleadings is to dispose of claims where the material
facts are undisputed and judgment can be entered
on the competing pleadings and exhibits thereto, and
documents incorporated by reference.” Venetec Int'l,
Inc. v. Nexus Med., LLC, 541 F. Supp. 2d 612, 617 (D.
Del. 2008).

TID. Discussion

A. Breach of Contract

Noramco's principal argument in support of its motion
is that Dishman's Answer “simply does not deny any
essential allegation raised by Noramco.” Dkt. No. 39
at 6. Specifically, Noramco argues that Dishman's
statements in its Answer that certain documents
speak for themselves amount to admissions of the
corresponding allegations in the complaint. See id.
at 6-7. Dishman responds by arguing that those
statements do not constitute admissions and that there
are substantial factual disputes to be resolved in this
case.

Two examples of the allegations in Noramco's Second
Amended Complaint and Dishman's responses in
its Answer provide helpful context for assessing
Noramco's argument. First, paragraph 56 of the

Second Amended Complaint alleges that “[a]s a result °

of the EDQM/Swissmedic inspection Dishman was
prohibited from distributing the [olivetol].” Dkt. No.
35 at { 56. In its Answer, Dishman responded that the
allegation was “[d]enied as to any legal conclusions”
and “fals to factual allegations, the document [the
Swissmedic report] speaks for itself.” Dkt. No. 37 at
456.

*3 Second, paragraph 97 of the Second Amended
Complaint alleges that “[o]n October 6, 2020, Dishman
wrote to Noramco, and Dishman agreed in writing
to provide a full refund to Noramco over time.”
Dkt. No. 35 at 9 97. In its Answer, Dishman
responded as follows: “Denied. The document [a
chain of emails between Noramco and Dishman
representatives] speaks for itself.” Dkt. No. 37 at 97.

In general, a statement in an answer that a document
“speaks for itself’ is permissible “if the answer also
expressly includes an admission or denial of the
allegation.” LumaSense Techs., Inc. v. Advanced Eng'g
Servs., LLC, No. 20-CV-07905, 2021 WL 2953237, at
*3 (N.D. Cal. July 14, 2021); see also Pavlik v. FDIC,
No. 10-cv-816, 2010 WL 3937621, at *3 (N.D. TIL.
Oct. 5, 2010) (declining to strike “document speaks
for itself’ responses in answer when the defendant
“also either admitted or denied the[ ] allegations”);
Westgate Fin. Corp. v. Cotswold Indus., Inc., No. 09-
CV-2627, 2009 WL 10211922, at *5 (N.D. Ga. Dec.

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31, 2009) (same); Eternal Invs., LL.C. v City of
Lee's Summit, Mo., No, 05-0521-CV, 2006 WL 573919
(W.D. Mo. Mar. 8, 2006) (noting that “terms of art”
such as “the document speaks for itself’ and “legal
conclusions,” when included in responsive pleadings
that also admit or deny the relevant allegations,
do not “prevent plaintiff from understanding or
comprehending defendant's Answer’).

In this case, Dishman's Answer offers both a general
denial and specific responses to the allegations where
relevant. At the beginning of its answer, Dishman
states that it “denies all allegations in Plaintiffs’
Second Amended Complaint except those expressly
admitted below.” Dkt. No. 37 at 1. In addition to that
general denial, many of the responses in the Answer
specifically admit or deny the allegations before stating
that “the document speaks for itself.” See, e.g., Dkt.
No. 37 at ff] 96-98, 100-01. Other responses state that
the allegation is “[d]enied as to any legal conclusions,”
but “[a]s to factual allegations, the document speaks
for itself.” See, e.g., id. at {J 44-48. Those responses
make clear that Dishman is not intending to admit
to the allegations in the complaint in full. At most,
the statements that a document “speaks for itself” can
be understood as an admission that the corresponding
document attached to the complaint is authentic and is
quoted accurately in the complaint.

Noramco cites two cases, neither of which provides
persuasive support for its position that the responses
in Dishman's Answer constitute admissions of liability.
In Charleston v. Salon Secrets Day Spa, Inc., the
court granted in part the plaintiffs motion to strike
various responses from the defendant's answer. No. 08-
cv-5889, 2009 WL 1795529, at *1 (E.D. Pa. June 24,
2009). The court struck paragraphs from the answer
stating that a document “speaks for itself.” Jd. In that
case, however, the defendant conceded that a statement
indicating that a document “speaks for itself’ was
“equivalent to an admission.” Jd. No such concession
has been made by Dishman in this case.

Similarly, in In re Cotter, the court held that “the
Defendants’ responses that the ‘document speaks for
itself’ is deemed an admission” if “no response is
provided” to the allegation in the complaint. No.
08-12504, 2011 WL 5900811, at *8 (Bankr. D.N.J.
Oct. 24, 2011). In that case, the defendants did not

offer a general denial and did not otherwise respond to
the allegations for which they stated that a document
“speaks for itself.” See generally Cotter v. Skylands
Cmty. Bank, Adv. No. 11-1619, Dkt. No. 5 (Bankr.
D.N.J. June 8, 2011). In this case, by contrast, Dishman
has offered both a general denial and specific denials
of many allegations in the complaint, including each
of the allegations as to which Dishman's Answer stated
that the document “speaks for itself.”

*4 In Kleiman v. Wright, No. 18-cv-80176, 2020 WL
11420664, at *8 & n.10 (S.D. Fla. Nov. 8, 2020), the
plaintiff relied on the Charleston and Cotter cases in
support of its argument that the statement that certain
documents “speak for themselves” in the defendant's
answer constituted a judicial admission. The court
noted that the defendant in that case denied “each
and every allegation” except to the extent expressly
admitted and did not concede that his responses were
equivalent to an admission. Jd. at *8 & n.10. The
court concluded that “to the extent Defendant admitted
anything, “it was not as to the documents’ authenticity,
interpretation, or correctness.” Jd. at n.10.

Similar circumstances are present here. Dishman
issued a general denial as to all allegations not
expressly admitted to, and added a specific denial
accompanying each paragraph in which it stated that a
document “‘speaks for itself.” See Dkt. No. 37 at 1 & Tf]
10, 11, 17, 18, 19, 24, 26, 27, 28, 30, 33, 34, 44, 45, 46,
47, 48, 55, 60, 96, 97, 98 & 100. Moreover, it is clear
from Dishman's Answer that Dishman did not intend
to admit the substance of Noramco's allegations. And
there is no risk of confusion about which documents
Dishman's responses refer to. Accordingly, Dishman's
responses in its Answer stating that a document
“speaks for itself’ do not constitute admissions to the
allegations in the respective paragraphs of Noramco's
Second Amended Complaint.

With that proposition established, it is apparent that
the pleadings in this case point to several factual
disputes. For instance, the parties dispute whether
the Swissmedic report conclusively establishes that
Dishman's olivetol production did not comply with
cGMP, and whether the Swissmedic and EDQM
inspection actually covered the facility where the
olivetol was manufactured. See Dkt. No. 40 at 11;
Dkt. No. 39 at 7. The parties also dispute whether

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Noramco timely notified Dishman that the olivetol it
supplied was non-conforming. See Dkt. No. 40 at 7-9;
Dkt. No. 39 at 4-5. And the parties appear to dispute
the amount of damages to which Noramco would be
entitled if liability is established. See Dkt. No. 37 at
23. Therefore, this is not a case in which “no material
issue of factremains to be resolved” such that Noramco
“is entitled to judgment as a matter of law” based
on the pleadings alone. See Jablonski, 863 F.2d at
290 (internal quotation marks and citation omitted).
Accordingly, Noramco's motion is denied as to its
breach of contract claim.

B. Affirmative Defenses

Noramco also argues that it is entitled to judgment
as a matter of law on Dishman's affirmative defenses.
The Third Circuit has held that the standards that
apply to Rule 12(c) motions are the same as those
that apply under Rule 12(b)(6). Revell, 598 F.3d at
134, Because Rule 12(b)(6) applies only to “claim[s],”
courts have held that a request to dismiss an affirmative
defense under Rule 12(b)(6) is more appropriately
treated as a motion to strike under Rule 12(f). See,
e.g., Wreth Holdings Corp. v. Sandoz, Inc., No. 09-
cv-955, 2012 WL 600715, at *4 (D. Del. Feb. 3,
2012), report and recommendation adopted, 2012 WL
749378 (Mar. 1, 2012); Huffman v. Remstar Int'l, Inc.,
No. 08-CV-157, 2009 WL 1445967, at *1 (E.D. Tex.
May 21, 2009); Cal. Expanded Metal Prods. Co. v.
Klein, No. 18-cv-0659, 2018 WL 6249793, at *7 (W.D.
Wash. Nov. 29, 2018). Judge Stark has applied that
same reasoning in construing a Rule 12(c) motion
regarding affirmative defenses as a Rule 12(f) motion
to strike. Intell, Ventures I LLC v. Symantec Corp., No.
13-cv-440, 2014 WL 4773954, at *1 (D. Del. Sept. 24,
2014), Accordingly, I will treat Noramco's motion, as it
applies to Dishman's affirmative defenses, as a motion
to strike those defenses under Rule 12(f).

*5 Rule 12(f) permits a court to “strike from a
pleading an insufficient defense or any redundant,
immaterial, impertinent, or scandalous matter.” As a
general matter, Rule 12(f) motions are “disfavored.”
Fesnak & Assocs., LLP v. U.S. Bank Nat. Ass'n, 722.
F. Supp. 2d 496, 502 (D. Del. 2010). On a motion to
strike, the court should construe all facts in favor of
the nonmoving party and “should not grant a motion to

strike a defense unless the insufficiency of the defense
is clearly apparent.” Symbol Techs., Inc. v. Aruba
Networks, Inc., 609 F. Supp. 2d 353, 356 (D. Del. 2009)
(internal quotation marks and citation omitted).

The basis for Noramco's motion to strike Dishman's
affirmative defenses is essentially the same as the
basis for its Rule 12(c) motion regarding its breach
of contract claim. That is, Noramco contends that
Dishman has admitted to the allegations in the Second
Amended Complaint and therefore Dishman does not
have any viable affirmative defenses. As noted above,
Dishman's statements that a document “speaks for
itself’ do not constitute admissions, and there are
substantial factual disputes to be resolved in this case.
There are, however, some affirmative defenses as to
which there is no genuine dispute of material fact.

First, Dishman does not contest Noramco's assertion
that there is no dispute of material fact regarding
Dishman's affirmative defenses of lack of privity and
the statute of frauds. Dishman's failure to respond to
those arguments in its brief constitutes a concession
that there is no dispute of material fact with respect
to those defenses. See Hausknecht v. John Hancock
Life Ins. Co. of N.¥., 334 F. Supp. 3d 665, 682 (B.D.
Pa, 2018) (“By failing to respond to a majority of
Defendant's arguments, Plaintiffs have conceded them,
and thus, Plaintiffs’ ... claims will be dismissed.”);
Goodwine v. Keller, No. 09-cv-1592, 2012 WL
4482793, at *1 (W.D. Pa. Sept. 26, 2012) (“Plaintiff
fails to respond to Defendants’ arguments in favor
of dismissal and so has apparently conceded that, as
a matter of law, Defendants are entitled to a finding
of absolute or qualified immunity ....”). At the oral
argument on the present motion, Dishman agreed to
withdraw the defenses of lack of privity and statute
of frauds. Accordingly, Noramco's motion is denied as
moot with respect to those two defenses.

Second, Dishman's affirmative defense of unclean
hands lacks a sufficient legal basis. In its responsive
brief, Dishman argues that the doctrine of unclean
hands applies because “had Noramco given timely
notice of rejection, Dishman could have performed
a tisk analysis on the subject Olivetol to prove that
it had not been contaminated.” Dkt. No. 40 at 14.
The doctrine of unclean hands, however, applies “in
circumstances where the litigant's own acts offend the

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very sense of equity to which he appeals.” Nakahara
vy NS 199] Am. Tr, 718 A.2d 518, 522 (Del. Ch.
1998). In order for the unclean hands doctrine to apply,
the allegedly wrongful conduct must be “knowing or
intentional.” See Neo Gen Screening, Inc. v. TeleChem
Int'l, Inc., 69 F. App'x 550, 556 (3d Cir. 2003). Here,
Dishman has not alleged that Noramco intentionally
delayed in notifying Dishman of the olivetol's non-
conformity in order to gain an inequitable advantage of
some sort. Moreover, to the extent that Dishman argues
that Noramco did not timely notify Dishman of the
non-conforming product, that allegation does not raise
an issue of unclean hands, but is covered by Dishman's
defenses of laches, waiver, estoppel, and improper
notice. Accordingly, I will grant Noramco's motion
with respect to Dishman's unclean hands defense and
strike that defense from Dishman's Answer.

*6 Dishman's remaining affirmative defenses are:
failure to state a claim upon which relief can
be granted, laches, waiver, estoppel, no breach by
Dishman, the parol evidence rule, improper notice,
substantial performance, and failure to mitigate. As
noted, there are several disputed factual issues in this

case, and the remaining defenses implicate those issues
to various extents. Because the court “should not strike
a defense unless the insufficiency is ‘clearly apparent,’
” Fesnak, 722 F. Supp. 2d at 502 (citation omitted), I
will deny the portions of Noramco's motion that are
directed to those defenses.

IV. Conclusion

In summary, based on the pleadings, it appears that
there are significant factual disputes to be resolved
in this case. Noramco is therefore not entitled to
judgment on the pleadings in its favor on its breach
of contract claim. With respect to the affirmative
defenses, I will grant Noramco's motion to strike the
affirmative defenses of lack of privity, statute of frauds,
and unclean hands. The remaining affirmative defenses
will not be stricken from Dishman's Answer.

IT IS SO ORDERED.

All Citations

Not Reported in Fed. Supp., 2022 WL 2817876

Footnotes

1 The facts in this section are recited as alleged in Noramco's Second Amended Complaint, Dkt.

No. 35.

2 Noramco alleges that Swissmedic is the “applicable Swiss surveillance authority for GMP

compliance.” Dkt. No. 39 at § 15.

3 Noramco states that in this Rule 12(c) proceeding the court must accept ail allegations of
Noramco's complaint as true. Dkt. No. 41 at 6. That would be true if it were Dishman, the
defendant, that had moved for judgment on the pleadings, but it is not true when itis Noramco, the
plaintiff that has sought relief under Rule 12(c). When a plaintiff seeks judgment on the pleadings,
the plaintiff is obviously not entitled to have the allegations in its complaint treated as true.

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Savage v. Temple University — of Commonwealth System..., Not Reported in Fed....

2020 WL 5602651

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Only the Westlaw citation is currently available.
United States District Court, E.D. Pennsylvania.

Ricky SAVAGE, Plaintiff,
Vv.
TEMPLE UNIVERSITY — OF the
COMMONWEALTH SYSTEM OF
HIGHER EDUCATION, et al., Defendants.

CIVIL ACTION NO. 19-6026-KSM
|
Signed 09/17/2020
|
Filed 09/18/2020

Attorneys and Law Firms

Susan C. Keesler, Derek Smith Law Group PLLC,
Philadelphia, PA, for Plaintiff.

Dimitrios Mavroudis, Joe H. Tucker, Jr., Leslie Miller
Greenspan, Tucker Law Group, LLC, Philadelphia,
PA, for Defendants.

MEMORANDUM
MARSTON, District Judge

*1 Plaintiff Ricky Savage brings this suit against
his former employer, Defendant Temple University
of the Conumonwealth System of Higher Education
and multiple Temple supervisors, for religious and
intersectional discrimination under various Federal
and Pennsylvania statutes. In a prior order and
opinion on the Defendants’ Partial Motion to Dismiss,
the Court dismissed Counts I-XII of the amended
complaint to the extent those counts alleged race
discrimination, but denied the Motion to Dismiss
Savage's claim for injunctive relief. (See Doc. Nos.
22 & 23.) After the Court's ruling on the Motion
to Dismiss, the Defendants filed their answer to the
amended complaint, which included 30 affirmative
defenses. (Doc. No, 29 at pp. 23-28.) Twenty-one
days later, Savage filed a Motion to Strike, which
targeted 23 responsive paragraphs and 13 affirmative
defenses in the Defendants’ answer. (Doc. No. 33.) The
Defendants have filed a response brief in opposition to

the Motion to Strike. (Doc. No. 34.) Having considered
the parties’ arguments, the Court will grant the motion
in part and deny the motion in part.

I. Legal Standard

Federal Rule of Civil Procedure 12(f) states that the
“court may strike from a pleading an insufficient
defense or any redundant, immaterial, impertinent, or
scandalous matter.” Fed. R. Civ. P. 12(); see also
Great W. Life Assur. Co. v. Levithan, 834 F. Supp. 858,
864 (E.D. Pa. 1993) (“A motion to strike under Rule
12(f) of the Federal Rules of Civil Procedure is the
proper method to eliminate matters in pleadings which
are found to be redundant, immaterial, impertinent or
scandalous” or “to object to an insufficient defense.”).
Although the “court possesses considerable discretion
in disposing of a motion to strike under Rule 12(f),”
N. Penn. Transfer, Inc. v. Victaulic Co. of Am., 859
F. Supp. 154, 158 (E.D. Pa. 1994) (quotation marks
omitted), “motions to strike are generally viewed with
disfavor,” Great W. Life Assur: Co., 834 F. Supp. at 864;
see also United States v. Marisol, 725 F. Supp. 833,
836 (M.D. Pa. 1989) (“[MlJotions to strike are often
viewed with disfavor because of their potential to be
used as a dilatory tactic.”). A motion to strike “is a
drastic remedy to be resorted to only when required for
the purposes of justice.” N. Penn. Transfer, Inc., 859
F. Supp. at 158 (quotation marks omitted); ef Marisol,
725 F. Supp. at 836 (noting that although motions to
strike are disfavored, “they do serve a useful purpose
by eliminating insufficient defenses and saving the
time and expense which would otherwise be spent in
litigating issues which would not affect the outcome of
the case”).

“Motions to strike are to be decided on the basis of the
pleadings alone.” N. Penn. Transfer, Inc., 859 F. Supp.
at 159 (quotation marks omitted). “A motion to strike
will not be granted where the sufficiency of a defense
depends on disputed issues of fact” and “even when
the facts are not in dispute, Rule 12(f) is not meant
to afford an opportunity to determine disputed and
substantial questions of law.” Jd.; see also Cipollone
v. Liggett Grp., Inc., 789 F.2d 181, 188 (3d Cir. 1986)
(requiring that “the insufficiency of the defense [be]
clearly apparent”).

*2 “[T]o succeed on a motion to strike, the moving
party must show that the allegations being challenged

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are so unrelated to the plaintiffs claims as to be
unworthy of any consideration as a defense and that
the moving party is prejudiced by the presence of
the allegations in the pleading.” Great W. Life Assur:
Co., 834 F, Supp. at 864; see also N. Penn. Transfer,
Inc., 859 F. Supp. at 158 (explaining that a motion to
strike “usually will be denied unless the allegations
have no possible relation to the controversy and
may cause prejudice to one of the parties, or if the
allegations confuse the issues”); Wilson v. King, Civ.
A. No. 06-CV-2608, 2010 WL 678102, at *4 (E.D.
Pa. Feb. 24, 2010). (“[E]ven if a motion to strike
is technically appropriate and well-founded, motions
to strike defenses as insufficient are often denied in
absence of a showing of prejudice to the moving

party.”).

IT. Defendants’ Pleading

Savage moves to strike paragraphs 4-7, 9, 10, 12, 13,
15, 16, 18-22, 27, 28-30, 36, 40, 62, and 63 of the
Defendants’ answer, along with affirmative defenses
1, 2, 5, 8, 9, 13, 14, 17, and 26-29. We review the
responsive paragraphs before turning to the affirmative
defenses.

A, The responsive paragraphs

Savage argues that paragraphs 4-7, 9, 10, 12, 13,
15, 16, 18-22, 27, 28-30, 36, 40, 62, and 63 of the
Defendants’ answer should be stricken because in
those paragraphs, the Defendants state that Savage's
allegations are legal conclusions to which no response
is required. (Doc. No. 33 at pp. 5, 10.) Savage argues
that the Defendants’ responses are inadequate because
these paragraphs of the amended complaint assert
factual allegations that demand a full response. (/d.)
The Defendants argne that their responses are proper
because: (1) many of the identified paragraphs in the
amended complaint state conclusions of law, and (2)
the Defendants provided factual responses to those
paragraphs that asserted facts. (Doc. No. 34 at p. 8.)

Federal Rule of Civil Procedure 8(b) governs
responsive pleadings and requires the responding party
to “admit or deny the allegations asserted against it
by an opposing party.” Fed. R. Civ. P. 8(b)(1)¢B).
“A denial must fairly respond to the substance of the
allegation.” Fed. R. Civ. P. 8(b)(2). If the party intends
to “deny all the allegations of a pleading” it may “do

so by a general denial,” but otherwise, a party “that
does not intend to deny all the allegations must either
specifically deny designated allegations or generally
deny all except those specifically admitted.” Fed. R.
Civ. P. 8(b)(3).

We find that the Defendants have provided a sufficient
response to most of the identified paragraphs. First,
we agree with the Defendants that paragraphs 20-22
and 27-30 of the amended complaint state conclusions
of law. For example, paragraph 20 states that the
“Defendants were ‘employers’ and Plaintiff was an
‘employee’ within the meaning of the applicable
law.” (Doc. No. 18 at p. 4 J 20.) That is a conclusion
about the legal relationship between Savage and the
Defendants. Similarly, paragraphs 28, 29, and 30 assert
that this Court has jurisdiction, that venue is proper
here, and that the Court has the authority to issue a
declaratory judgment. (/d. at p. 5 ff] 28-30.) Those
are also clearly legal conclusions. The Court finds
the Defendants’ general denial of these paragraphs
sufficient under Rule 8(b), and therefore, will deny the

Motion to Strike as to paragraphs 20-22 and 27-30.

*3 In addition, the Court will deny the Motion to
Strike as to the Defendants’ responses to paragraphs
4-6, 36, 40, and 63 of the amended complaint.
Although we do not agree with the Defendants
that these paragraphs state pure conclusions of
law, the Defendants also provided a specific
fact-based denial to Savage's allegations. For
example, paragraph 4 of the amended complaint
states that “Defendant TEMPLE UNIVERSITY-OF
THE COMMONWEALTH SYSTEM OF HIGHER
EDUCATION is a domestic non-profit corporation
duly existing under the laws of the Commonwealth
of Pennsylvania.” (Doc. No. 18 at p. 2 ¥ 4.) The
Defendants deny this allegation as stated and respond
that “Defendant Temple University is a corporation
with an office at 1601 N. Broad Street, Philadelphia,
PA 19122. The remaining allegations as set forth in this
paragraph are denied.” (Doc. No. 29 at p. 2] 4.)

Similarly, in paragraph 36, Savage alleges that
“Defendant CASEY permitted Plaintiff to attend the
services on Friday, June 8, 2018.” (Doc. No. 18 at
p. 5 ¥ 36.) In their response, the Defendants deny
the allegation and state that “Plaintiff did not receive
approval from Casey to be absent from work on Friday,

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June 8, 2018.” (Doc. No. 29 at p. 7 7 36.) Because the
Defendants have sufficiently responded to the factual
allegations raised in paragraphs 4-6, 36, 40, and 63
of the amended complaint, the Motion to Strike will
be denied as to those paragraphs in the Defendants’

answer. 2

That leaves the Defendants’ responses to paragraphs
7, 9, 10, 12, 13, 15, 16, 18, 19, and 62. The Court
will grant the Motion to Strike as to those paragraphs
because they do not adequately respond to the factual
allegations in Savage's amended complaint. See Great
W. Life Assur. Co., 834 F. Supp. at 865 (In its responses
to certain paragraphs of the complaint, “the Defendant
alleges that Plaintiff's averments are conclusions of
law and do not require a reply. Upon review of the
above paragraphs in Plaintiff's Complaint, this Court
finds that Plaintiff's averments in [those] paragraphs ...
are not conclusions of law, but are factual allegations
which require a response by the Defendant.”); see
also Thomas, 2019 WL 8013742, at *6 (finding that
“the defendants’ response here [did] not comply with
Rule 8(b) because the allegations at issue are, plainly,
factual allegations and not conclusions of law’); Wells
Fargo Bank, N.A. ex rel. Registered Holders v. 2600
E. Carson St. Assocs., L.P., No. 2:17-CV-00764-CRE,
2018 WL 183220, at *3 (W.D. Pa. Mar. 7, 2018)
(finding that the Defendants “general denial” and
assertion that the “allegations are conclusions of law to
which no response is required” did not “fairly respond
to the substance of the allegation,” which was “entirely
factual”).

*4 Paragraph 7 of the amended complaint states
that the “Defendants TEMPLE UNIVERSITY-OF
THE COMMONWEALTH SYSTEM OF HIGHER
EDUCATION and TEMPLE UNIVERSITY-OF
THE COMMONWEALTH SYSTEM OF HIGHER
EDUCATION d/b/a TEMPLE UNIVERSITY
(hereinafter collectively referred to as Defendants
and “TEMPLE”) are joint and single employers of
Plaintiff.” (Doc. No. 18 p. 2 § 7.) In response, the
Defendants generally deny the allegation and state that
Temple University is “a corporation with an office at
1601 N. Broad Street, Philadelphia, PA 19122.” (Doc.
No. 29 at p. 2 J 7.) That response does not adequately
address Savage's allegation that he was employed by
the two identified Defendants. Although this paragraph
may touch on legal issues, such as whether Savage

and the Temple Defendants entered an employer-
employee relationship, we find that paragraph 7,
at heart, states a fact: Savage was employed by
the identified Defendants (whether as an employee,
independent contractor, or any other classification).
Similarly, paragraph 62 of the amended complaint,
which states that the “defendants unlawfully upheld
the unlawful termination of Plaintiff,” includes both a
conclusion of law (that the termination was unlawful)
and an assertion of fact (that the Defendants upheld
the termination). Last, we find that the remaining
paragraphs — 9, 10, 12, 13, 15, 16, 18, and 19 of the
amended complaint — also contain factual allegations
— notably, that individual Defendants “held hiring
and firing authority” and “supervisory authority” over
Savage. (Doc. No. 18 at p. 3 at 49 9, 10, 12, 13, 15, 16,
18, 19.) Because the Defendants have not adequately
responded to the factual allegations raised in these
paragraphs, we will grant the Motion to Strike as to
them. Cf Great W. Life Assur. Co., 834 F. Supp. at 865.

The Motion to Strike will be granted as to paragraphs 7,
9,10, 12, 13, 15, 16, 18, 19, and 62 of the Defendants’
answer. It is denied as to paragraphs 4-6, 20-22, 27—
30, 36, 40, and 63.

B. The affirmative defenses

Next, Savage argues that many of the Defendants’
affirmative defenses are insufficient and should be
stricken. (Doc. No. 33 at pp. 5-6.) Specifically, he
argues that defenses 1, 2, 5, 8, 9, 13, 14, 17, and 26—
29 should be stricken because the Defendants have
“no valid basis or factual basis for these defenses,
and they confuse the issues.” (Ud. at pp. 7-10.)
Savage also argues that he will be prejudiced if these
affirmative defenses are allowed to stand because he
will have to engage in continued and burdensome
discovery to discern how these defenses relate to his
claims, necessitating further depositions and discovery
requests. (/d. at p. 10.)

In reviewing the challenged affirmative defenses, we
do not apply the Twombly/gbal plausibility standard.
See Tyco Fire Prods. LP v. Vietaulic Co., 777 F. Supp.
2d 893, 895 (E.D. Pa. April 12, 2011); Alliance Indus.
Ltd. y. A-1 Specialized Servs. & Supplies, Inc., Civ, A.
No. 13-2510, 2014 WL 4548474, at *2 (E.D. Pa. Sept.
11, 2014) (adopting Tyco Fire Products’ reasoning);
Weed v. Ally Fin, Inc., Civ. A. No. 11-2808, 2012 WL

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2469544, *3 (E.D. Pa. June 28, 2012) (same) (finding
that “many courts, including the majority of district
courts in this Circuit, have persuasively argued that
Twombly/Igbal does not apply”). Instead, we look only
to whether the affirmative defense provides “fair notice
of the issue involved.” Jd. (explaining that this is “not
an exacting standard even remotely approaching the
type of notice required of a claim under Twombly and
Igbal”). “Providing knowledge that the issue exists,
not precisely how the issue is implicated under the
facts of a given case, is the purpose of requiring
averments of affirmative defenses,” and the court will
strike defenses challenged on sufficiency grounds only
if they fail to meet this low standard. Jd. at 901;
see also Alliance Indus. Ltd., 2014 WL 4548474, at
*3 (denying a motion to strike affirmative defenses
where the defense “adequately puts Plaintiffs on notice
that this is a defense that may be developed through
factual discovery”); Weed, 2012 WL 2469544, at *4
(denying a motion to strike because “Defendant's
affirmative defenses, though void of factual details,
provide Plaintiffs with fair notice because Plaintiffs are
now aware that the issue exists”).

With this standard in mind, we begin with affirmative
defenses 1 and 26-29. The Defendants’ first
affirmative defense states that Savage has “failed to
state a cause of action upon which relief can be
granted.” (Doc. No. 29 at p. 23.) Similarly, affirmative
defenses 26, 27, 28, and 29 state that Savage has failed
to state a cause of action under the PHRA (Defense
26), under the PFPO (Defense 27), for declaratory
relief (Defense 28), and for injunctive relief (Defense
29). Ud. at p. 27.) Savage argues that each defense
is “insufficient” because the “Amended Complaint
clearly stated a claim for relief.” (Doc. No. 33 at pp.
7-9.) In addition, for affirmative defense 29, Savage
argues that this defense must be stricken because “this
Court found that Plaintiff's claim for injunctive relief
survived Defendants’ motion to dismiss.” (Jd. at p. 10.)

*5 To the extent Savage argues that these defenses
fail because he has “stated a claim for relief,” the Court
declines to address the merits of these issues at this
time. See Cipollone v. Liggett Grp., Inc., 789 F.2d 181,
188 (3d Cir. 1986) (explaining that “a court should
restrain from evaluating the merits of a defense” at the
motion to strike stage because “the factual background
for a case is largely undeveloped”). “The Federal Rules

specifically permit an averment of failure to state a
claim to be raised as an affirmative defense.” Cintron
Beverage Grp., LLC v. Depersia, No. Civ. A. 07~
3043, 2008 WL 1776430, at *2 (E.D. Pa. Apr. IS,
2008); see also N. Penn. Transfer, Inc., 859 F, Supp.
at 164-65 (refusing to strike affirmative defense that
the complaint fails to state a cause of action because
“this defense is clearly appropriately asserted in the
responsive pleading”); Knit With v Knitting Fever;
Inc., Civ. A. Nos. 08-4221, 08-4775, 2009 WL 973492,
at *7~-8 (E.D. Pa. Apr. 8, 2009) (finding that the
defendants did not waive their defense of failure to
state a claim “by failing to present it in their original
Motion to Dismiss” because “Federal Rule of Civil
Procedure 12(h) not only exempts this defense from
any type of waiver, but in fact explicitly permits it to
be raised by pleading, Rule 12(c) motion, or at trial’’).

In addition to being permissible under the Rules,
affirmative defenses 1 and 26-28 give Savage fair
notice of the issues. Weed, 2012 WL 2469544, at
*4. Therefore, the Motion to Strike will be denied
as to those affirmative defenses. However, because
we agree with Savage that our previous order denied
the Defendants’ Motion to Dismiss Savage's claim
for injunctive relief (Doc. No. 23), the Motion to
Strike will be granted as to affirmative defense

29.3 See United States v. CVS Caremark Corp.,
Civ. A. No, 09-4672, 2013 WL 1755214, at *4
(E.D. Pa. Apr. 24, 2013) (granting motion to strike
affirmative defenses that merely reiterated arguments
in the defendant's motion to dismiss, which the Court
previously rejected).

Next, we address affirmative defenses 13 and
14, which state that the “Plaintiffs claim for
religious discrimination and retaliation fails” because
Savage “rejected Defendants proposed reasonable
accommodation” (Defense 13) and because Savage
“failed to engage in the interactive process” (Defense
14). (Doc. No. 29 at p. 25.) Savage argues that these
defenses are “insufficient” because the depositions of
individual Defendants show that they never offered
Savage an accommodation and that Savage asked to
engage in an interactive process. (Doc. No. 33 at pp.
8-9 (quoting deposition transcripts).) The Defendants
argue that it would be improper to strike these
paragraphs because these affirmative defenses rest on

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disputed issues of fact. (Doc. No. 34 at pp. 6-7.) We
agree.

*6 As Savage's own argument demonstrates, the
applicability of these affirmative defenses will turn
on the specific facts of this case, including each
Defendant's knowledge and the nature of their
interactions with Savage about his request to attend
religious services. Because there are disputed issues
of fact, we will deny the Motion to Strike affirmative
defenses 13 and 14. See N. Penn. Transfer, Inc., 859 F.
Supp. at [59 (“A motion to strike will not be granted
where the sufficiency of a defense depends on disputed
issues of fact.’”); see also Weed, 2012 WL 2469544, at
*2 (“A motion to strike will not be granted where the
sufficiency of the defense depends on disputed issues
of facts or where it is used to determine disputed and
substantial questions of law.”).

Third, the Court turns to affirmative defenses 2 and 5,
which contend that Savage's claims are barred by the
applicable statute of limitations and that Savage has
failed to exhaust administrative remedies. (Doc. No.
29 at pp. 23-24.) Savage argues that these defenses
are “insufficient” because the amended complaint
“expressly delineates the time period relevant to his
claims” and shows that those claims were “timely
filed” with the administrative agencies. (Doc. No. 33
at p. 7.) In their response, the Defendants argue that
these defenses should stand, in part, because they rest
on issues of fact, such as whether Savage raised his
intersectional discrimination claim in his Charge of
Discrimination. (Doc. No. 34 at pp. 5-6.)

The Court will deny the Motion to Strike as to
these defenses. If, as the Defendants argue, Savage
failed to raise a claim for intersectional discrimination
before the relevant administrative agencies, then the
Defendants could succeed on their failure to exhaust
and statute of limitations defenses. See Alliance
Indus. Ltd., 2014 WL 4548474, at *3 (“Defendant
need not plead the factual basis of the [defense of
substantial] performance if some set of facts could
support the defense.”) (emphasis added); see also N.
Penn. Transfer, Inc., 859 F. Supp. at 159 (“A motion
to strike will not be granted where the sufficiency
of a defense depends on disputed issues of fact.”).
Because affirmative defenses 2 and 5 rest on issues
of fact, the Court will deny the Motion to Strike

as to those defenses. Cf id. at 164 (finding that
the defendant's statute of limitations “defense fairly
presents a question of law and fact which cannot be
decided at this point in the litigation”).

Fourth, we evaluate affirmative defenses 8 and
17. Affirmative defense 8 contends that the Court
“Jacks jurisdiction over all claims not included in
Plaintiff's Charge of Discrimination dual filed with the
Equal Employment Opportunity Commission and the
Pennsylvania Human Relations Commission.” (Doc.
No. 29 at p. 24.) Defense 17 states the “Plaintiff's
claims are barred, in whole or in part, by the doctrine of
waiver.” (Id. at p. 26.) Savage argues that both defenses
should be stricken because they are “confusing” and
“confuse the issues in this case.” (Doc. No. 33 at
pp. 7, 9.) Specifically, Savage argues that affirmative
defense 8 is “insufficient” because it is unclear
“which claim in particular Defendants are referring
to, thereby providing no notice to Plaintiff as to
which claims they are challenging on a jurisdictional
basis.” (Ud. at p. 7.) Similarly, Savage argues that
defense 17 is “insufficient” because the Defendants
have not “presented any factual basis for this defense,”
rendering it impossible for Savage to “determine how
the defense of waiver is applicable to this case.” (/d.
at p. 9.)

Contrary to Savage's assertions, the Defendants are
not required to detail the “factual basis” for their

defenses. As we have explained, “[p]roviding
knowledge that the issue exists, not precisely how the
issue is implicated under the facts of a given case,
is the purpose of requiring averments of affirmative
defenses,” and the court will strike defenses challenged
on sufficiency grounds only if they fail to meet this
low standard. N. Penn. Transfer, Inc., 859 F. Supp. at
164 (noting that “applying the concept of notice to
require more than awareness of the issue's existence
imposes an unreasonable burden on defendants who
risk the prospect of waiving a defense at trial by failing
to plead it”); see also Weed, 2012 WL 2469544, at
*4 (denying a motion to strike because “Defendant's
affirmative defenses, though void of factual details,
provide Plaintiffs with fair notice because Plaintiffs are
now aware that the issue exists”). The Court finds that
defenses 8 and 17 meet this low standard and provide
sufficient notice to Savage that the issues of exhaustion

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paragraphs 7, 9, 10, 12, 13, 15, 16, 18, 19, and 62 of

and waiver exist. Therefore, the Motion to Strike will : , :
their answer are stricken, and the Defendants required

also be denied as to affirmative defenses 8 and 17. : .
to submit new responses. Affirmative defenses 9 and

29 are also stricken. The remainder of the Motion is

*7 Last, the Court will grant the Motion to Strike
denied.

affirmative defense 9, which the Defendants have

agreed to withdraw.
An appropriate order follows.

I. Conclusion
In sum, the Motion to Strike is granted in part

and denied in part. The Defendants’ responses in Not Reported in Fed. Supp., 2020 WL 5602651

All Citations

Footnotes

1 Some district courts in this Circuit have read Rule 8(b) as permitting “only three ways to respond
to an allegation: (1) admit it (2) deny it or (3) state that the party lacks knowledge or information
sufficient to form a belief about the truth of the allegations.” Kegerise v. Susquehanna Twp. Sch.
Dist., 321 F.R.D. 121, 124 (M.D. Pa. 2016); see also, e.g., Thomas v. Duvall, Civ. No. 3:16-
cv-00451, 2019 WL 8013742, at *6 (M.D. Pa. Oct. 3, 2019) (quoting Kegerise, 321 F.R.D. at 124).
Based on this reading, the courts conclude that the Rule does not “permit a party to refuse to
respond to an allegation by asserting it is a conclusion of law.” Kegerise, 321 F.R.D. at 124. Unlike
those cases, however, the Defendants in this case do not rest their response on the assertion
that Savage's allegations are “legal conclusions to which no responsive pleading is required.” The
Defendants also explicitly “deny the allegations” in each paragraph. We find those general denials
sufficient. See Fed. R. Civ. P. 8(b)(3) (“A party that intends in good faith to deny all the allegations
of a pleading — including the jurisdictional grounds — may do so by a general denial.”).

2 Paragraph 40 of the amended complaint states:

Plaintiff at the time presented a six-page letter to Defendant CASEY requesting to attend the
services and further stated that he would be willing to work on Christmas and recognized
holidays for religions other than Islam so that his co-workers could have time off to observe their
holidays as well. The letter also included citations to regulations from Temple’s policies, the
Commonwealth of Pennsylvania, and the U.S. EEOC pertaining to religious accommodation
and employment law.

(Doc. No. 18 at p. 6 § 40.) In their answer, the Defendants “deny the allegations in this paragraph,
which purport to characterize the contents of a written document that speaks for itself.” The
Court finds that this is a sufficient response, and therefore, denies the motion to strike as to
this paragraph. Cf. Great W. Life Assur. Co., 834 F. Supp. at 865 (denying motion to strike
responses in which the “Defendant alleges that the writings speak for themselves” because “the
Court finds that such responses are denials of the Plaintiff's characterization and representation
of the writings”).

3 The Defendants argue that striking this defense is improper because the Court's previous opinion
found only that the Plaintiff had standing to assert a claim for injunctive relief. (Doc. No. 34 at
pp. 7-8.) Although the Court's previous order rested on a finding that Savage had standing to

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seek injunctive relief, the Court broadly denied the Defendants’ motion to dismiss the claim for
injunctive relief. (See Doc. No. 22 at p. 15.) The Defendants also argue that deposition testimony
shows Savage had no intention of returning to work, meaning that disputes of fact remain about
whether Savage can seek injunctive relief. (Doc. No. 34 at pp. 78.) But these fact issues have no
bearing on whether the amended complaint fails to state a claim for injunctive relief. See Marisol,
725 F. Supp. at 836 (“As the Government correctly points out, however, the defense of failure
to state a claim upon which relief can be granted challenges only the formal sufficiency of the
claims set forth in the complaint.”) Because affirmative defense 29 attacks the sufficiency of the
amended complaint, and the Court previously found that the amended complaint stated a claim
for injunctive relief, the defense will be stricken. However, we note that the Defendants are free
to raise these fact-based issues at summary judgment, and to argue that Savage lacks standing
to take his injunctive relief claim to trial. See Va. House of Delegates v. Bethune-Hill, 139 S. Ct.
1945, 1951 (2019) (“Although rulings on standing often turn on a plaintiff's stake in initially filing
suit, Article Ill demands that an ‘actual controversy’ persist throughout all stages of fitigation.”)
(quotation marks omitted).

4 Also, as noted above, the Defendants specifically argue in their response brief that Savage failed
to assert a claim for intersectional discrimination in his Charge of Discrimination.

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2019 WL 8013742,
Only the Westlaw citation is currently available.
United States District Court, M.D. Pennsylvania.

Angel Luis THOMAS, Plaintiff,
Vv.
Angela R. DUVALL, et al., Defendants.

CIVIL NO. 3:16-CV-00451
|
Signed 10/03/2019

Attorneys and Law Firms

Marianne Sawicki, Law Office of Marianne Sawicki
LLC, Huntingdon, PA, for Plaintiff.

Daniel J. Gallagher, Office of the Attorney General,
Harrisburg, PA, Maria G. Macus, Theron R. Perez,
Chief Counsel's Office Pennsylvania Department of
Corrections, Mechanicsburg, PA, for Defendants.

REPORT AND RECOMMENDATION

Susan E. Schwab, Chief United States Magistrate
Judge

I. Introduction.

*1 This is a civil rights case regarding an
inmate's placement in a particular prison and the
inmate's ability to confer with an attorney while
incarcerated in that prison. The plaintiff, Angel Luis
Thomas (“Thomas”), is a former inmate at the State
Correctional Institution in Huntingdon, Pennsylvania
(“SCI Huntingdon” or “the prison”) who has since
been released from custody. Thomas identifies as
African American and Hispanic. Thomas alleges that
his placement in SCI Huntingdon was based on a
policy of disproportionately placing African American
and Hispanic prisoners in that prison so as to impede
those prisoners from pursuing civil litigation. Thomas
raises eight claims against a variety of defendants
from SCI Huntingdon and from the central office of
the Pennsylvania Department of Corrections (“DOC”),
all of which arise either from his placement in SCI
Huntingdon, his visits with his attorney while he was
incarcerated in SCI Huntingdon, or his ability to pursue
civil litigation while incarcerated in SCI Huntingdon.

The case is presently before the court on a motion
for summary judgment filed by the defendants.
The defendants argue they are entitled to summary
judgment because Thomas failed to exhaust his
administrative remedies, because his claims arising
from his placement at SCI Huntingdon are barred
by the applicable statute of limitations, because
Thomas cannot prove facts sufficient to establish a
violation of his rights, and because the defendants
are entitled to qualified immunity. This report and
recommendation addresses the defendants’ motion for
summary judgment. For the reasons that follow, we
recommend that the motion for summary judgment
be granted as to Counts I and VI of Thomas's
amended complaint; that the motion be granted to the
extent that Thomas's amended complaint challenges
the conditions of his confinement; that the motion
be granted as to all claims against defendants Joanne
Torma, William Nicklow, and Shirley Moore Smeal;
and that the motion be denied in all other respects.

II. Background and Procedural History.

Thomas initiated this case by filing a complaint
on March 14, 2016. Doc. J. Thomas's complaint
raised claims exclusively against defendants who
worked at SCI Huntingdon, including Corrections
Officer Angela Duvall (“Duvall”); Sergeant W.M.
Ritchey (“Sergeant Ritchey”); Captain Ron Smith
(“Smith”); Corrections Officer Matthew Ritchey

“CO Ritchey”); ! lieutenants Gill, Dixon, Wendle,
and Dunkle; Superintendent's Assistant Constance
Green (“Green”); and Superintendent James Eckard
(“Eckard”). Doc. 1 J§ 4-13. The complaint focused
its allegations on four visits that attorney Marianne

Sawicki” made to SCI Huntingdon—three to visit

Thomas and one to visit Ivan White (“White”), >
another inmate at the prison. In each of Sawicki's visits,
staff at the prison allegedly interfered with her ability
to have a confidential conference with her client. In
the first visit, which occurred on August 14, 2014,
Duvall and CO Ritchey refused to allow Sawicki
to have a confidential visit with Thomas, allegedly
at the direction of Green, Dixon, Sergeant Ritchey,
and Smith. Jd, [| 24~26. In the second visit, which
occurred on August 30, 2014, Duvall, CO Ritchey,
and Smith again allegedly interfered with Sawicki's
ability to speak confidentially with her client, which

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in this instance was White. Id. 4] 31-42. In the third
visit, which occurred on October 30, 2014, Sawicki
and Thomas attempted to speak confidentially, but
were placed in a non-contact booth with inoperable
phones, causing them to have to shout to be heard
by one another and allowing other inmates and their
visitors to hear them. Jd. {§] 49-53. In the fourth and
final visit mentioned in the complaint, which occurred
on May 23, 2015, Sawicki visited the prison to help
prepare Thomas to testify in a federal hearing for a
fellow inmate, Roberto Camacho, Jr. (“Camacho”).
Id, ¥ 57. Prison staff placed Thomas and Sawicki
in a non-contact booth that had open louvers in the
door, which allowed staff outside the booth to hear
their conversation. Jd. { 61. Duvall also repeatedly
interrupted Thomas and Sawicki's conference by
opening the door without announcing her presence
and making “numerous threatening and disparaging
comments.” Jd. {ff 122-24. The complaint alleged
that the defendants’ actions and SCI Huntingdon's
facilities for attorney-client visits deterred attorneys
from visiting clients and that the defendants’ actions
were based on “a policy of discouraging attorneys
from visiting Thomas and prisoners like Thomas for
the purpose of discussing civil litigation and giving
legal advice to the prisoners.” Jd. {| 75-77. The
complaint alleged that the defendants’ actions in the
case were based on racial hostility towards Thomas
and Camacho as Hispanic individuals and towards
Thomas and White as African Americans. Id. 7 88. The
complaint further alleged that inmates at other DOC
prisons who were not classified as African American or
Hispanic were allowed to have confidential visits with
their attorneys. /d. | 92. The complaint raised eight

counts against the defendants, * including violation
of Thomas's right to equal protection of the laws;
violation of his right of access to the courts;
conspiracy to violate his right of access to the courts;
violation of his constitutional rights to privacy, free
speech, and free association; conspiracy to violate his
constitutional rights to privacy, free speech, and free
association; conspiracy to violate his right to equal
protection; conspiracy to deter from testifying under
42 U.S.C. § 1985; and neglect to prevent deterrence
with his right to testify. Jd. at 20-27. As relief, Thomas
sought declaratory and injunctive relief as well as
compensatory and punitive damages. Jd. at 27.

*2 The defendants filed a motion to dismiss Thomas's
complaint on May 10, 2016, raising a number of
arguments for dismissal. Doc. 5. First, the defendants
argued that Thomas's claims regarding Sawicki's visits
with inmates at SCI Huntingdon were barred by
collateral estoppel given the prior rulings denying
preliminary injunctions in Lane v. Tavares, No.
14-CV-00991, and Camacho v. Dean, No. 1:14-
CV-01428. Doe. 5 Jf 21-22. Second, the defendants
argued that Thomas's access-to-courts claim should
be dismissed because he had not alleged any actual
injury to his access to court. Jd. J] 33, 39, 42. Third,
the defendants argued that Thomas's equal protection
claim should be dismissed because Thomas had failed
to plead the existence of similarly situated individuals
who were treated differently from Thomas. See id. 4
43-56. Fourth, the defendants argued that Thomas's
freedom of association and freedom of speech claims
should be dismissed because Thomas could associate
with Sawicki via telephone and letter even if his in-
person visits were curtailed. See id. 9] 57-61. Fifth, the
defendants argued that Thomas did not have standing
to bring claims arising out of Sawicki's visits with
White. Id. J 64. And finally, the defendants argued
that all claims against Dunkle should be dismissed
because the only allegations against Dunkle pertained
to Sawicki's visits with White. Id. J 65.

We addressed the defendants’ motion to dismiss
via report and recommendation on March 1, 2017,
recommending that the court grant in part and deny
in part the defendants’ motion to dismiss. Doc. 13
at 45. Specifically, we recommended that the court
(1) grant the motion to the extent that it sought
dismissal of all claims against Dunkle (id. at 20);
(2) deny the motion to the extent that it sought
dismissal on the basis of collateral estoppel Gd. at
24); (3) grant the motion and dismiss Thomas's equal
protection and conspiracy to violate equal protection
claims without prejudice (id. at 29-31); (4) dismiss
Thomas's access-to-courts claim with prejudice to the
extent that it sought relief for his failure to testify
in Camacho's case and dismiss it without prejudice
in all other respects (id. at 38); (5) dismiss Thomas's
conspiracy to violate his right of access to the courts
claim without prejudice (id.); (6) dismiss Thomas's
right-to-privacy claim and associated conspiracy claim
without prejudice; and (7) deny the motion with
respect to Thomas's First Amendment free speech

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and free association claims (id. at 44). Judge Brann
adopted our report and recommendation on July 10,
2017, dismissing Thomas's claims against Dunkle but
otherwise granting Thomas leave to file an amended
complaint. Doc. 18 at 13.

Thomas filed an amended complaint on August 6,
2017. Doc. 21. The amended complaint removes
Dunkle as a defendant but adds three additional
defendants: Joanne Torma (“Torma’’), the Director
of the DOC's Office of Population Management
(“OPM”) between 2010 and 2014; William Nicklow
(“Nicklow”), the Director of OPM from 2014 to
the date of the amended complaint; and Shirley
Moore Smeal (“Smeal’’), the DOC's Executive Deputy
Secretary. Id. ff 13-15. The other defendants who
were named in the original complaint are also named as

defendants in the amended complaint. 5 The amended
complaint largely focuses on the four visits that were
alleged in the original complaint but also contains
additional allegations regarding Thomas's placement
in SCI Huntingdon. The amended complaint alleges
that “Inmates who are classified as ‘Black or African
American’ by DOC are much more likely to be
assigned to SCI Huntingdon than are inmates classified
‘White or Caucasian.’ ” Id. J 30. According to the
amended complaint, “DOC statistics show that Black
inmates are about 30% more likely than White inmates
to be housed at SCI Huntingdon” and that inmates
classified as Hispanic or Latino are 7.5% more likely
to be assigned to SCI Huntingdon than are white
inmates. Id. 30-31. The amended complaint alleges
that the higher rates at which black and Hispanic
inmates are housed in SCI Huntingdon is due to
“discriminatory policies and practices developed by
DOC's Office of Population Management ... and
implemented by staff at SCI Huntingdon and other
prisons throughout the Commonwealth.” Jd. J 32.
The amended complaint alleges that Torma, Nicklow,
and Smeal are responsible for the OPM's policy and
that this policy both led to Thomas's placement at
SCI Huntingdon and “had the continuing effect of
keeping him there for many years.” Jd. J] 33-36.
According to the amended complaint, the policy of
discriminatorily assigning black and Hispanic inmates
to SCI Huntingdon was put in place and allowed to
continue “with the intent and effect of insuring that
Black and Hispanic prisoners, like the plaintiff, would
have less access than White prisoners to facilities for

confidential attorney conferences and to other modest
amenities of prison life such as accessible worship
and recreational spaces, vermin-free living space, and
adequate ventilation.” Id. ¥ 35.

*3 According to the amended complaint, the SCI
Huntingdon defendants implemented and enforced the
policies of unequal treatment of black and Hispanic
inmates by interfering with attorney conferences and
denying attorneys access to visit black and Hispanic
inmates. Id. FJ 44, 46. The amended complaint
alleges that the “Huntingdon Defendants deprived Mr.
Thomas and many other minority prisoners of access
to confidential attorney conferences because of racial
hostility toward African Americans, Hispanics, and
men of mixed race.” Jd. | 47.

Thomas raises eight counts in his amended complaint.
In Count I, Thomas alleges that the defendants
violated his right to equal protection. Id. J] 160-63.
Specifically, Thomas alleges that Torma, Nicklow, and
Smeal violated his right to equal protection when they
“instituted or acquiesced in and implemented” a policy
of disproportionately assigning minority inmates to
SCI Huntingdon and that the defendants at SCI
Huntingdon violated his right to equal protection when
they “willingly implemented” that policy. /d. In Count
II, Thomas alleges that the defendants violated his
constitutional right of access to the courts—Torma,
Nicklow, and Smeal by “causing him to be housed
at SCI Huntingdon while knowing that he would
be prevented from having confidential contact visits
with any attorney there,” and the SCT Huntingdon
defendants by depriving him of confidential visits with
his attorney. Jd. ff 164-68. In Count III, Thomas
alleges that the defendants engaged in a conspiracy
to violate his right of access to the courts, Jd
169-72. In Count IV, Thomas alleges that the
SCI Huntingdon defendants violated his constitutional
rights to privacy, free speech, and free association by
refusing to accommodate confidential visits with his
attorney. Id. J 173-76. In Count V, Thomas alleges
that the defendants conspired to violate his rights to
privacy, free speech, and free association. Jd. {J 177—
80. In Count VI, Thomas alleges that the defendants
conspired to violate his right to equal protection.
Id. 9 181-84. In Count VII, Thomas alleges that
Duvall, Wendle, Green, and Eckard conspired to
prevent Thomas from testifying in federal court in

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violation of 42 ULS.C. § 1985. Id J§ 185-88. In
Count VIII, Thomas alleges that Wendle, Green, and
Eckard neglected to prevent the other defendants from
deterring Thomas from testifying in federal court in
violation of 42 U.S.C. § 1986. Id. F¥j 189-92.

Torma, Nicklow, and Smeal filed a motion to dismiss
all claims against them on August 17, 2017 and a
supporting brief on August 31, 2017. Docs. 24, 27.
Torma, Nicklow, and Smeal argued that the claims
against them should be dismissed because the court's
grant of leave to amend did not allow the addition of
new parties. Doc. 27 at 3. They further argued that
the claims against them were barred by the applicable
statute of limitations, /d. at 4-6.

We addressed the motion to dismiss im a report
and recommendation on January 29, 2018. Doc.
32. Although we found that Torma, Nicklow, and
Smeal could be added to the case consistent with the
court's grant of leave to amend, id. at 25, we found
that the additional allegations in Thomas's amended
complaint did not cure the defects that we previously
identified with regard to his equal protection claim
because the amended complaint still did not allege
that Thomas was treated differently from other persons
who were similarly situated to him. Jd. at 28-29.
Although the motion to dismiss was brought only by
Torma, Nicklow, and Smeal, we sua sponte found
that Thomas had failed to state an equal protection
claim against the defendants named in the original
claim. /d. at 31. Accordingly, we recommended that
Thomas's equal protection claim and conspiracy to
violate equal protection claims be dismissed. Id. at
50-51. We also recommended denying the motion
to dismiss with regard to Thomas's access-to-courts
claim, finding that the defendants had not sufficiently
developed arguments warranting dismissal as to that
claim. Jd. at 34. Finally, we rejected the argument
that the claims against Torma, Nicklow, and Smeal
should be dismissed for violation of the statute
of limitations, noting that the defendants had not
adequately developed that argument. Jd. at 49.

*4 Judge Brann adopted in part and rejected in
part our report and recommendation on May 2,
2018. Doc. 40 at 4. Judge Brann rejected our
report and recommendation insofar as it recommended

dismissing Thomas's equal protection claim and
conspiracy to deny equal protection claim, stating:

Plaintiffs Amended Complaint alleges that the
Additional Defendants violated Plaintiff's rights
under the Equal Protection Clause by assigning
him and other minority inmates to SCI Huntingdon,
where conditions are allegedly ‘antiquated and in
deplorable condition.... For purposes of an Equal
Protection Clause analysis, then, ‘similarly situated’
individuals would be non-minority inmates assigned
to prisons other than SCI Huntingdon.

Doc. 40 at 3-4. Judge Brann accordingly denied the
motion to dismiss and directed all the defendants
to file an answer in response to Thomas's amended
complaint. Jd. The defendants filed an answer and
affirmative defenses to Thomas's amended complaint
on May 31, 2018. Doe. 41. Following the conclusion of
discovery, the defendants filed a motion for summary
judgment on April 22, 2019. Doc. 67. The defendants
filed a brief in support of their motion on May 6, 2019,
Thomas filed a brief in opposition on May 28, 2019,
and the defendants filed a reply brief on June 25, 2019.
Docs. 74, 83, 86. We consider the parties’ summary
judgment arguments below.

JIL. Summary Judgment Standard.

“A party may move for summary judgment,
identifying each claim or defense—or the part of each
claim or defense—on which summary judgment is
sought.” Fed. R. Civ. P. 56(a). “The court shall grant
summary judgment ifthe movant shows that there is no
genuine dispute as to any material fact and the movant
is entitled to judgment as a matter of law.” Id.

In a summary judgment motion, the moving party
“bears the initial responsibility of informing the district
court of the basis for its motion, and identifying
those portions of the pleadings, depositions, answers to
interrogatories, and admissions on file, together with
the affidavits, if any, which it believes demonstrate the
absence of a genuine issue of material fact.” Celotex
Corp. v. Catrett, 477 U.S. 317, 323 (1986). With
respect to an issue on which the nonmoving party bears
the burden of proof, the moving party may discharge
that burden by “ ‘showing’—that is, pointing out to the
district court-—that there is an absence of evidence to
support the nonmoving party's case.” Jd. at 325.

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Once the moving party has met its burden, the
nonmoving party may not rest upon the mere
allegations or denials of its pleading; rather, the
nonmoving party must show a genuine dispute by
“citing to particular parts of materials in the record,
including depositions, documents, electronically
stored information, affidavits or declarations,
stipulations (including those made for purposes of the
motion only), admissions, interrogatory answers, or
other materials” or “showing that the materials cited do
not establish the absence ... of a genuine dispute.” Fed.
R. Civ. P. 56(c). If the nonmoving party “fails to make
a showing sufficient to establish the existence of an
element essential to that party's case, and on which that
party will bear the burden at trial,” summary judgment
is appropriate. Celotex, 477 U.S. at 322. Summary
judgment is also appropriate if the nonmoving party
provides merely colorable, conclusory, or speculative
evidence. Anderson v. Liberty Lobby, Inc., 477 USS.
242, 249 (1986). There must be more than a scintilla of
evidence supporting the nonmoving party's claims and
more than some metaphysical doubt as to the material
facts. Id. at 252. “Where the record taken as a whole
could not lead a rational trier of fact to find for the non-
moving party, there is no ‘genuine issue for trial.’ ”
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475
U.S. 574, 586 (1986).

*5 The substantive law identifies which facts are
material, and “[o]nly disputes over facts that might
affect the outcome of the suit under the governing
law will properly preclude the entry of summary
judgment.” Anderson, 477 US. at 248. A dispute about
a material fact is genuine only if there is a sufficient
evidentiary basis that would allow a reasonable fact
finder to return a verdict for the non-moving party.
Id. at 248-49. When “faced with a summary judgment
motion, the court must view the facts ‘in the light most
favorable to the nonmoving party.” ” N.A.A.CP. v N.
Hudson Reg'l Fire & Rescue, 665 F.3d 464, 475 (3d
Cir. 2011) (quoting Scott v. Harris, 550 U.S. 372, 380
(2007)).

At the summary judgment stage, the judge's function is
not to weigh the evidence or to determine the truth of
the matter; rather it is to determine whether there is a
genuine issue for trial. Anderson, 477 U.S. at 249. The
proper inquiry for the court “is the threshold inquiry

of determining whether there is the need for a trial—
whether, in other words, there are any genuine factual
issues that properly can be resolved only by a finder of
fact because they may reasonably be resolved in favor
of either party.” Jd. at 250.

IV. Material Facts.

When filing a motion for summary judgment, the
moving party must comply with Local Rule 56.1,
which requires the party to file “‘a separate, short and
concise statement of the material facts, in numbered
paragraphs, as to which the moving party contends
there is no genuine issue to be tried.” M.D. Pa. LR.
56.1. Once the moving party has filed such a statement,
the non-moving party is required to file “a separate,
short and concise statement of the material facts,
responding to the numbered paragraphs set forth in
the [moving party's] statement ... as to which it is

contended that there exists a genuine issue to be tried.”
Id.

In this case, the defendants filed a statement of material
facts in support of their motion for summary judgment
on April 22, 2019. Doc. 68. Thomas filed a response
to the defendants’ statement of material facts on May
28, 2019. Doc. 77. We base the following statement
of facts on those statements, Thomas's amended
complaint, and the defendants’ answer to the amended
complaint. See docs. 21, 41, 68, 77. The following facts
are either undisputed or construed in the light most
favorable to Thomas as the non-movant.

Before we proceed with a statement of the facts
relevant to the defendants’ motion for summary
judgment, however, we must consider an additional
issue that has arisen as to whether the defendants
admitted certain allegations that Thomas made in his
amended complaint. In his response to the defendants’
statement of material facts at the summary judgment
stage, Thomas “disputes all statements that contradict
§§ 37 through 192 of the Amended Complaint.”
Doc. 77 at 1. Thomas contends that the defendants
“have admitted most of the factual allegations in the
Amended Complaint” since they did not deny the
allegations in accordance with Rule & of the Federal
Rules of Civil Procedure. Jd. at 1-2. In their reply brief,
the defendants argue that “[t]he answers referenced
denied the allegations as conclusions of law, and went
on to deny that the Plaintiff's constitutional rights

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wete violated.” Doc. 86 at 8. The defendants assert
that “[i]t could not be more clear that [the referenced
allegations] were denied.” Jd. They further argue that
Thomas “fails to persuasively set forth an actual
allegation of fact that was admitted. Other than the
allegations about identity of the parties, a search for a
simple fact in this 200 paragraph pleading would be a
fool's errand.” Jd. “As a result,” the defendants argue,
“since FRCP 8 only provides that facts are admitted,
Plaintiff's desperate attempt to create a factual issue
in order to make up for lack of evidence should be
denied.” Id. (citing United States v. E.B. Hougham, 364
USS. 310, 317 (1960)).

*6 We find the defendants’ arguments on this issue
unpersuasive. In their answer to Thomas's amended
complaint, the defendants responded to numerous
paragraphs that were clearly allegations of fact by
asserting that no response was necessary because the
allegations were conclusions of law and then providing
blanket denials that Thomas's rights were not violated.
A representative example can be seen in Paragraph
37 of the amended complaint and the corresponding
paragraph in the defendants’ answer. In Paragraph 37
of his amended complaint, Thomas alleges that “Ms.
Torma communicated with Ms. Moore Smeal about
inmate placement on a regular basis while Torma was
director of OPM between 2010 and 2014 and was
making decisions about where to house individual
inmates, including the plaintiff.” Doc. 21 § 37. The
defendants responded to this allegation as follows:
‘Denied as a conclusion of law to which no response is
required. Defendants and Additional Defendants deny
any violation of the Plaintiffs constitutional rights.”
Doc. 41 § 37. In another representative example,
Paragraph 75, Thomas alleges that “Attorney Sawicki
attempted to visit Thomas on August 14, 2014, to
review his legal papers with him,” to which the
defendants responded: “Denied as a conclusion of law
to which no response is required.” Doc. 21975; doc. 4]
4 75. In yet another representative example, Paragraph
114 of the amended complaint alleges that “Thomas
was called as a witness to testify in support of another
Hispanic prisoner, Roberto Camacho, Jx., at a federal
hearing in May 2015. Thomas wanted to testify.” Doc.
214 114. The defendants responded: “Denied that the
constitutional rights of the Plaintiff were violated.”
Doe. 41 § 114.

Under Rule 8(b) of the Federal Rules of Civil
Procedure, a party responding to a pleading must “state
in short and plain terms its defenses to each claim
asserted against it ... and admit or deny the allegations
asserted against it by an opposing party.” Fed. R. Civ.
P. 8(b). “A denial must fairly respond to the substance
of the allegation,” and “[a]n allegation—other than
one relating to the amount of damages—is admitted
if a responsive pleading is required and the allegation
is not denied.” Jd. “Rule 8(b) permits a party only
three ways to respond to an allegation: (1) admit it (2)
deny it or (3) state that the party lacks knowledge or
information sufficient to form a belief about the truth
of the allegation.” Kegerise v. Susquehanna Twp. Sch.
Dist., 321 ER.D. 121, 124 (M.D. Pa. 2016).

The defendants’ responses to Paragraphs 37, 75, 114,
and numerous other paragraphs fall well short of

what is required by Rule 8. To begin with, “[rlule
8(b) does not permit a party to refuse to respond
to an allegation by asserting it is a conclusion of
law.” Jd. at 124. Furthermore, even if a party could
assert that a response was not necessary because
an allegation constituted a conclusion of law, the
defendants’ response here would still not comply with
Rule 8(b) because the allegations at issue are, plainly,
factual allegations and not conclusions of law. Under
Rule 8(b), the defendants were required to either admit
the factual allegations in the amended complaint, deny
them, or state that they lacked sufficient knowledge
or information to form a belief about their truth. Fed.
R. Civ. P. 8(b); Kegerise, 321 FR.D. at 124. Finally,
the fact that the defendants denied “any violation of
the Plaintiff's constitutional rights” is not a sufficient
response under Rule 8 because it does not “fairly
respond to the substance of the allegation.” Fed. R. Civ.
P. 8(b)(2). In responding to the factual allegations in the
amended complaint, the defendants needed to either
admit or deny the factual allegations. It is not enough
to simply make the blanket statement that Thomas's
constitutional rights were not violated.

The defendants’ reliance on Hougham, 364 US. at
317, is also misplaced. In Hougham, the Supreme
Court considered whether the government could
amend its complaint under Rule 15 of the Federal Rules
of Civil Procedure so as to plead a claim for damages
under § 26(b)(2) of the Surplus Property Act of 1944.
See id. At no point in its discussion did the Court

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consider the adequacy of an answer under Rule 8. See
id. To the extent that the defendants can rely on the
Court's discussion in Hougham at all, it is only for the
general proposition that “[t]he federal rules reject the
approach that pleading is a game of skill in which one
misstep by counsel may be decisive to the outcome and
accept the principle that the purpose of pleading is to
facilitate a proper decision on the merits.” Hougham,
364 U.S. at 317 (quoting Conley v. Gibson, 355 US.
41, 48 (1957)). That general proposition does not
save the defendants’ argument here. The defendants’
blanket denials of factual allegations as conclusions of
law were not simply procedural missteps; rather they
actively hindered this court's ability to decide the case
on the merits by obscuring the facts of the case.

*7 The defendants could have adequately responded

to Thomas's factual allegations either through their
own personal knowledge or through a reasonable
investigation, and under Rule 8(b), they were required
to provide such a response. The defendants cannot
evade that responsibility by asserting that allegations
of fact are conclusions of law or by simply stating
that Thomas's constitutional rights were not violated.
Accordingly, the factual allegations in Paragraphs 37—
39, 45, 59, 72, 74-76, 81, 83-84, 86-87, 90-91,
93-97, 100, 108-111, 114-115, 118-120, 122, 126,
and 133-134 of the amended complaint are deemed
admitted for the defendants’ failure to deny them.
See, e.g., United States Use of Automatic Sprinkler
Corp. v. Merritt-Chapman & Scott Corp., 305 F.2d
121, 123 (Gd Cir, 1962) (“Since the Answer fails
to deny the quoted allegations of the Complaint,
they are deemed admitted.”); Federal Ins. Co. v. von
Windherburg-Cordeiro, No. 12-CV-02491, 2013 WL
6199253, at *3 (D.N.J. Nov. 27, 2013) (deeming
allegations admitted where defendant failed to deny
them in answer); Petrunich v. Sun Bldg. S'ys., Inc., No.
3:04-CV-02234, 2006 WL 2788208, at *4 (M.D. Pa.
Sept. 26, 2006) (same). With that in mind, we turn
now to a statement of facts relevant to the defendants’
motion for summary judgment.

At all times relevant to this litigation, Thomas was
incarcerated at SCI Huntingdon. Doc. 21 4 17; doc.
41 9 17. Black inmates are 30% more likely than
White inmates to be housed at SCI Huntingdon, while
Hispanic inmates are 7.5% more likely than White
inmates to be housed at SCI Huntingdon. Doc. 21

GJ 30-31; doc. 41 Ff 30-31. 7 Thomas is black and
Hispanic, and the defendants at SCI Huntingdon were
aware of that fact. Doc. 21 445; doc. 41 7 45.

In 2014 and 2015, Thomas sought the assistance of
counsel to litigate two cases that he was litigating
pro se. Doc. 21 4 59; doc. 41 | 59. Thomas began
corresponding with Sawicki about his two ongoing
cases in 2014. Doc. 21 { 74; doe. 41 | 74. Sawicki
attempted to visit Thomas on August 14, 2014 to
review his legal papers. Doc. 21 9 75; doc. 41 4 75.
Duvall and CO Ritchey, who were on duty in the
visiting room at the time of Sawicki's visit, refused to
allow Thomas and Sawicki to speak in a confidential
booth and instead directed them to speak in the middle
of the general visiting room. Doc. 2/ { 81; doc. 41
{ 81. At Sawicki's request, Duvall and CO Ritchey
spoke with Green, Dickson, and Sergeant Ritchey via

telephone. Doc. 21 4 80; doc. 41 80. 8 Atthe direction
of Green and Dickson, Duvall and CO Ritchey told
Thomas that he had to confer with Sawicki in the
middle of the general visiting room. Doc. 21 4 81; doc.
41781, After Sawicki asked Smith to intervene and
allow her and Thomas to meet in a booth, Smith placed
Thomas and Sawicki on either side of a glass wall
in a non-contact booth and instructed Duvall and CO
Ritchey to carry papers back and forth between them.
Doc. 21 ¥ 83; doc. 41 § 83. Duvall and CO Ritchey,
however, did not comply with this order, rendering
Thomas unable to have a conference with his attorney.
Doc. 21 § 84; doc. 41 { 84. Sawicki informed Eckard
of this incident via fax later that day. Doc. 21 | 86; doc.
41 | 86.

*8 Sawicki went to the prison again on August 30,
2014 to visit White, another inmate at the prison.
Doc. 21 J 87; doc. 41 | 87. Duvall, CO Ritchey,
Sergeant Ritchey, and Smith were all on duty, and they
all recognized Sawicki. Id. Duvall told Sawicki “we
have a special place all ready for you,” or words to
that effect, and then directed Sawicki into non-contact
booth #3 to wait for White. Doc. 21 44] 90-91; doe.
41 4§ 90-91. Although Sawicki subsequently had a
conference with White, the conference was repeatedly
interrupted by Duvall striking the window next to
Sawicki's head with a heavy radio phone. Doc. 2/ 494;
doc. 41 94. These incidents were captured by video
surveillance footage. Doc. 21 495; doc. 41 95. After
the conference, White filed a grievance to complain

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about what happened during the conference. Doc. 214
97; doc. 41 97. Sawicki also notified Eckard of the
events that had transpired and requested preservation
of the surveillance footage. Dac. 21 J 96; doc. 41 96.

On October 30, 2014, Sawicki again visited Thomas
at SCI Huntingdon. Doc. 2] § 109; doc. 41
109. Although Sawicki had been informed that the
facilities for attorney conferences had been renovated,
Thomas and Sawicki were directed to occupy non-
contact booth #1, where the renovations had not been

completed. Doc. 21 | 109; doc. 4] {| 109. The phones |

in non-contact booth #1 were inoperative, causing
Thomas and his attorney to have to shout to be heard
by one another. Jd. As a result, other prisoners and
their visitors could hear what Thomas and Sawicki
were saying, and Thomas and Sawicki were therefore
unable to discuss all the matters that they wished
to discuss. Doc. 21 ff] 109-10; doc. 41 FF 109-10.
Sawicki informed Eckard of what happened during this
visit by fax later that day. Doc. 21 J 111; doc. 4/7 111.

Sawicki went to SCI Huntingdon to visit Thomas
again on May 23, 2015 to help him prepare to testify
in Camacho's case and to discuss his own cases.
Doe. 21 FJ 114-15, 117; doc. 41 Jf 114-15, 117.
When Sawicki arrived at the prison, Duvall refused
to allow her to use non-contact booth #1, which had
previously been renovated, and instead placed her in
non-contact booth #2, which “still had open louvers
allowing conversation to be heard at the officers desk,
which is about three feet away” from the booth.
Doc, 21 Ff 117-18; doc. 41 Jf 117-18. At Sawicki's
request, Duvall called Wendle—the ranking officer on
duty at the time. Sawicki asked Wendle to move her
conference with Thomas to non-contact booth #1, but
Wendle refused to do so. Doc. 21 Ff] 119-20; doc. 41
{| 119-20. Duvall subsequently interrupted Thomas
and. Sawicki's conference by opening the door of the
booth “without knocking or otherwise announcing
her presence.” Doc. 21 § 122; doc. 41 § 122, A
partition in non-contact booth #2 prevented Sawicki
and Thomas from reviewing documents together
during the conference. Doc. 21 § 126; doc. 41 F 126.
In addition, correctional officers outside of the booth
could hear their conversation through the open louvers
in the door. Jd. Other than Sawicki's visits to the
prison on August 14, 2014, October 30, 2014, and May
23, 2015, Thomas did not have any conferences with

attorneys in 2014 or 2015, despite repeated attempts to
contact attorneys and request their assistance. Doc. 21
qq 133-34, doc. 41 FF 133-34.

V. Discussion.

*9 The defendants raise a number of arguments at
the summary judgment stage. First, the defendants
argue they are entitled to summary judgment on
Thomas's equal protection claims and conditions-
of-confinement claims because Thomas failed to
exhaust his administrative remedies as to those claims.
Doc. 74 at 10. Second, the defendants argue that
Thomas's claims arising out of his placement in SCI
Huntingdon are barred by the statute of limitations.
Id. at 13. Third, the defendants argue they are entitled
to summary judgment as to Thomas's access-to-
courts claim because he cannot establish an actual
injury to his access to court. Jd. at 14. Fourth,
the defendants argue they are entitled to summary
judgment as to Thomas's First Amendment freedom
of speech and freedom of association claims because
the prison's visitation policies and procedures are
reasonably related to legitimate penological interests.
Id. at 15, Fifth, the defendants argue they are
entitled to summary judgment as to Thomas's equal
protection claim because he has not shown the
existence of any similarly situated individuals who
were treated differently from him and because there
is no evidence of a policy to disproportionately
place African American or Hispanic inmates at SCI
Huntingdon. Jd. at 17-20. Sixth, the defendants
argue they are entitled to qualified immunity as to
Thomas's constitutional claims, Jd. at 20. Finally,
the defendants argue that Duvall should be granted
summary judgment because her actions were directed
towards Sawicki, not Thomas. Jd. at 23. We addtess the
defendants’ summary judgment arguments seriatim.

A. Thomas Has Failed to Exhaust
Administrative Remedies as to His Equal
Protection and Conditions-of-Confinement
Claims.
The Prison Litigation Reform Act (“PLRA”) specifies
that “[n]Jo action shall be brought with respect to prison
conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison,
or other correctional facility until such administrative
remedies as are available are exhausted.” 42 U.S.C.

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§ 1997e(a). “[Flailure to exhaust is an affirmative
defense that [the defendants] must plead and prove.”
Robinson v. Superintendent SCI Rockview, 831 F.3d
148, 153 (3d Cir. 2016) (citing Jones v. Bock, 549 US.
199, 212 (2007)).

The PLRA “requires what is known as ‘proper
exhaustion,’ meaning that inmates must comply with
the rules and procedures of prison administrative
systems.” Shifflett .. Korszniak, 934 F.3d 356, 364 (3d
Cir. 2019) (citing Woodford v. Ngo, 548 U.S. 81, 90-91
(2006)). The procedural requirements that a prisoner
must follow “are drawn from the policies of the prison
in question rather than from any free-standing federal
law.” Id. (citing Spruill vy. Gillis, 372 F.3d 218, 231 Gd
Cir. 2004)).

DC-ADM 804, the DOC's grievance policy, provides
for a three-stage grievance procedure. See DC-ADM
804. At the initial stage of the grievance procedure,
the inmate is required to submit his grievance to the
Facility Grievance Coordinator. See id. § 1.4.6. The
grievance must include a statement of facts specifying
“the date, approximate time and location of event(s)
that gave rise to the grievance.” Jd. § 1.4.11. The
grievance must also “identify individuals directly
involved in the event(s).” Jd.

Assuming ati inmate’s grievance has been properly
submitted at the initial stage, the Facility Grievance
Coordinator is required to designate a staff member at
the prison as the Grievance Officer for that grievance.
See id. § 1.B.5. The Grievance Officer reviews
the grievance and submits a proposed response to
the Facility Grievance Coordinator. Jd. § 1.B.7. If
the Facility Grievance Coordinator determines that
the Grievance Officer's proposed response complies
with the facility's policy and procedure, the Facility
Grievance Coordinator is required to initial the
grievance and return it to the Grievance Officer for
distribution. Jd. § 1.B.8. The Grievance Officer must
then provide a written response to the inmate. /d. §
1.B.9.

At the second stage of the grievance procedure, the
inmate may appeal the prison's initial decision to the
Facility Manager. Id. § 2.A.1.a. An inmate may only
appeal an issue if the inmate raised the issue in his
initial grievance. See id. § 2.A.1.c. Assuming the

appeal complies with facility procedures, the Facility
Manager is required to notify the inmate of his decision
on the appeal within fifteen business days. Jd. §
2.A.2.d.

At the third stage of the grievance process, an inmate
may appeal the Facility Manager's denial of his
grievance for final review. Id. § 2.B.1.b. At the final
review stage, the appeal is reviewed by the SOIGA.
Id. § 2.B.1.£ Assuming the appeal to final review
complies with all necessary procedures, the SOIGA is
required to respond directly to the inmate. Jd. § 2.B.2.¢.

*10 Here, the defendants argue that Thomas has
failed to exhaust his administrative remedies as to his
equal protection claim and as to any claims arising

from the conditions of his confinement.° Doc. 74
at 10-13. Thomas argues that he has “placed four
grievances into evidence” that he has exhausted and
that “set forth factual details, dates, names, times,
and circumstances.” Doc. 83 at 27, Thomas further
argues that all four of the grievances he has placed
into evidence “point to continuing interference with
Thomas's attempts to confer with his lawyer so he can
avail himself of his constitutional and statutory rights.”
Id. In addition, Thomas argues that the grievances
“include as much detail as Thomas could practicably
know when they were filed,” since Thomas “could not
know about the larger systems of discrimination that
caused him to be incarcerated in a manner that severely
impeded his access to an attommey.” Jd. at 31. The
defendants reply that exhaustion of Thomas's claims
regarding attorney conferences at SCI Huntingdon do
not act to exhaust his claims that he was placed in SCI
Huntingdon based on his race. Doc. 86 at 3.

Thomas filed eight prison grievances that he ultimately
appealed to final review between July 14, 2014 and
January 17, 2018. Doc. 68-2 at 4. Four of those
grievances are relevant to this case. Grievance number
523411, which Thomas initially filed on August 17,
2014, concerned the actions of Duvall and other
staff members during his August 14, 2014 visit with
Sawicki. Doc. 68-2 at 12-24. Grievance number
534678, which Thomas initially filed on November 14,
2014, concerned the actions of staff members during
his October 30, 2014 visit with Sawicki. Doc. 68-2
at 32-42. Grievance number 539125 and grievance
number 569897, both of which Thomas filed on May

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30, 2015, concerned the actions of staff members
during his May 23, 2015 visit with Sawicki. See id. at

43-67; doc. 78-1 at 7-9, !°

Thomas is correct that the grievances he produced
“point to continuing interference with Thomas's
attempts to confer with his lawyer so he can avail
himself of his constitutional and statutory rights.” Doc.
83 at 27. Exhaustion of that issue, however, is not
before the court. The defendants assert that Thomas
failed to exhaust his administrative remedies only
as to his equal protection claim and conditions-of-
confinement claims.

*11 A review of Thomas's amended complaint makes
clear that his equal protection claim is based on
the theory that he was placed in SCI Huntingdon
because of his race. Thomas alleges that Torma,
Nicklow, and Smeal “instituted or acquiesced in and
implemented a policy of assigning minority inmates
like Plaintiff disproportionately to SCI Huntingdon so
as to diminish their access to the means necessary
to exercise their rights under the Petition Clause
of the First Amendment, and their First, Fourth,
and Fourteenth Amendment rights to privacy, free
association, and free speech in the prison context.”
Doc, 21 7 161. Thomas further alleges that the SCI
Huntingdon defendants “willingly implemented the
racial policy of Moore Smeal, Torma, and Nicklow,
by denying Plaintiff the means to exercise” his
constitutional rights. Jd. § 162. Thus, exhaustion of
Thomas's equal protection claim would require him
to grieve his placement at SCI Huntingdon, since his
equal protection claim is based on the theory that
Torma, Nicklow, and Smeal implemented a policy of
assigning inmates to SCI Huntingdon on the basis
of race and the SCI Huntingdon inmates “willingly
implemented that policy.” Jd. However, none of
Thomas's grievances exhaust—or even mention—
his assignment to SCI Huntingdon. See generally
doc. 68-2; doc. 78-1, In fact, the only relevant
grievances in this case concern, in Thomas's words, the
defendants’ “continuing interference with Thomas's
attempts to confer with his lawyer.” Doc. 83 at 27.
We therefore find that Thomas has failed to exhaust
his administrative remedies as to his equal protection
claim and recommend that the defendants motion

be granted on that claim. uM Furthermore, since the
defendants should be granted summary judgment on

Thomas's equal protection claim, they should also be
granted summary judgment as to Thomas's conspiracy
to deny equal protection claim since there is no viable
tort on which to base that claim. See, e.g., Olick v.
Pennsylvania, 739 F. App'x 722, 727 (3d Cir. 2018)
(“The established rule is that a cause of action for
civil conspiracy requires a separate underlying tort as a
predicate for liability.” (quoting Jn re Orthopedic Bone
Screw Prods. Liab. Litig., 193 F.3d 781, 789 (Gd Cir.
1999))); see also Dykes v. SEPTA, 68 F.3d 1564, 1570
(3d Cir. 1995) (not considering issue of conspiracy
based on conclusion that complaint failed to allege
cognizable violation of constitutional rights).

We similarly find that Thomas has failed to
exhaust his administrative remedies as to any claims
challenging the conditions of his confinement. As
the defendants aptly note (doc. 74 at 11), none of
Thomas's grievances pertain to the conditions of his
confinement. See generally doc. 68-2; doc. 78-1.
Thomas's only exhaustion argument with regard to
a conditions-of-confinement claim does not respond
to the defendants’ contention that his grievances did
not challenge the conditions of his confinement. See
doc. 83 at 27. In fact, Thomas's argument seems
to suggest that the conditions-of-confinement claim
is best understood as part of his equal protection
claim. See id. (“There would be no EP claim
here if all Pennsylvania prisoners were equally
subjected to the decrepit conditions that men or
[sic] color endure in disproportionate numbers at SCI
Huntingdon in a facility that cannot accommodate
attorney conferences as DOC's other prisons do.”).
As previously noted, however, Thomas has failed
to exhaust his administrative remedies as to his
equal protection claim. Accordingly, since none of
Thomas's grievances challenged the conditions of
confinement, we find that Thomas has failed to exhaust
his administrative remedies as to his conditions-of-
confinement claim.

B. The Claims Against Torma, Nicklow, and
Smeal Are Barred by the Statute of Limitations.
*12 The defendants argue that Torma, Nicklow, and
Smeal should be granted summary judgment because
the claims against them are barred by the applicable
statute of limitations. Doc. 74 at 13-14. Thomas argues
that the claims against Torma, Nicklow, and Smeal
are not time barred because the defendants’ conduct

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constitutes a continuing violation. Doc. 83 at 32-33.
Thomas explains that “[t]he discriminatory practices”
that led to him being placed in SCI Huntingdon “not
only put [him] there but also kept him there.” Jd. at 32.
The defendants reply that this argument fails because
“ijn order for there to be a continuing wrong, there
must be a wrong in the first place,” and Thomas cannot
establish that his rights were violated when he was first
placed in SCI Huntingdon. Dac. 86 at 4.

“A section 1983 claim is characterized as a personal-
injury claim and thus is governed by the applicable
state's statute of limitations for personal-injury
claims.” Digue v. New Jersey State Police, 603
F3d [81, 185 (d Cir 2010). Pennsylvania, the
applicable state in this case, mandates a two-year
statute of limitations for personal injury claims. 42
Pac.S.§ 5524(2). Thus, a § 1983 claim arising in
Pennsylvania is subject to a two-year statute of
limitations. Fitzgerald v. Larson, 769 F.2d 160, 162 Gd
Cir. 1985).

A § 1983 cause of action “ ‘accrues, and the statute of
limitations commences to run, when the wrongful act
or omission results in damages.’ ” Digue, 603 F.3d at
185-86 (quoting Wallace v. Kato, 549 U.S. 384, 391
(2007)). In other words, the cause of action accrues
“when the plaintiff has ‘a complete and present cause
of action,’ that is, when ‘the plaintiff can file suit and
obtain relief.’ ” Wallace, 549 U.S. at 388 (citations
omitted). Thus, “[u]nder federal law, a cause of action

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accrues ‘ “when the plaintiff knew or should have
known of the injury upon which the action is based.” ’
” Montanez v. Sec'y Pennsylvania Dep't of Corr, 773
F.3d 472, 480 (3d Cir, 2014) (quoting Kach v. Hose,

589 F.3d 626, 634 (3d Cir. 2009)).

Under the continuing-violation doctrine, “when a
defendant's conduct is part of a continuing practice, an
action is timely so long as the last act evidencing the
continuing practice falls within the limitations period.”
Id. at 481 (quoting Cowell v. Palmer Twp., 263 F.3d
286, 292 (3d Cir. 2001)). “The doctrine's focus ‘is
on affirmative acts of the defendants.’ ” Tearpock-
Martini v. Borough of Shickshinny, 756 F.3d 232, 236
(3d Cir. 2014) (quoting Cowell, 263 F.3d at 293).
‘The continuing violation doctrine does not apply
when the plaintiff ‘[was] aware of the injury at the
time it occurred.’ ” Montanez, 773 F.3d at 481 (quoting

Morganroth & Morganroth v. Norris, McLaughlin &
Marcus, P-C., 331 F.3d 406, 417 n.6 (3d Cir. 2003)).

To establish a continuing violation, a plaintiff must
establish that all acts alleged to be part of the violation
are part of a pattern of behavior. See Mandel v. M &
OQ Packaging Corp., 706 F.3d 157, 165-66 (3d Cu.
2013) (noting that a plaintiff seeking to establish a
continuing violation in an employment discrimination
case “must show that all acts which constitute the claim
are part of the same unlawful employment practice
and that at least one act falls within the applicable
limitations period.” (citing Nat‘ R.R. Passenger Corp.
v. Morgan, 536 U.S. 101, 122 (2002))). “[S]uch acts
‘can occur at any time so long as they are linked in a
pattern of actions which continues into the applicable
limitations period.’ ” Jd. at 165 (quoting O'Connor v.
City of Newark, 440 F.3d 125, 127 (3d Cir. 2006)).
“In order to benefit from the doctrine, a plaintiff must
establish that the defendant's conduct is ‘more than
the occurrence of isolated or sporadic acts.’ ” Cowell,
263 F.3d at 292 (quoting West v. Phila. Elec. Co., 45
E.3d 744, 755 (3d Cir. 1995)). To determine whether
the defendant's actions are isolated or sporadic, a court
should consider both the “subject matter—whether the
violations constitute the same type of discrimination,
tending to connect them in a continuing violation” and
the “frequency—whether the acts are recurring or more
in the nature of isolated incidents.” Cowell, 263 F.3d

at 292, |?

*13 Thomas was first assigned to SCI Huntingdon

on August 5, 1992. Doc. 68 § 11; doc. 779 11.8
Thus, because his initial assignment to the prison was
significantly more than two years before the date on
which he filed his original complaint in this case,
Thomas's claims against Torma, Nicklow, and Smeal
are time barred unless he can show that his claim is
timely under the continuing violation doctrine.

We find that the continuing violation doctrine does not
apply in this case because Thomas has not established
that the defendants’ acts were part of a continuing
pattern of behavior. See Mandel, 706 F.3d at 165—
66. Specifically, Thomas has not shown that Torma,
Nicklow, and Smeal were involved in any way in
the denial of his requests to transfer out of SCI
Huntingdon. To the contrary, Thomas asserts in his
brief in opposition to the defendants’ motion for

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summary judgment that “when an inmate asks to
transfer out, local staff control the process.” Doc.
83 at 11. Local staff “decide whether to submit a
formal request to the DOC central office, and if they
disapprove of a specific individual, they can block
his request without creating any record of it.” Jd.
“Defendant Moore Smeal confirmed that local staff
have wide discretion to cause or to prevent transfers
of inmates into and out of the individual prisons in
the DOC system for various reasons, often without
generating any record.” Jd. at 11-12. Thomas also
acknowledges that his requests to be transferred out
of SCI Huntingdon “were never processed.” Jd. at 8.
Thus, even assuming that Torma, Nicklow, and Smeal
could be held liable for Thomas's initial placement
at SCI Huntingdon, the claims against them are still
time barred because Thomas has not shown that
they were involved in any decisions to keep him at
SCI Huntingdon and there is therefore no continuing
violation. Accordingly, we find that Torma, Nicklow,
and Smeal should all be granted summary judgment.

C. Summary Judgment Should Be Denied as to

Thomas's Access-to-Courts Claim.
In their third summary judgment argument, the
defendants argue they should be granted summary
judgment as to Thomas's access-to-courts claim
because Thomas cannot establish an actual injury. Doc.
74 at 14. Thomas's access-to-courts claim is based on
his allegations that the defendants hindered his ability
to litigate two of his own cases pro se and hindered
his ability to testify in Camacho's case. See doc. 21
| 152-56. The defendants note that under Lewis v

Casey, 518 U.S. 343, 349 (1996), 4 eactual injury
is the loss of, or inability to pursue, a nonfrivolous
claim that relates to a challenge, direct or collateral,
to an inmate's conviction or relates to a challenge to
the conditions of [his] confinement.” Doc. 74 at 14—
15. The defendants assert that one of the cases for
which Thomas sought Sawicki's assistance concerned
a claim of illegally denied parole, while the other case
was based on a retaliation claim, neither one of which,
according to the defendants, could establish actual
injury under Lewis. Id. at 15. The defendants further
argue that Thomas cannot establish actual injury as
to his claims arising out of his attempts to testify in
Camacho's case because he was “not injured by being
unable to fully prepare to testify at a hearing in a civil

action filed by another inmate.” Jd. Thomas argues that
the motion for summary judgment as to his access-to-
courts claim should be denied because the defendants’
“bald conclusion” that he cannot suffer actual injury
under Lewis is not sufficient to carry their burden for
summary judgment under Rule 56 of the Federal Rules
of Civil Procedure. Doc. 83 at 37. The defendants reply
that Thomas has not established how the litigation
of his civil cases was inhibited, and thus summary
judgment is proper. Doc. 86 at 6.

*14 At the outset, we note that Thomas's access-to-
courts claim arising out of his testimony in Camacho's
case has already been dismissed. In our March 1, 2017
report and recommendation addressing the defendants’
first motion to dismiss, we found that Thomas failed to
state an access-to-courts claim upon which relief could
be granted. Doc. J3 at 38. Although we recommended
that Thomas be given leave to amend his access-
to-courts claim, we found that any amendment to
his access-to-courts claim arising out of his failure
to testify in Camacho's case would be futile, and
accordingly recommended that his access-to-courts
claim be dismissed with prejudice to the extent that
it was based on his testimony in Camacho's case.
See id. at 38, 44. Judge Brann adopted our report
and recommendation in its entirety on July 10, 2017,
thereby dismissing Thomas's access-to-courts claim to
the extent that it was based on his inability to testify in
Camacho's case. See doc. 18 at 13. We accordingly will
not address that aspect of Thomas's access-to-courts
claim any further since it has already been dismissed.

As for the other bases for Thomas's access-to-courts
claim—his pro se litigation in Thomas v. Pa. Dep't
of Corr, No. 3:13-CV-02661 (M.D. Pa. filed Oct.
29, 2013), and Thomas v. Hileman, No. CP-31-
CV-1376-2015 (filed Dec. 8, 2014)—we turn our
attention to the subject matter of Thomas's underlying
cases because the defendants’ argument is based on the
assertion that neither case could give rise to an actual
injury to Thomas's access to court under Lewis. See
doc. 74 at 15. In Thomas v. DOC, No. 3:13-CV-02661,
Thomas alleged, inter alia, that he was wrongfully
given a misconduct report and sanctioned with fifteen
days of cell restriction and the loss of two custody
levels and that he was wrongfully moved out of the
honor block at SCI Huntingdon on two occasions.
Doc. 68-5 at 3-4. In Thomas v, Hileman, CP-31-

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CV-1376-2015, Thomas brought claims of retaliation
against prison officials. See doc. 68-6 at 4.

“Under the First and Fourteenth Amendments,
prisoners retain a right of access to the courts.” Monroe
v. Beard, 536 F.3d 198, 207 (3d Cir. 2008) (quoting
Lewis, 518 U.S, at 346), “An inmate's right of access
to the courts encompasses the right to contact visits
with his or her attorney.” Lane v. Tavares, No. 3:14-
CV-00991, 2015 WL 435003, at *8 (M.D. Pa. Feb.
3, 2015) (quoting Young v. Larkin, 871 F. Supp.
772, 783 (M.D. Pa. 1994)). “Contact visitation with
an attorney,” however, “is merely one aspect of the
broad and fundamental right of meaningful access to
the courts.’ ” Jd. (quoting Casey, 4 F.3d at 1523).
“Moreover, this right does not ‘entail unfettered or
totally unrestricted visitation with counsel, for it must
yield to legitimate penological interests.’ ” /d. (quoting
Moore v. Lehman, 940 F. Supp. 704, 708 (M.D.
Pa. 1996)). “Where prisoners assert that defendants’
actions have inhibited their opportunity to present a
past legal claim, they must show (1) that they suffered
‘an actual injury’—that they lost a chance to pursue a
‘nonfrivolous’ or ‘arguable’ underlying claim; and (2)
that they have no other ‘remedy that may be awarded
as recompense’ for the lost claim other than in the
present denial of access suit.” Monroe, 536 F.3d at 205
(quoting Christopher vy. Harbury, 536 U.S. 403, 415
(2002)).

“[Plrisoners may only proceed on access-to-courts
claims in two types of cases, challenges (direct
or collateral) to their sentences and conditions of
confinement.” Monroe, 536 F.3d at 205 (citing Lewis,
518 U.S. at 354-55). In Lewis, the Supreme Court
analyzed this principle as it was applied in an earlier
case, Bounds v. Smith, 430 U.S. 817 (1977). According
to the Lewis Court:

Bounds does not guarantee
inmates the wherewithal to

transform themselves into
litigating engines capable
of filing everything from

shareholder derivative actions
to slip-and-fall claims. The
tools it requires to be provided

are those that the inmates

need in order to attack
their sentences, directly or
collaterally, and in order to
challenge the conditions of
their confinement. Impairment
of any other litigating capacity
is simply one of the incidental
(and perfectly constitutional)
consequences of conviction and

incarceration.

*15 Lewis, 518 U.S. at 355 (emphasis in original).
“Although Casey ‘limits the types of cases in which the
prison nist provide affirmative assistance, it does not
give free reign to prison authorities to interfere with
and impede a prisoner's pursuit of other legal actions.’
» Sanders v. Rose, 576 F. App'x 91, 94 (3d Cir. 2014)
(per curiam) (quoting Cohen v. Longshore, 621 F.3d
1311, 1317 (10th Cir. 2010)); accord Prater v. City of
Philadelphia, 542 F. App'x 135, 138 (d Cir. 2013) (per
curiam) (quoting Cohen, 621 F.3d at 1317).

In this case, the defendants are deemed to have

admitted a number of facts! that could establish that
they interfered with Thomas's ability to visit with his
attorney. See doc. 21 Jf 81, 83-84, 86, 108-11. Most
notably, Duvall and CO Ritchie made Thomas and
Sawicki meet in the middle of the visiting room and
then refused to carry papers back and forth between
them after Smith placed them on either side of a
glass wall. Jd. ff] 81, 83-84. The defendants also
required Thomas and Sawicki to meet in a non-contact
booth with inoperative phones, causing them to have
to shout and allowing other inmates to hear their
conversation. Jd. [| 109-10. This is exactly the sort
of interference that the Third Circuit contemplated in
Sanders and Prater. See Prater, 542 F. App'x at 137
(noting plaintiff's allegations that his attorney's name
was removed from a jail access phone list and that he
was not allowed to meet with his attorney for over a
year). Since Thomas's access-to-courts claim is based
on intentional interference with his ability to litigate
a claim as contemplated in Sanders and Prater, rather
than a denial of affirmative assistance, his access-to-
courts claim is not barred by Casey. Accordingly, the
defendants’ motion for summary judgment should be
denied as to Thomas's access-to-courts claim since
their only argument for summary judgment was that

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the claim was categorically barred under Casey. See
doc. 74 at 14-15.

D. Summary Judgment Should Be Denied as to

Thomas's First Amendment Freedom of Speech

and Freedom of Association Claims.
In their fourth summary judgment argument, the
defendants argue they should be granted summary
judgment as to Thomas's First Amendment freedom
of speech and freedom of association claims because
the DOC “has legitimate penological interests in its
. visiting room policy and procedures.” Doc. 74 at 15-
17. Thomas inaccurately responds that the defendants
do not address his free speech and free association
claims in their brief. Doc. 83 at 38. Nevertheless,
Thomas also argues that the defendants fail to
articulate a legitimate penological interest that would
justify the alleged violations of his constitutional
rights. See doc. 83 at 39.

“TWlhen a prison regulation impinges on inmates?
constitutional rights, the regulation is valid if
it is reasonably related to legitimate penological
interests.” Turner, 482 U.S. 78, 89 (1987). “[FJour
factors are relevant in deciding whether a prison
regulation affecting a constitutional right that survives
incarceration withstands constitutional challenge:
whether the regulation has a ‘valid, rational
connection’ to a legitimate governmental interest;
whether alternative means are open to inmates
to exercise the asserted right; what impact an
accommodation of the right would have on guards
and inmates and prison resources; and whether there
are ‘ready alternatives’ to the regulation.” Overton v.
Bazzetta, 539 U.S. 126, 132 (2003) (quoting Turner,
482 U.S. at 89-91).

*16 Under Turner, the burden is on the prisoner to
disprove the validity of the regulation or decision.
Id. “This burden is ‘heavy’ because plaintiffs must
overcome the presumption that prison officials acted
within their ‘broad discretion.’ ” Monroe, 536 F.3d
at 207 (citing Shaw v. Murphy, 532 U.S. 223, 232
(2001)). Although the prisoner bears the ultimate
burden of proving that the prison's policy violated his
constitutional rights, the prison bears the burden “to
demonstrate that a rational connection exists between
the policy and a legitimate penological interest.”
Fontroy v. Beard, 559 F.3d 173, 177 3d Cir. 2009)

(citing Monroe, 536 F.3d at 207). “This burden is
slight, and in certain instances, the connection may be
a matter of common sense.” Sharp v. Jolmson, 669 F.3d
144, 156 (3d Cir. 2012) (citing Wolfv. Ashcroft, 297
F.3d 305, 308 (3d Cir. 2002)). Although the burden
is slight, the prison's showing “must ‘amount to more
than a conclusory assertion.’ ” Wolf, 297 F.3d at 308
(internal alterations omitted) (quoting Waterman v.
Farmer, 183 F.3d 208, 217-18 n.9 (3d Cir. 1999)).
“Part of the court's inquiry under Ziner is whether the
government has satisfied this requirement.” Jd. If the
government meets its burden, the court considers the
other three Turner factors, and analysis of those factors
is generally fact intensive. Jd. at 310.

In this case, the defendants have not met their burden to
show a rational connection between their actions and a
legitimate penological interest. The defendants assert
in conclusory fashion that “the DOC has legitimate
penological interests — safety and security — for its
visiting policies and procedures,” see doc. 74 at 14, but
do not provide any arguments or evidence to establish
that the defendants’ actions were rationally connected
to safety and security. Instead of providing evidence to
establish a rational connection, the defendants simply
quote Judge Caputo's decision denying preliminary
injunctive relief in Lane, 2015 WL 435003, at *11.
See doc. 74 at 16. The defendants’ reliance on Lane
ignores the fact that the defendants in that case
“satisfied their slight burden by presenting evidence
that the policy at issue [was] rationally connected” to
the legitimate penological interests of safety, security,
preventing escapes, and preventing the introduction

of contraband into the prison. 16 Lane, 2015 WL
435003, at *9. The defendants point to no such
evidence in this case and instead simply assume
that the court will rely on Judge Caputo's decision
in Lane. See doc. 74 at 16-17. Furthermore, the
defendants’ argument that the prison's visiting policies
and procedures are based on legitimate penological
interests ignores the numerous facts from which a
jury could conclude that the defendants interfered
with Thomas's ability to visit with his attorney. See
doc. 21 Ff 81, 83-84, 86, 108-11. Because such
interference could be found to violate the DOC's
established policies and procedures, the defendants’
argument that the policies and procedures are based
on legitimate penological interests is insufficient to
establish a rational connection. To establish a rational

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connection, the defendants would need to show that the
defendants’ actual actions were rationally connected
to a legitimate penological interest, since such actions
were outside the DOC's established policies and
ptocedures. It is not enough to say that the policies
and procedures are rationally connected to legitimate
penological interests when Thomas plausibly alleges
that the defendants’ conduct violated those policies and
procedures. Accordingly, we find that the defendants’
motion for summary judgment should be denied as
to Thomas's First Amendment freedom of speech and

freedom of association claims. V7

E. Duvall Should Not Be Granted Summary

Judgment.
*17 The defendants argue that Duvall should be
granted summary judgment as to all claims against
her because her actions were directed towards Sawicki
rather than Thomas. Doc. 74 at 23. Here, again, the
defendants rely on a decision from Judge Caputo
in Lane, this time for the proposition that “Lewis
requires that Plaintiff demonstrate injury to him, not
his attorney.” Jd. (citing Lane v Tavares, No. 3:14-
CV-00991, 2019 WL 1620285, at *6 (M.D. Pa. Apr.
16, 2019)). Thomas asserts that reliance on Lane
is improper in this case because, unlike Thomas,
Lane “did not show sufficient evidence of setbacks in
legal proceedings owing to interference with access to
counsel.” Doc. 83 at 44.

We agree with Thomas's contention that Lane is
distinguishable on its facts. Unlike Thomas, Lane's
access-to-courts claims were based almost entirely
on his inability to testify as a witness in another
inmate's federal hearing. See Lune v. Tavares, No.
3:14-CV-00991, at *58 (M.D. Pa. Feb. 22, 2019)
(“Other than his inability to testify in another inmate's
hearing, Lane has not established that his access to the
courts was affected in any way by the Commonwealth
Defendants’ conduct.”), report and recommendation
adopted in relevant part, No. 3:14-CV-00991 (M.D.
Pa. Apr. 16, 2019). Here, by contrast, Thomas
plausibly asserts that his ability to litigate his own pro
se cases in Thomas v. DOC and Thomas v. Hileman
was affected by the defendants’ conduct. Doc. 2] [f
59-69. The defendants’ reliance on Lane is therefore
misplaced.

We also reject the defendants’ assertion that Duvall
should be granted summary judgment because her
actions were directed towards Sawicki rather than
Thomas. The defendants have admitted factual
allegations from which a jury could conclude that
Duvall interfered with Thomas's ability to meet with
his attorney. See, e.g., doc. 21 Ff] 83-84. Since Thomas
plausibly alleges that such interference hampered his
ability to litigate his other cases, we find that Duvall
should not be granted summary judgment.

F. The Defendants Are Not Entitled to Qualified
Immunity.
We next address the defendants’ argument that they

are entitled to qualified immunity. 18 See doc. 74 at
20-23. Despite their participation in constitutionally
impermissible conduct, government officials “may
nevertheless be shielded from liability for civil
damages if their actions did not violate ‘clearly
established statutory or constitutional rights of which
a reasonable person would have known.’ ”* Hope v.
Pelzer, 536 U.S. 730, 739 (2002) (quoting Harlow
v. Fitzgerald, 457 U.S. 800, 818 (1982)). Qualified
immunity operates to ensure that, before they are
subjected to suit, government officials are on notice
that their conduct is unlawful. /d. “Qualified immunity
balances two important interests—the need to hold
public officials accountable when they exercise
power irresponsibly and the need to shield officials
from harassment, distraction, and liability when they
perform their duties reasonably.” Pearson v. Callahan,
555 U.S. 223, 231 (2009). “If the law was clearly
established, the immunity defense ordinarily should
fail, since a reasonably competent public official
should know the law governing his conduct.” Harlow,
457 US. at 818-19.

The qualified immunity analysis has two prongs.
Pearson, 555 U.S. at 232. Government officials “are
entitled to qualified immunity under § 1983 unless
(1) they violated a federal statutory or constitutional
right, and (2) the unlawfulness of their conduct was
“clearly established at the time.” District of Columbia.
y. Wesby, 138 S. Ct. 577, 589 (2018) (quoting Reichle
v. Howards, 566 U.S. 658, 664 (2012)). The court is
permitted to exercise its discretion in deciding which
of the two prongs of the qualified-immunity analysis
should be addressed first given the circumstances of

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the case. Pearson, 555 U.S. at 236. Under Third Circuit
precedent, the defendants have the burden to prove
that they are entitled to qualified immunity at the
summary judgment stage. F.g., Halsey v. Pfeiffer, 750
F.3d 273, 288 (3d Cir. 2014) (noting that “the burden of
persuasion at a summary judgment proceeding” is ‘fon
the party asserting the affirmative defense of qualified
immunity”); Burns v. Pa. Dep't of Corr, 642 F.3d
163, 176 (3d Cir, 2011) (‘The burden of establishing
qualified immunity falls to the official claiming it as a
defense.” (citing Harlow, 457 U.S. at 819)).

*18 In this case, we find that the defendants are
not entitled to qualified immunity since they have the
burden of persuasion as to that issue and have failed to
sufficiently develop their argument. The defendants do
not specify the right at issue or raise any argument as to
why the right was not clearly established. Instead, the
defendants merely assert that “[a] reasonable person
in the position of each DOC Defendant would have
believed they were properly following their employer's
orders and enforcing DOC policy and would not
understand their actions as being in clear violation of

established law.” Doc. 74 at 22-23. |? The defendants’
vague argument effectively shifts the burden of proof
to Thomas to both specify what right is at issue and
state why the right was clearly established. This is
contrary to Third Circuit precedent placing the burden
of persuasion as to issues of qualified immunity on
the defendant asserting the immunity. See, e.g., Halsey,
750 F.3d at 288; Burns, 642 F.3d at 176. Accordingly,
we find that the defendants are not entitled to qualified
immunity.

G. Summary Judgment Should Be Denied as to
Counts VII and VIL.
Finally, we note that the defendants do not raise any
arguments for summary judgment as to Counts VII and
VIII of Thomas's amended complaint. Accordingly,
summary judgment should be denied as to those
claims.

VI. Recommendation.

For the foregoing reasons, we recommend that the
defendants’ motion for summary judgment be granted
in part and denied in part. Specifically, we make the
following recommendations and observations:

1. The motion for summary judgment should be
granted as to Counts I and VI of Thomas's
amended complaint.

2. The motion for summary judgment should
be granted to the extent that the amended
complaint attempts to state a claim challenging
the conditions of Thomas's confinement.

3. The motion for summary judgment should be
denied as to Counts II, IU, IV, V, VIL, and VII of
the amended complaint.

4. The motion for summary judgment should be
granted as to all claims against Torma, Nicklow,
and Smeal, and those defendants should be
dismissed from the case.

Accordingly, if our recommendations were adopted
the case would proceed on the following claims: (1)
Thomas's claim that the SCI Huntingdon defendants
violated his right of access to the courts (Count
ID; (2) Thomas's claim that the SCI Huntingdon
defendants conspired to violate his right of access to
the courts (Count IID; (3) Thomas's claim that the SCI
Huntingdon defendants violated his rights to privacy,
freedom of speech, and freedom of association (Count
IV); (4) Thomas's claim that the SCI Huntingdon
defendants conspired to violate his rights to privacy,
freedom of speech, and freedom of association (Count
V); (5) Thomas's claim that Duvall, Wendle, Green,
and Eckard conspired to deter him from testifying in
federal court (Count VID; and (6) Thomas's claim that
Wendle, Green, and Eckard neglected to prevent others
from deterring him from testifying in federal court
(Count VID.

The Parties are further placed on notice that pursuant
to Local Rule 72.3:

Any party may object to
a magistrate judge's proposed
findings, recommendations or
report addressing a motion or
matter described in 28 U.S.C.
§ 636 (b)(1)(B) or making
a recommendation for the
disposition of a prisoner case or

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a habeas corpus petition within
fourteen (14) days after being
served with a copy thereof.
Such party shall file with
the clerk of court, and serve
on the magistrate judge and
all parties, written objections
which shall specifically identify
the portions of the proposed
findings, recommendations or

or recommendations made by
the magistrate judge. The
judge, however, need conduct
a new hearing only in his
or her discretion or where
required by law, and may
consider the record developed
before the magistrate judge,
making his or her own
determination on the basis of
that record. The judge may
also receive further evidence,

report to which objection
is made and the basis for

recall witnesses or recommit the

matter to the magistrate judge
such objections. The briefing with instructions.

requirements set forth in
Local Rule 72.2 shall apply.
A judge shall make a de
novo determination of those
portions of the report or

*19 Submitted this 3rd day of October, 2019.

specified proposed findings All Citations
or recommendations to which
objection is made and may
accept, reject, or modify, in
whole or in part, the findings

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Footnotes

1 We note that Thomas spelled the last name of Sergeant Ritchey and CO Ritchey as “Ritchie” in
his original complaint and changed the spelling to “Ritchey” in his amended complaint. See doc.
199 5, 7; doc. 21 { 5, 7. Because the amended complaint is the currently operative complaint
in this case, we will defer to the spelling that Thomas uses in his amended complaint throughout
this opinion. Additionally, we note that CO Ritchey was identified in the original complaint as “I.
Ritchie,” while in the amended complaint he is identified as “Matthew Ritchey.” See doc. 7 | 7;
doc. 21 4 7. The defendants do not appear to raise any objection that “I. Ritchie” and “Matthew
Ritchey” are different people, and we will accordingly accept the new name that Thomas uses to
refer to CO Ritchey in his amended complaint.

2 Sawicki represents Thomas in the present case.

3 White is identified in the original complaint as “I.W.,” but is identified as “Ivan White” in the
amended complaint. See doc. 1 J 31; doc. 27 7 87. We will defer to Thomas's usage in the
amended complaint and refer to White by his full name rather than his initials throughout this
opinion.

4 Not all defendants were named in each count.

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We will collectively refer to these defendants—Duvall, Sergeant Ritchey, Smith, Gill, Dixon,
Wendle, Green, and Eckard—as “the SCI Huntingdon defendants” throughout the rest of this
opinion.

Specifically, we find the defendants’ responses to the factual allegations in paragraphs 37-39,
45, 59, 72, 74-76, 81, 83-84, 86-87, 90-91, 93-97, 100, 108-111, 114-115, 118-120, 122, 126,
and 133-134 insufficient under Rule 8(b).

in their answer, the defendants “specifically den[y] that assignments of inmates are based upon
race,” but do not dispute Thomas's allegations that black inmates are 30% more likely to be
placed in SCI Huntingdon and that Hispanic inmates are 7.5% more likely to be placed in SCI
Huntingdon. See doc. 47 J] 30-31.

As the defendants correctly note, the second sentence of Paragraph 80, in which Thomas alleges
that “Green and Dickson instructed Duvall and Matthew Ritchey not to permit Thomas to speak
with Attorney Sawicki in a confidential contact setting,” is a legal conclusion. See doc. 27 ¥ 80;
doc. 41 J 80. In the first sentence of that paragraph, however, Thomas asserts that “Duvall and
Matthew Ritchey consulted by phone with Defendants Green, Dickson, and William Ritchey at
the request of Attorney Sawicki,” which is a factual allegation that the defendants had to either
admit or deny. See doc. 27 J 80. That factual allegation is accordingly deemed admitted for the
defendants’ failure to deny it.

The defendants’ argument as to Thomas's conditions-of-confinement claim is based on six
paragraphs in Thomas's amended complaint in which he details the “antiquated and deplorable
conditions” inside SCI Huntingdon. See doc. 27 FJ 21-26. Thomas alleges that SCI Huntingdon
continues to operate coal-burning furnaces or incinerators that do not comply with clean-
air standards; that SCI Huntingdon has consistent problems with mold and vermin; that SCI
Huntingdon's ventilation and heating systems are “outdated, inadequate, and poorly maintained”;
that SCI Huntingdon “lacks facilities that are standard at DOC's other prisons, such as
an infirmary”; and that SCI Huntingdon’s “gymnasium and chapel are accessible only by
steep, winding staircases that render those areas inaccessible for inmates who are injured
or permanently disabled.” /d. It is unclear from Thomas's amended complaint whether he
actually raises any claims about these conditions, as he does not mention anything regarding
the conditions of his confinement other than the lack of facilities available for attorney-client
conferences in the eight counts that he raises. See id. at 36-43. Moreover, as Thomas notes in
his response to the defendants’ exhaustion argument, “[t]his litigation is not about ‘coal dust.’ ”
Doc. 83 at 27. Nevertheless, the defendants do not argue that Thomas did not raise a conditions-
of-confinement claim and instead argue that such a claim was unexhausted. We will accordingly
confine our analysis of Thomas's conditions-of-confinement claim—to the extent that such a claim
exists-—to the issue of whether he exhausted his administrative remedies.

Thomas also asserts that grievance number 620570, which he initially filed on April 5, 2016, is
relevant to his claimed injuries in this case. See doc. 77 97. That grievance, however, concerned
an attorney-client conference that he attempted to have on March 31, 2016, which was after the
date on which he filed the original complaint in this case, March 16, 2016. See doc. 68-2 at 68-—
78; doc. 1.

Thomas also argues that his grievances regarding the SCI Huntingdon defendants’ interference
with Sawicki's visits act to exhaust his equal protection claim because he “could not know about
the larger systems of discrimination that caused him to be incarcerated in a manner that severely
impeded his access to an attorney.” Doc. 83 at 31. Under Thomas's reading of the PLRA's

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exhaustion requirement, an inmate can grieve a series of discrete events and then, much later,
allege the existence of some overarching policy that purportedly explained all the discrete events,
and at that point the grieving of the discrete events is understood to exhaust administrative
remedies as to the overarching policy. The consequence of this argument would be that an inmate
would never have to exhaust his administrative remedies as to any claim that alleged the existence
of a policy since exhaustion of any actions that purportedly followed from the policy would act to
exhaust a claim as to the policy as a whole, no matter how attenuated the connection between the
action and the policy. Even rudimentary examples illustrate the absurdity of such an argument. An
inmate could have a book confiscated as contraband, grieve the confiscation, and then years later
file suit alleging that the prison had a policy of systematically denying educational opportunities
on the basis of race, and—according to Thomas's reading of the exhaustion requirement—his
grieving of the confiscation of the book would be sufficient to exhaust his administrative remedies
as to his claim alleging the existence of the policy, so long as he said in his complaint that
they confiscated the book because of the policy. Thomas's reading of the PLRA's exhaustion
requirement is unpersuasive and does not alter our conclusion that Thomas failed to exhaust his
administrative remedies as to his equal protection claim.

Cowell also listed a third factor that courts should consider, the “degree of permanence,” but the
Third Circuit has since recognized that this factor does not need to be considered. See Mandel,
706 F.3d at 166 (“It is clear that there is no longer a permanency requirement under the continuing
violation doctrine....”); see also Cibula v. Fox, 570 F. App'x 129, 136 n.7 (3d Cir. 2074) (noting
that the degree of permanence factor was eliminated by the Third Circuit's holding in Mande’).

Thomas disputes Paragraph 11 of the defendants’ statement of material facts “insofar as it distorts
or misquotes the transcript” of his deposition, but does not dispute the factual assertion that he
was first assigned to SCI Huntingdon on August 5, 1992. See doc. 77 J 11. Thomas also states
in his brief in opposition to the defendants’ motion for summary judgment that he was assigned
to SCI Huntingdon on that date. See doc. 83 at 8.

In this opinion, we cite both the Supreme Court's opinion in Lewis v. Casey and the Ninth Circuit's
opinion in Casey v. Lewis, 4 F.3d 1516, 1523 (9th Cir. 1993), which concerned an earlier appeal
in the same litigation. For the sake of clarity, we will cite the Supreme Court's opinion using the
short form Lewis, 518 U.S. at 343, and we will cite the Ninth Circuit's opinion using the short form
Casey, 4 F.3d at 1523.

See our above discussion in Section IV.

Specifically, the defendants in Lane presented testimony that contraband was often introduced
via the visiting room of the prison and that allowing prisoners to have private visits could facilitate
the introduction of contraband. Lane, 2015 WL 435003, at *9. The defendants also presented
evidence that contact visits with attorneys could present a risk to the safety of prison staff and
attorneys. /d.

We further note that the defendants have raised no arguments as to the privacy claim that Thomas
raises in Count IV of his complaint. See generally doc. 74. Accordingly, summary judgment should
also be denied as to that claim.

Because Thomas failed to exhaust his administrative remedies as to his equal protection claim,
we will not address the defendants’ argument that they are entitled to qualified immunity as to
claims arising out of Thomas's placement at SCI Huntingdon.

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19 To the extent that the defendants state what right is at issue at all, it is only in the context of
Thomas's placement at SCI Huntingdon, not in the context of Thomas's other claims. See doc. 74
at 6-7 (“Qualified Immunity would bar liability because the proposition that individual prisons must
mirror the racial percentages in the DOC as a whole has never been announced as a constitutional
principle.”).

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Only the Westlaw citation is currently available.
United States District Court, M.D. Pennsylvania.

Angel Luis THOMAS, Plaintiff,
Vv.
Angela R. DUVALL, et al., Defendants.

No. 3:16-CV-00451
|
Filed 12/12/2019

Attorneys and Law Firms

Marianne Sawicki, Law Office of Marianne Sawicki
LLC, Huntingdon, PA, for Plaintiff.

Daniel J. Gallagher, Office of the Attorney General,
Harrisburg, PA, Maria G. Macus, Theron R. Perez,
Chief Counsel's Office Pennsylvania Department of
Corrections, Mechanicsburg, PA, for Defendants.

ORDER
Matthew W. Brann, United States District Judge

*1 Angel Luis Thomas filed this amended civil rights
complaint alleging that several prison staff members
violated his rights by taking certain actions to inhibit

his access to an attorney, ! In October 2019, Chief
Magistrate Judge Susan E. Schwab issued a Report
and Recommendation recommending that this Court
grant in part and deny in part Defendants’ motion for

summary judgment. * Specifically, Chief Magistrate
Judge Schwab recommends granting the motion with
respect to Thomas’ First and Fourteenth Amendment
Equal Protection claim based upon Thomas’ failure
to exhaust his administrative remedies, and granting
the motion as to any claims against Joanne Torma,
William Nicklow, and Shirley Moore Smeal based on

the applicable statute of limitations. 3 However, Chief
Magistrate Judge Schwab recommends denying the
remainder of the motion for summary judgment based.
primarily on Defendants’ failure to sufficiently brief

any of the relevant issues. 4

Defendants filed timely objections to the Report and

Recommendation.> “If a party objects timely to a
magistrate judge's report and recommendation, the
district court must ‘make a de novo determination
of those portions of the report or specified proposed
findings or recommendations to which objection is

made.’ ”® Regardless of whether timely objections are
made, district courts may accept, reject, or modify—
in whole or in part—the magistrate judge's findings
or recommendations.’ After reviewing the record de
novo, the Court finds no error in Chief Magistrate
Judge Schwab's conclusions that Defendants’ motion
for summary judgment should, in large part, be

denied. ®

Although the Court need not comment to any great
extent on the thorough Report and Recommendation,
some objections require a brief response—either
because the arguments were not addressed in the
Report and Recommendation, or because Defendants
misunderstand the relevant case law. In_ their
objections, Defendants contend that Thomas’ Access
to the Courts claim fails because it is barred by
Lewis v. Casey, 518 U.S. 343, 355 (1996), and
because no attorney entered an appearance on Thomas’
behalf in his previous cases and Thomas failed to
appeal the dismissal of his earlier federal civil rights

action. ° First, Lewis is inapplicable as, in that case,
the United States Supreme Court held that prisons
must affirmatively assist inmates only in certain

circumstances. !° Nothing in Lewis, however, gives
catte blanche to prisons to interfere with a prisoner's

access to an attorney. ul Second, the Court has found
no authority to support Defendants’ assertion that
Thomas suffered no harm because an attorney never
entered an appearance on his behalf or because he
never filed an appeal of the dismissal of his earlier

>
federal case. |?

*2 With regard to Defendants’ assertion that they
are entitled to qualified immunity, the Court concludes
that, at this stage of the proceedings, they are not.
First, although Defendants correctly note that the
United States Supreme Court has never held that the
intra-corporate conspiracy doctrine does not apply to

constitutional claims Bo the United States Court of
Appeals for the Third Circuit more than four decades

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ago first held that such a defense does not apply to 2. Defendants’ motion for s ary judgment (Doc.

civil rights actions, particularly when an individual is 67) is GRANTED in part and DENIED in part;
not acting in his or her official capacity. 14 Moreover,

Thomas has plausibly alleged that Defendants’ actions 3, Thomas’ Equal Protection claim (Count One)
violated its governing policies that require prison as well as all claims against Torma, Nicklow,
officials to honor attorney-client confidentiality, and and Smeal, are dismissed from this action. All
which require that “[p]ersonnel will not be stationed remaining claims shall proceed; and

in such a manner as to be able to overhear normal .
15 oo , . 4, A telephonic status conference shall be scheduled
conversation.” ~ Such a violation of the prison's

tgs . . shortly by separate Order.
own policies indicates that qualified immunity is not

applicable. 16
All Citations

Consequently, IT IS HEREBY ORDERED that: .
Not Reported in Fed. Supp., 2019 WL 6769324

1. Chief Magistrate Judge Susan E. Schwab's Report
and Recommendation (Doc. 87) is ADOPTED;

Footnotes

1 Doc. 21.

2 Doc. 87.

3 Id. at 26-38.
4 Id. at 38-51.
5 Docs. 89, 91.

6 Equal Emp't Opportunity Comm'n v. City of Long Branch, 866 F.3d 93, 99 (3d Cir. 2017) (quoting
28 U.S.C. § 636(b)(1)).

7 28 U.S.C. § 636(b)(1); Local Rule 72.31.

8 [missing]

9 Doc. 91 at 4-5.

10 Lewis, 518 U.S. at 355.

11. Sanders v. Rose, 576 F. App'x 91, 94 (3d Cir. 2014).

12 Notably, Thomas’ failure to appeal would seem irrelevant to his current claim. Thomas’ earlier civil
case was dismissed because his claims were barred by the statute of limitations and because he
failed to exhaust his administrative remedies. Thomas v. Pa. Dep't of Corrs., 3:13-CV-02661 (M.D.
Pa., Doc. 50). Both are issues that would conceivably have been prevented by competent counsel,
and which would not have been rectified by any appeal. Rather, under those circumstances, an
appeal would have been frivolous.

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13 See Ziglar v. Abassi, 137 S. Ct. 1843, 1868 (2017).

14 Novotny v. Great Am. Fed. Sav. & Loan Ass'n, 584 F.2d 1235, 1256-59 & n. 121 (3d Cir. 1978)
(en banc), vacated on other grounds, 442 U.S. 366 (1979); Robison v. Canterbury Village, Inc.,
848 F.2d 424, 431 (3d Cir. 1988). See United States v. Basroon, 38 F. App'x 772, 781 (3d Cir.
2002) (“While the intra-corporate conspiracy doctrine has been applied by some courts to civil
rights complaints brought pursuant to 42 U.S.C. [§] 1985, this court has specifically rejected the
doctrine, even in the civil context’).

15  DC-ADM 812 at p. 2-3. See also 37 Pa. Code § 93.3(c)(1) (same).

16 See Hope v. Pelzer, 536 U.S. 730, 743-44 (2002) (noting violation of regulations governing
conduct of prison officials is relevant to determine whether prisoner's constitutional right was
clearly established); Young v. Martin, 801 F.3d 172, 182 (3d Cir. 2015) (same).

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Westport Insurance Corp. v. Stevens & Lee, P.C., Not Reported in Fed. Supp. (2016)

2016 WL 9775023

2016 WL 9775023
Only the Westlaw citation is currently available.
United States District Court, E.D. Pennsylvania.

WESTPORT INSURANCE CORP.
v.
STEVENS & LEE, P.C. William W. Uchimoto

CIVIL ACTION NO. 2:16-cv-937
|
Signed 06/30/2016

Attorneys and Law Firms

Elit R. Felix, II, Margolis Edelstein, Philadelphia, PA,
Robert P. Conlon, Ryan J. Rodman, Walker Wilcox
Matousek LLP, Chicago, IL, for Westport Insurance
Corp.

Ashley Lauren Turner, Joann M. Lytle, McCarter &
English LLP, Philadelphia, PA, for Stevens & Lee, P.C.
William W. Uchimoto.

William W. Uchimoto, Berwyn, PA, pro se.

ORDER
Legrome D. Davis, District Judge

*1 AND NOW, this 30th day of June 2016, upon
consideration of Plaintiff Westport Insurance Corp.'s
(“Westport”) Motion to Dismiss Counts IT & II of
Defendant Stevens & Lee's (“S&L”) counterclaim
(Doc. No. 17), S&L's response in opposition (Doc.
No. 21), Westport's motion to strike certain paragraphs
and affirmative defenses of S&L's answer (Doc. No.
19), S&L's response in opposition (Doc. No. 22),
Westport's reply in further support of its motion
against S&L (Doc. No. 31), S&L's surreply in
further opposition (Doc. No, 39), Westport's motion
to strike certain paragraphs and affirmative defenses
of Defendant Uchimoto's (““Uchimoto”) answer (Doc.
No, 20), Uchimoto's response in opposition (Doc. No.
23), Westport's reply in further support of its motion
against Uchimoto (Doc. No. 32), and Uchimoto's
surreply in further opposition (Doc. No. 40), it is
hereby ORDERED that Westport's motion to dismiss
is GRANTED IN PART, DENIED IN PART. It is

further ORDERED that Westport's motions to strike
are DENIED in their entirety.

I. Background
Westport initiated this action on February 29, 2016,

secking rescission of the insurance contract between
Westport and the law firm of S&L, as well as a
declaration under the Declaratory Judgment Act, 28
U.S.C. §§ 2201, 2202, that Westport has no duty to
defend or indemnify S&L or Uchimoto. (Compl. J§ 1-
2, Doc. No. 1.) As alleged in the complaint, Westport
issued an insurance policy to S&L, which included an
exclusion for:

any WRONGFUL = ACT
occurring prior to the effective
date of the
professional

first lawyers
liability policy
issued by the Company to the
NAMED INSURED ... if the
INSURED at the effective date
of the first lawyers professional
liability policy issued by the
Company to the NAMED
INSURED knew or could have
reasonably foreseen that such
WRONGFUL ACT might be
expected to be the basis of a
CLAIM ....

(Compl. ff 9-11.) As part of the insurance application
process for the period between December 12, 2012
to December 12, 2013, Westport required S&L to
complete a Securities Supplement in addition to the
renewal application. (Compl. 4 17.) One question on
the supplement asked whether any of S&L's securities
or securities-related clients had any claim or allegation
of fraud, negligence, or breach of duty asserted against
it. (Compl. § 19.) In its answer dated “December

12, 2009,”! S&L. did not indicate that any of its
securities related clients had any claim or allegation of
fraud, negligence, or breach of duty asserted against it.
(Compl. § 20.)

Previously, on October 18, 2011, a lawsuit was filed
in the Middle District of Tennessee against AgFeed,

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one of S&L's largest clients in terms of gross income.
(Compl. §§ 12, 21.) The lawsuit alleges that, between
March 16, 2009 and August 2, 2011, AgFeed “made
materially false and misleading statements regarding
the company's financial health ... that caused its stock
to trade at artificially inflated prices.” (Compl. 7]
12-13.) According to the complaint against AgFeed,
these misrepresentations became apparent on August
2, 2011. (Compl. ¢ 14.)

*2 Stemming from the Middle District of Tennessee
lawsuit, the AgFeed Liquidating Trust (“Trust”) filed
an adversary proceeding in the U.S. Bankruptcy
Court for the District of Delaware against S&L,
Uchimoto, and Buchanan Ingersoll & Rooney, PC

(“Buchanan Ingersoll”) > on July 15, 2015. 3 The
Trust alleges, among other allegations, that Buchanan
Ingersoll and Uchimoto were aware that AgFeed's
published financial numbers might be inaccurate, and
in some instances were intentionally false, as part of a
strategy by AgFeed's management to inflate company
earnings and stock price. (See Compl. 4] 29-32.)
The Trust further alleges that S&L, which became
AgFeed's outside general counsel in early 2010,
and Uchimoto were aware that AgFeed continued
to receive information that clearly demonstrated that
AgFeed could not affirm the accuracy of its financial
reports. (Compl. { 33.)

As a result of S&L's alleged failure to identify
AgFeed as a client that has had an allegation of
fraud, negligence, or breach of duty asserted against it,
Westport now seeks rescission of the insurance policy
and a judgment declaring that Westport has no duty
to defend or indemnify S&L. (See Compl. {fj 35-55.)
Uchimoto filed an answer with affirmative defenses
in response to Westport's present complaint. (See Def.
Uchimoto's Answer, Doc. No. 11.) S&L also filed an
answer with affirmative defenses, but included a three

count counterclaim. 4 Specifically, S&L requests: a
declaration that Westport is not entitled to rescind
the policy (Count J); for damages resulting from
Westport's breach of contract (Count ID), and; for
compensatory and punitive damages resulting from
Westport's bad faith denial of coverage (Count III).
(See S&L's Countercl. {§ 34-70, Doc. No. 9.) S&L
alleges that it timely notified Westport of the Trust's
lawsuit and Westport agreed to defend S&L subject

to a reservation of rights. (S&L's Countercl. {YJ 23—

24.) Westport also agreed to S&L's chosen independent
counsel (S&L's Countercl. | 25.) However, despite
a tolling agreement and S&L's “belief that Westport
was conducting an investigation into [S&L's] coverage
under the Policy, Westport filed the instant declaratory
judgment action on February 29, 2016 without
requesting an extension of the tolling agreement or
providing any notice to [S&L] that its investigation
was complete.” (S&L's Countercl. { 26.) S&L alleges
that Westport did not provide it with any information
regarding the outcome of the investigation. (S&L's
Countercl. | 27.) This sequence of events, as alleged,
has prejudiced S&L's ability to defend itself against the
Trust's actions and Westport's “improper allegations of
fraudulent conduct by [S&L] has resulted, and will in
the future result, in harm to [S&L's] relationships with
current and prospective clients.” (S&L's Countercl. {ff
32-33.)

Westport presently moves to dismiss the breach of
contract and bad faith claim from S&L's counterclaim.
This issue is now tripe and, for the reasons below, we
shall dismiss S&L's bad faith claim (S&L Countercl.
4{ 56-70), but shall deny Westport's motion to dismiss
S&L's breach of contract claim.

Westport also moves to strike numerous paragraphs
and affirmative defenses from both S&L's and
Uchimoto's answers. After exhaustive briefing on this
issue, we shall deny Westport's motions to strike in
their entirety for the reasons listed below.

II. Westport's Motion to Dismiss

a. Legal Standard

*3 When evaluating a motion to dismiss for failure to
state a claim under Rule 12(b)(6), the court conducts
a two-part analysis. Fowler v. UPMC Shadyside, 578
F.3d 203, 210 (3d Cir. 2009). “First, the factual and
legal elements of a claim should be separated.” Id.
The court will disregard any legal conclusions but
accept all well-pleaded factual allegations as true for
purposes of the motion. Id. at 210—11 (citing Ashcroft
y. Igbal, 556 U.S. 662, 678 (2009)). The court must
interpret all allegations in the light most favorable to
the plaintiff and draw all reasonable inferences in the
plaintiff's favor. PG Publ'g Co. v. Aichele, 705 F.3d 91,

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97 (3d Cir. 2013). However, “[t]hreadbare recitals of
the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Iqbal, 556 U.S.
at 678 (citing Bell Atlantic Corp. v. Twombly, 550 US.
544, 570 (2007)). Next, the court determines whether
the factual matter in the complaint “state[s] a claim
to relief that is plausible on its face.” Iqbal, 556 U.S.
at 678 (quoting Twombly, 550 U.S, at 555). “A claim
has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct
alleged.” Id. “[A] complaint may not be dismissed
merely because it appears unlikely that the plaintiff
can prove those facts or will ultimately prevail on
the merits.” Phillips v. Cty. of Allegheny, 515 F.3d
224, 231 (3d Cir. 2008). Rather, a plaintiff need only
allege “enough facts to raise a reasonable expectation

that discovery will reveal evidence of the necessary
element” of their claim. Id, at 234 (citing Twombly,
550 US. at 556).

b. Analysis

i. S&L's Bad Faith Counterclaim

Westport argues that S&L's claim for bad faith under

42 Pa. Cons. Stat. § 8371 > should be dismissed
because it “contains only unsupported, conclusory
statements” without supporting facts. (Westport's Mot.
to Dismiss 1, Doc. No. 17.) To establish bad faith,
the plaintiff must allege facts that demonstrate: “(1)
that the insurer lacked a reasonable basis for denying
benefits; and (2) that the insurer knew or recklessly
disregarded its lack of reasonable basis.” Klinger v.
State Farm Mut. Auto. Ins. Co., 115 F.3d 230, 233
(3d Cir. 1997) (citing Terletsky v. Prudential Property
& Cas. Ins. Co., 649 A.2d 680, 688 (Pa. Super. Ct.
1994)). An insurer's conduct need not be fraudulent
to constitute bad faith; however, “mere negligence or
bad judgment is not bad faith.” Terletsky, 649 A.2d
at 688. The plaintiff must instead demonstrate that the
insurer has breached its duty “through some motive of
self-interest or ill-will.” Id, “[A]n insurer my defeat a
claim of bad faith by showing that it had a reasonable
basis for its actions.” Amica Mut, Ins. Co. v. Fogel,
656 F.3d 167, 179 (3d Cir. 2011); see also Victoria Ins.
Co. v. Ren, No. CIV.A. 08-517, 2008 WL 2371850, at

*2 (E.D. Pa. June 9, 2008) (“As long as the insurer's
positions are reasonable, they cannot support a claim
of bad faith.” (citations omitted)). “Even questionable
conduct giving the appearance of bad faith is not
sufficient to establish it so long as the insurer had a
reasonable basis to deny coverage.” Post_v. St. Paul
Travelers Ins. Co., 691 F.3d 500, 523 Gd Cir, 2012)

(citing J.C. Penney Life Ins. Co. v. Pilosi, 393 F.3d 356,
368 (3d Cir. 2004)),

The core of S&L's bad faith claim stems from the
allegation that Westport filed the declaratory judgment
action without informing S&L of the results of its
investigation and did not extend the tolling agreement.
(S&L's Countercl. J 69.) However, S&L fails to allege
sufficient facts to indicate bad faith. As Westport
identifies, “[w]hile an insurance company has a
duty to accord the interests of its insured the same
consideration it gives its own interest, an insurer is not
bound to submerge its own interest in order that the
insured's interests be made paramount, and an insurer
does not act in bad faith by investigating and litigating
legitimate issues of coverage.” Hyde Athletic Indus.,
Ine. v. Cont'l Cas. Co., 969 F. Supp. 289, 307 (E.D. Pa.
1997) (internal quotations and citations omitted); see
also Post, 691 F.3d at 524 (“[A]ggressive protection
of an insurer's interests is not bad faith.” (citations
omitted)). “[I]t is ... plain that an insurer does not act in
bad faith merely by initiating a declaratory judgment
action.” Victoria Ins. Co., 2008 WL 2371850, at *2
(collecting cases). Without deciding the merits of
Westport's claim against S&L, we find that Westport's
filing of the declaratory judgment action was not
unreasonable. Consequently, S&L's claim for bad faith
must be dismissed.

ii. S&L's Breach of Contract Counterclaim

*4 S&L's breach of contract counterclaim alleges
that Westport has breached and continues to breach
its obligations by refusing to pay expenses incurred in
defending against the Trust's lawsuit and by refusing
to indemnify it from any amounts to be paid in the
Trust's lawsuit. (S&L's Countercl. {7 50-51.) In its
brief argument to dismiss this count, Westport argues
that S&L has failed to allege sufficient facts to support
its claim. (Westport's Mot. to Dismiss 11.)

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To establish a breach of contract under Pennsylvania
law, a plaintiff must show: (1) the existence of a
contract, including its essential terms, (2) a breach
of a duty imposed by the contract, and (3) resultant
damages. Omicron Sys. v. Weiner, 860 A.2d 554, 564
(Pa. Super. 2004). As is relevant towards this particular
case, “[a]n insurer may not justifiably refuse to defend

a claim against its insured unless it is clear from an
examination of the allegations in the complaint and
the language of the policy that the claim does not
potentially come within the coverage of the policy. In
making this determination, the factual allegations of
the underlying complaint against the insured are to be
taken as true and liberally construed in favor of the
insured.” Post, 691 F.3d at 517 (internal quotations and
citations omitted).

Accepting S&L's factual allegations as true for
purposes of this motion, we find that S&L has alleged
sufficient facts to state a claim for breach of contract.
Both S&L and Westport acknowledge there was a
contract, and S&L directly alleges that there have been
resultant damages. (See S&L Counterel. {J 32-33, 53-
55.) As to the second element, S&L adequately alleges
that Westport has “denied any contractual obligations
to pay such Loss” and has refused to indemnify
S&L. (S&L Countercl. ff 6, 50-51.) Consequently,
Westport's motion to dismiss S&L's breach of contract
claim is denied.

Ill. Westport's Motion to Strike

a. Legal Standard

Under Federal Rule of Civil Procedure 12(f), a “court
may strike from a pleading an insufficient defense or
any redundant, immaterial, impertinent, or scandalous
matter.” “The purpose of a motion to strike is to
clean up the pleadings, streamline litigation, and
avoid unnecessary forays into immaterial matters.”
McInerney v. Moyer Lumber & Hardware, Inc., 244
F, Supp. 2d 393, 402 (E.D. Pa. 2002). “Although ‘[a]
court possesses considerable discretion in disposing

of a motion to strike under Rule 12(f),’ such motions
are ‘not favored and usually will be denied unless the
allegations have no possible relation to the controversy
and may cause prejudice to one of the parties, or if
the allegations confuse the issues in the case.’ ” Ford-
Greene v. NHS, Inc., 106 F. Supp. 3d 590, 615 (B.D.
Pa, 2015) (quoting River Road Dev, Corp. v. Carlson
Corp., No. Civ.A. 89-7037, 1990 WL 69085, at *3
(E.D. Pa. May 23, 1990)). “Striking a pleading or a
portion of a pleading ‘is a drastic remedy to be resorted
to only when required for the purposes of justice.’ ” Id.
(quoting DeLa Cruz v. Piccari Press, 521 F. Supp. 2d
424, 428 (E.D. Pa. 2007)).

b, Analysis

Westport argues that we should strike numerous
paragraphs and affirmative defenses presented in both
S&L and Uchimoto's answers. (Westport's motions
to strike, Doc. Nos. 19 & 20.) After reviewing the

pleadings at issue, Westport's motion is denied. 6
Westport has not adequately demonstrated how it is
prejudiced by S&L's and Uchimoto's answers and
affirmative defenses. See Great West Life Assur. Co. v,
Levithan, 834 F. Supp. 858, 864 (E.D. Pa. 1993) (“In
order to succeed on a motion to strike, the moving party
must show that the allegations being challenged are so
unrelated to the plaintiff's claims as to be unworthy
of any consideration as a defense and that the moving
party is prejudiced by the presence of the allegations
in the pleading.” (citations omitted)).

IV. Conclusion
*5 For the reasons discussed above, Westport's
motion to dismiss is GRANTED IN PART, DENIED
IN PART. S&L's bad faith counterclaim ({{ 56-70) is
dismissed. Westport's motion to dismiss is otherwise
DENIED. Westport's motions to strike are DENIED.

All Citations

Not Reported in Fed. Supp., 2016 WL 9775023

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Footnotes

1 In context, it would appear as though this date is a typo. The complaint later provides that S&L
completed the Securities Supplement in December 2012. (Compl. {| 36.) This distinction is not
material to the present motions.

2 Uchimoto practiced law as a partner with Buchanan Ingersoll from approximately 2008 until
January 2010, when he became a partner at S&L. (Compl. J] 28.) The law firm of Buchanan
Ingersoll is not a party to the present action.

3 According to the present complaint, Westport had been defending S&L and Uchimoto in the
Delaware bankruptcy court under a reservation of rights. (Compl. ¥ 2.)

4 S&L's counterclaim against Westport stems from the same factual scenario that is detailed in
Westport's complaint. Although additional facts are provided in S&L's counterclaim regarding a
tolling agreement between S&L and Westport, we shall only provide the additional facts that are
relevant towards the present motions.

5 The statute provides:

In an action arising under an insurance policy, if the court finds that the insurer has acted in
bad faith toward the insured, the court may take all of the following actions:

(1) Award interest on the amount of the claim from the date the claim was made by the
insured in an amount equal to the prime rate of the interest plus 3%.

(2) Award punitive damages against the insurer.
(3) Assess court costs and attorney fees against the insurer.
42 Pa. Cons. Stat. § 8371.

6 It is clear from the parties' filings that communication between the parties and/or counsel is
lacking. This is disconcerting. At this early stage of litigation, the parties are specifically directed
to the Policies and Procedures for this Court, which clearly state: “While Judge Davis believes
that the active participation of the Court in the pretrial process is an important factor in the prompt,
efficient and fair resolution of disputes, it is expected that counsel will bring matters to his attention
only after they have been discussed with opposing counsel.” (J. Davis's Practices and Procedures
1-2 ] 6, https:/Avww.paed.uscourts.gov/documents/procedures/davpol.pdf.) Henceforth, it is fully
expected that counsel will have professional dialogues amongst themselves as we all look to
bring about the fair and just resolution of this matter.

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CARLEY WIGLEY PLAINTIFF v. TIMOTHY POWE et al DEFENDANTS, Slip Copy (2024)

2024 WL 5353375

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Only the Westlaw citation is currently available.
United States District Court, $.D.
Mississippi, Eastern Division.

CARLEY WIGLEY PLAINTIFF
v.
TIMOTHY POWE et al DEFENDANTS

CIVIL ACTION NO. 2:23-CV-46-TBM-RPM
|
Filed 03/14/2024

ORDER DENYING MOTION TO
STRIKE ANSWER TO COMPLAINT

ROBERT P. MYERS,
MAGISTRATE JUDGE

JR. UNITED STATES

*1 Before the Court is Plaintiff Carley Wigley's
[12] Motion to Strike Answer to Complaint, asking
this Court to strike Defendants Timothy Powe's and
Greer Enterprises, LLC's Answer. Defendants filed a
Response opposing the motion, arguing their Answer
complies with the Rules and provides an admission or
denial to each allegation in Plaintiff's Complaint. Doc.
[16].

Plaintiff contends that Defendants! Answer is an
“evasive objection” which fails to comply with Federal
Rules of Civil Procedure 8(b)(2) and 8(d)(1). Doc.
[12]. “A party responding to a pleading must: ‘(A)
state in short and plain terms its defenses to each
claim asserted against it; and (B) admit or deny the
allegations asserted against it by an opposing party.’
” United States v. $40,000.00 United States Currency,
No. 1:22-CV-99-LG-RPM, 2022 WL 17814208, at *4
(S.D. Miss. Nov. 30, 2022) (quoting Fed. R. Civ. P. 8(b)
(1)). “A denial must fairly respond to the substance of
the allegation.” Fed. R. Civ. P. 8(b)(2).

A patty that intends in good
faith to deny all the allegations
of a pleading—including the
jurisdictional grounds—may do
so by a general denial. A party

that does not intend to deny
all the allegations must either
specifically deny designated
allegations or generally deny
all except those specifically
admitted.

Fed. R. Civ. P. 8(b)(3). Additionally, “[a] party that
intends in good faith to deny only part of an allegation
must admit the part that is true and deny the rest.” Fed.
R. Civ. P. 8(b)(4).

Plaintiff takes issue with Defendants’ responses to
paragraphs (2), (3), (4), (5), (6) (7), (8), 0), GD;
(13), (14), (16), (17), (18), (20), 21), (23), 24),
(25), (26), (28), (29), (31), and (32) of Plaintiff's
Complaint. Doc. [12] at 2-6. Specifically, Plaintiff
takes issue with Defendants’ objections that Plaintiff's
allegations “contain impermissible legal conclusions
and/or issues of law.” Jd. at 2. In their Answer,
Defendants admitted to some of the allegations in
Plaintiff's Complaint. Doc. [6] at 2-4. But for some
of their denials, they state that no response is required
due to the allegations containing impermissible legal
conclusions and/or issues of law. Jd. at 2 — 10. In
each of those instances, Defendants add that, “[t]o the
extent a response is required, Defendants deny any and
all allegations against them. All other allegations not
expressly admitted herein are denied in their entirety.”
Id.

The purpose of the Rule 8(b) pleading requirements is
“to ensure that, in preparation for discovery and trial,
the plaintiff knows which allegations the defendant
admits and which he contests.” Keller v. El Dorado Oil
& Gas, Inc., No. 1:22-CV-42-HSO-RPM, 2023 WL
7995747, at *6 (S.D. Miss. Apr. 10, 2023) (quoting
Maldonado v. GEO Grp., Inc., No. SA-19-CV-1390-
FB (HJB), 2020 WL 10357002, at *3 (W.D. Tex. Dec.
16, 2020)).

[D]efendants are only obligated
to give reasonable notice of
the allegations that they seck
to put in issue: Rule 8(b) also
must be read in conjunction
with Rule 8(e), which makes

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it clear that in framing an
answer a party need not adhere
to any technical forms of
pleading. As long as the answer
give reasonable notice of those
allegations sought to be put
in issue, the pleading will be
effective as a denial.

*2 Ball v. Life Ins. Co. of North America, No. 3:17-
CV-2366-L, 2017 WL 6621539, at *2 (N.D. Tex. Dec.
28, 2017) (quoting Bruce v. Anthem Ins. Cos., Inc., No.
3:15-CV-353-D, 2015 WL 1860002, at *2 (N.D. Tex.
Apr. 23, 2015)). It is true that “(Legal conclusions, like
factual allegations, require a response.” State of Texas
vy, United States, No. 1:18-CV-68, 2019 WL 10984476,
at *2 (S.D. Tex. Jan. 9, 2019); see, eg., Kegerise v.
Susquehanna Twp. Sch. Dist., 321 FR.D. 121, 124
(M.D. Pa. 2016) (stating that Rule 8(b) requires a party
to admit or deny an allegation or state that the party
lacks sufficient knowledge or information to admit
or deny, that “Rule 8(b) does not permit a party to
refuse to respond to an allegation by asserting it is a
conclusion of law,” and that “[t]bis rule applies even
when a party has made ‘a sweeping conclusion of law,’
as Defendants put it, meaning an allegation purely of
law”); Gulf Restoration Network v. EPA, No: 18-1632,
2018 WL 5297743, at *2~-3 (E.D. La. Oct. 25, 2018);
see also State Farm Mut. Auto. Ins. Co, v. Riley, 199
FR.D. 276, 278 (N.D. Til. 2001) (noting that “legal
conclusions are an integral part of the federal notice
pleading regime” and require a response). Although
Defendants' Answer stated no response was required
as to the allegations containing legal conclusions and/
or issues of law, Defendants went a step further by
denying each of those allegations and putting them at
issue. Doc. [6] at 2-10. Therefore, Defendants' Answer
satisfied the purpose of and complied with the Rule
8(b) pleading requirements.

Furthermore, Plaintiff states that Defendants! Answer
consists of complex, lengthy, and redundant
objections. Doc. [12] at 2. She argues that Defendants
failed to comply with the requirement that “[e]Jach
allegation must be simple, concise, and direct.” Fed. R.
Civ. P. 8(d)(L). “(A]s is true of an affirmative pleading,
a defensive pleading should be simple, concise, and
direct.” State of Texas v. United States, No. 1:18-
CV-68, 2019 WL 10984476, at *2 (S.D. Tex. Jan. 9,
2019) (quoting 5 Charles Alan Wright & Arthur R.
Miller, Federal Practice and Procedure § 1261 (3d ed.
2018)). As previously stated, however, in framing an
answer a party need not adhere to any technical forms
of pleading; the pleading will be effective as a denial
as long as the answer gives reasonable notice of those
allegations sought to be put in issue. Jd.

The substance of Defendants' admissions and denials
spans a mere 10 pages compared to the 11 pages of
allegations in Plaintiffs Complaint. Doc. [1] at 1-
11; Doc. [6] at 1-10. And the length of Defendant's
Answer is partly attributable to Defendants’ need
to respond to the numerous subparts contained in
paragraphs (13), (14), (16), (18) (20), (28), and (29)
of Plaintiff's Complaint. In sum, Defendants have
adequately put Plaintiff on notice of what they admit or

deny. | Accordingly, Plaintiff's [12] Motion to Strike
Answer to Complaint is denied.

IT IS THEREFORE ORDERED AND ADJUDGED
that Plaintiff Carley Wigley's [12] Motion to Strike
Answer to Complaint is DENIED.

SO ORDERED, this the 14th day of March 2024.

All Citations

Slip Copy, 2024 WL 5353375

Footnotes

4 Having addressed the merits of Plaintiff's motion, the Court notes that the motion was styled as
“Motion to Strike Defendants’ Answer and Memorandum in Support.” Doc. [12]. As such, Plaintiff

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did not file a separate memorandum brief in support of her motion, which violates the Local Rules.
See L.U.Civ.R. 7(b)(2)(B) (“Other than discovery motions under Rule 37, a motion may not exceed
four pages, excluding exhibits, may contain only the grounds for the request and may not contain
legal argument or citations to case law or other secondary authority.”); L.U.Civ.R. 7(b)(4) (“At
the time a motion is served, other than motions or applications that may be heard ex parte or
those involving necessitous or urgent matters, counsel for movant must file a memorandum brief
in support of the motion.”). Defendants also did not file a separate memorandum brief in support
of their response.

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2013 WL 1909578

2013 WL 1909578
Only the Westlaw citation is currently available.
United States District Court,
M.D. Pennsylvania.

Jill WINCOVITCH, Plaintiff
Vv.

EDWIN A. ABRAHAMSEN

& ASSOCIATES, Defendant.

No. 3:12-CV-01846.
|
May 8, 2013.

Attorneys and Law Firms

Craig Thor Kimmel, Kimmel & Silverman, Ambler,
PA, for Plaintiff.

Michael F. Ratchford, Edwin A. Abrahamsen &
Associates, Scranton, PA, for Defendant.

MEMORANDUM
WILLIAM J. NEALON, District Judge.

*1 On September 14, 2012, Plaintiff, Jill Wincovitch,
filed a complaint against Defendant, Edwin A.
Abrahamsen & Associates, P.C., alleging violations of
the Fair Debt Collection Practices Act, 15 U.S.C. §
1692 et seq., in Defendant's attempts in April and May
of 2012 to collect a debt Plaintiff allegedly incurred on
a Capitol One credit card. (Doc. 1), Defendant filed an
answer and affirmative defenses to the complaint on
November 21, 2012. (Doc. 4), On December 12, 2012,
Plaintiff filed a motion to strike pursuant to Federal
Rule of Civil Procedure 12(f) and brief in support
moving to strike four of the eleven affirmative defenses
raised by Defendant. (Docs. 5 & 6). On January 7,
2013, Defendant filed a brief in opposition. (Doc. 8).
Defendant's motion to strike is now ripe for disposition
and will be denied.

STANDARD OF REVIEW

Under Federal Rule of Civil Procedure 12(1), a court
may strike, either sua sponte or by motion by a
party, “from a pleading an insufficient defense or
any redundant, immaterial, impertinent, or scandalous

matter.” FED.R.CIV.P. 12(f). Rule 12(f) is the primary
procedure for objecting to an insufficient defense. U.S.
v. Marisol, Inc., 725 F.Supp. 833, 836 (M.D.Pa.1989)
(Nealon, J.), citing SC Charles Alan Wright and Arthur
R. Miller, Federal Practice and Procedure § 1380,
p. 782 (1st ed.1969). “A court possesses considerable
discretion in disposing of a motion to strike under
Rule 12(f).” Krisa . Equitable Life Assur. Soc., 109
F.Supp.2d 316, 319 (M.D.Pa.2000) (Vanaskie, J.),
quoting North Perm Transfer, Inc. v. Victaulic Comp.
of America, 859 F.Supp. 154, 158 (2.D.Pa.1994).
However, motions to strike are disfavored and should
be denied unless the allegations have no possible
relation to the controversy, may cause prejudice to
one of the parties, or confuse the issues. Hanselman
v Olsen, 2006 U.S. Dist. LEXIS 1715, *4, 2006
WL 47655 (M.D.Pa.2006) (McClure, J.); see also
McInerney v. Moyer Lumber & Hardware, Inc., 244
F.Supp.2d 393, 402 (E.D.Pa.2002), citing Harlevsville
Mut. Ins, Co. v. GE Reinsurance Corp., Civ. A. No.
02-171, 2002 U.S. Dist. LEXIS 8064, *16, 2002 WL
922148 (E.D.Pa. May 6, 2002). Courts have required
that the moving party demonstrate prejudice before the
court will strike a pleading. See United States v. Viola,
2003 U.S. Dist. LEXIS 11692, 11699 (E.D.Pa.2003);
and see SC Charles Alan Wright and Arthur R. Miller,
Federal Practice and Procedure § 1381, p. 94 n. 34 Gd
ed, Supp.2012) (listing district court cases requiring a
showing of prejudice). Striking a pleading is a drastic
remedy and should be sparingly used by the courts.
Krisa, 109 F.Supp.2d at 319; North Penn Transfer, Inc.,
859 F.Supp. at 158.

DISCUSSION
The following affirmative defenses are in question:

8. Defendant did not continuously call the Plaintiff.

9. Defendant did not intend to annoy, harass or abuse
the Plaintiff.

10. Plaintiff is liable to the Defendant for all the
Defendant's costs and attorneys’ fees incurred in
defending this within meritless lawsuit.

*2 11. Plaintiffhas brought the within action in bad
faith is liable for the Defendant's attorneys' fees
pursuant to § 813(a)(3). (sic)

(Doc. 4, p. 4).

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Plaintiff argues that affirmative defenses 8 and 9
are mere denials of the allegations of the complaint
and not affirmative defenses and should be struck
because they are insufficient defenses. (Doc. 6, pp. 3—
5), citing DirectTV, Inc. v. Semulka, 2006 U.S. Dist.
LEXIS 15043, 2006 WL 825370 (W.D.Pa. Feb. 9,
2006) (striking affirmative defenses that are simple
denials of allegations). It is fair to say that Defendant's
affirmative defenses set forth in paragraphs 8 and 9
are more aptly described as denials. Further, they are
repetitive of Defendant's denials in paragraphs 12, 13,
and

23(c). (Doc. 4, pp. 3). These averments negating
or pointing out a defect in Plaintiff's prima facie
case are not affirmative defenses. See In re Rawson
Food Service, Inc., 846 F.2d 1343, 1349 (11th
Cir. 1988) (“A defense which points out a defect in
the plaintiff's prima facie case is not an affirmative
defense.”’). However, “Rule 12(f) is not to be used
to police the form of a pleading or to correct any
misdesignations it might contain.” 5C Charles Alan
Wright and Arthur R. Miller, Federal Practice and
Procedure § 1381, p. 416 Gd ed.2004). Because
Plaintiff has not shown that she will be prejudiced
by these averments, the Court will not strike
the assertions but will treat them as denials. See
Zeron v. C & C Drywall Corp., 2009 U.S. Dist.
LEXIS 76640, *5—1 1 (S.D.F1.2009) (treating denials
incorrectly labeled affirmative defenses as denials).

Plaintiff argues that affirmative defenses 10 and 11 are
simply not affirmative defenses and are inappropriate.

(Doc. 6, pp. 6-7). Defendant's affirmative defenses 10
and 11 request that Plaintiff should pay Defendant's
attorney fees because the complaint is meritless and
brought in bad faith. (Doc. 4, p. 4). These allegations
are not affirmative defenses and the appropriate
vehicle for a request for sanctions or attorney fees
lies in a motion pursuant to Federal Rule of Civil
Procedure 11(c)(2). However, placing Plaintiff and the
Court on notice that the Defendant seeks to do so is
not inappropriate. See Zeron, 2009 U.S. Dist. LEXIS
76640, *10—11 (denying a motion to strike a Wherefore
Clause requesting the court reserve jurisdiction to
consider a timely filed motion for attorney's fees).
Accordingly, Defendant's affirmative defenses 10 and
11 will not be considered as affirmative defenses, but
because they are in no way prejudicial, they will not
be stricken,

ORDER

AND NOW, this 8th day of May, 2013, in accordance
with the Memorandum of the same date, IT IS
HEREBY ORDERED THAT Defendant's averments
labeled Affirmative Defenses 8, 9, 10, & 11 (Doc. 4, p.
4) are not stricken, but will not be treated as affirmative
defenses, and Plaintiff's motion to strike (Doc. 5) is
DENIED.

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